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                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA

                                          CASE NO. 24-MD-03090-RAR

     In re:

     FORTRA FILE TRANSFER SOFTWARE
     DATA SECURITY BREACH LITIGATION


     This Document Relates to:

     ARIANA SKURAUSKIS, et al., on behalf of                   Case No. 23-cv-60830-RAR (and all
     themselves and all others similarly situated,             consolidated actions)

              Plaintiffs,

     v.

     NATIONSBENEFITS HOLDINGS, LLC, et
     al.,

              Defendants.


                            CONSOLIDATED CLASS ACTION COMPLAINT

              Plaintiffs, Lenore Caliendo, Kimberly Dekenipp, T.E., Renee Fideleff, Leroy Fuss, Teresa

    Hassan, Jeffery King, Barbara Kosbab, Lawrence Kosbab, Mary Ann Landries, Pamela Lazaroff,

    Steven Lazaroff, Kevin McCoy, Sharon McCoy, Catherine Radke, Martin Radke, Dezarae Sanders,

    Arnisha Marie Shepherd, Ariana Skurauskis, Anthony Skuya, A.T., Michael Wanser, Edward

    Wilczynski, Sara Jean Williams, Wanda Wilson, and Stephen Wolsey (“Plaintiffs”), individually and on

    behalf of all others similarly situated, bring this Consolidated Class Action Complaint action against

    NationsBenefits, LLC and NationsBenefits Holdings, LLC (collectively, “NationsBenefits”). The

    following allegations are based upon Plaintiffs’ personal knowledge as to their own actions and their

    counsels’ investigations, facts of public record, and upon information and belief as to all other matters.
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           1.      This action arises from NationsBenefits’ failure to secure the sensitive Private

    Information (defined herein) of Plaintiffs and the proposed Class and Subclasses (defined herein) for

    whom NationsBenefits performed services.

           2.      NationsBenefits is a health benefits administration company that partners with

    managed care organizations to provide supplemental benefits, flex cards, and member engagement

    solutions. In this role, for years, NationsBenefits directly and indirectly collected highly sensitive

    personal identifiable information (“PII”) and protected health information (“PHI”) (PII and PHI

    collectively “Private Information”) from millions of its own clients and the customers of its partner

    health insurance organizations. Despite having duties created by statute and common law to safeguard

    that Private Information entrusted to it, NationsBenefits allowed information concerning millions of

    people to be stolen and sold on the dark web by a notorious cybercriminal organization.

           3.      On April 13, 2023, NationsBenefits disclosed that months earlier over 3,000,000

    individuals’ Private Information in its care had been stolen in a massive data breach (“Data Breach”).

    A cybercriminal group called the “Clop ransomware gang” (“Clop”), known for its attacks against the

    healthcare sector, took credit for exfiltrating vast amounts of unencrypted, highly sensitive

    information from NationsBenefits’ file transfer program. Indeed, other cybercriminal groups may also

    have taken advantage of this vulnerability, increasing the severity of the Data Breach.

           4.      NationsBenefits admits these cybercriminals stole Plaintiffs’ Private Information as

    part of the Data Breach. However, on information and belief, Clop gave NationsBenefits the

    opportunity to repurchase all the stolen data, but NationsBenefits refused to pay the ransom. As a

    result, Clop is believed to have sold that Private Information on the dark web.

           5.      As a result of NationsBenefits’ impermissibly lax data security practices, Plaintiffs and

    Class Members are at a present and continuing risk for identity and medical identity theft.

    NationsBenefits then compounded this harm by waiting more than two months before notifying



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    affected consumers that their highly sensitive Private Information was now in the hands of

    sophisticated cyber criminals.

            6.      Fortra LLC (“Fortra”), which provides information technology management software

    and services to NationsBenefits, learned about the Data Breach on or about January 30, 2023. That

    same week, on February 3, 2023, Fortra informed NationsBenefits about the Data Breach and

    provided suggestions for mitigation measures. Nevertheless, NationsBenefits inexplicably waited until

    February 7, 2023, to implement the suggested mitigation measures.

            7.      It was not until April 13, 2023, over two months later, that NationsBenefits first began

    notifying Class Members of the Data Breach. Even worse, they did not inform all affected consumers

    at once. Many Class Members, including Plaintiffs, did not even learn until weeks later that

    cybercriminals had stolen their information. NationsBenefits’ inexcusable delays permitted the

    cybercriminals’ greater access to its servers and prevented Class Members from taking immediate

    defensive measures to protect their valuable Private Information. See Ex. A (Exemplar Notice Letter).

            8.      The Data Breach was a direct result of NationsBenefits’ deficient cybersecurity

    practices, and the wealth of information and warnings available to NationsBenefits makes its failures

    even more egregious.

            9.      Taking reasonable, standard precautions against cybercrime and data breaches is a

    fundamental duty of doing business in the modern age—especially for businesses that profit from

    analyzing and processing Private Information. By collecting, maintaining, and profiting from Plaintiffs’

    and Class Members’ Private Information, NationsBenefits was required by law to exercise reasonable

    care and comply with industry and statutory requirements to protect that information—and it failed

    to do so.

            10.     Among myriad industry standards and statutes for protection of sensitive information,

    health care information is specifically governed by federal law under the Health Insurance Portability



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    and Accountability Act of 1996 (“HIPAA”) and its implementing regulations. HIPAA requires entities

    like NationsBenefits to take appropriate technical, physical, and administrative safeguards to secure

    the privacy of PHI, establishes national standards to protect PHI, and requires timely notice of a

    breach of unencrypted PHI.

              11.   Instead, NationsBenefits’ woefully inadequate data security measures made the Data

    Breach a foreseeable, and even likely, consequence of its negligence. NationsBenefits disregarded the

    rights of Plaintiffs and Class Members by intentionally, willfully, recklessly, or negligently failing to

    implement reasonable measures to safeguard its customers’ Private Information and by failing to take

    necessary steps to prevent unauthorized disclosure of that information.

              12.   The highly sensitive information exfiltrated in the Data Breach includes, but is not

    limited to, full names, dates of birth, Social Security numbers, phone numbers, addresses, gender,

    health plan subscriber information, including identification numbers, and Medicare numbers.

              13.   By aggregating information obtained from the Data Breach with other sources, or

    other methods, criminals can assemble a full dossier of Private Information on an individual in order

    to facilitate a wide variety of frauds, thefts, and scams. Criminals can and do use victims’ names, birth

    dates, Social Security numbers, and addresses to open new financial accounts, incur charges in credit,

    obtain government benefits and identifications, fabricate identities, and file fraudulent tax returns well

    before the person whose PII was stolen becomes aware of it.1 Any one of these instances of identity




          1
              See, e.g., Report to Congressional Requesters, U.S. GOV’T ACCOUNTABILITY OFFICE (June 2007),
    http://www.gao.gov/assets/270/262899.pdf; Melanie Lockert, How do hackers use your information for
    identity theft?, CREDITKARMA (Oct. 1, 2021), https://www.creditkarma.com/id-theft/i/how-hackers-
    use-your-information; Ravi Sen, Here’s how much your Private Information is worth to cybercriminals—and what
    they do with it, PBS (May 14, 2020), https://www.pbs.org/newshour/science/ heres-how-much-your-
    personal-information-is-worth-to-cybercriminals-and-what-they-do-with-it; Alison Grace Johansen, 4
    Lasting Effects of Identity Theft, LIFELOCK BY NORTON (Feb. 4, 2021), https://lifelock.norton.com/
    learn/ identity-theft-resources/lasting-effects-of-identity-theft.

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    theft can have devastating consequences for the victim, causing years of often irreversible damage to

    their credit scores, financial stability, and personal security.

              14.   Likewise, the exfiltration of PHI puts Plaintiffs and Class Members at a present and

    continuing risk for medical identity theft, especially in light of the high demand and value of Medicare

    identification numbers on the dark web.2 Medical identity theft poses an even more critical threat to

    victims—medical fraud could lead to loss of access to necessary healthcare through misuse of paid-

    for insurance benefits or by incurring substantial medical debt.

              15.   Due to the highly valuable nature of PHI, the FBI has warned healthcare providers

    that they are likely to be the targets of cyberattacks like the attack that caused the Data Breach. 3

              16.   Adding insult to injury, there has been no assurance offered by NationsBenefits that

    all personal data or copies of data have been recovered or destroyed, or that NationsBenefits has

    adequately enhanced its security practices or dedicated sufficient resources and staff and to avoid a

    similar breach of its network in the future.

              17.   As a direct and proximate result of the Data Breach, Plaintiffs and Class Members

    have suffered actual and present injuries, including but not limited to, present and continuing threats

    of identity theft crimes, fraud, scams, and other misuses of their Private Information; ongoing

    monetary loss and economic harm, including loss of value of their Private Information; loss of value

    of privacy and confidentiality of the stolen Private Information; illegal sales of the compromised

    Private Information; mitigation expenses and time spent on credit monitoring; identity theft insurance

    costs; credit freezes/unfreezes; expense and time spent on initiating fraud alerts and contacting third

    parties; decreased credit scores; lost work time; and other injuries.



          2
             What to Know About Medical Identity Theft, FED. TRADE COMM’N (May 2021),
    https://consumer.ftc.gov/articles/what-know-about-medical-identity-theft.
          3
            Jim Finkle, FBI warns healthcare firms they are targeted by hackers, REUTERS (Aug. 20, 2014),
    https://www.reuters.com/article/us-cybersecurity-healthcare-fbi-idUSKBN0GK24U20140820.

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            18.     Plaintiffs and Class Members would not have provided their valuable PII and sensitive

    PHI to their respective health plans or other entities to in turn provide that information to

    NationsBenefits had they known that NationsBenefits would make the Private Information Internet-

    accessible, not encrypt personal and sensitive data elements such as Social Security numbers, Medicare

    numbers, health insurance identification numbers, and dates of birth, and not delete the Private

    Information it no longer had reason to maintain.

            19.     Through this lawsuit, Plaintiffs seek to hold NationsBenefits responsible for the

    injuries it inflicted on Plaintiff and approximately 3,000,000 similarly situated people due to its

    impermissibly inadequate data security measures, and to seek injunctive relief to ensure the

    implementation of security measures to protect the Private Information which remains in the

    possession of NationsBenefits.

                                  I.    JURISDICTION AND VENUE

            20.     This Court has original subject matter jurisdiction pursuant to the Class Action

    Fairness Act of 2005 (“CAFA”), 28 U.S.C. § 1332(d)(2), because the amount in controversy for the

    Class and State Subclasses exceeds the sum of $5,000,000, exclusive of interest and costs, there are

    more than 100 Class Members, and minimal diversity exists because many Class Members are citizens

    of a different state than NationsBenefits.

            21.     This Court has personal jurisdiction over NationsBenefits. Upon information and

    belief, NationsBenefits LLC’s sole member, Glenn Parker, resides in Fort Lauderdale, Florida, and is

    a citizen of the state of Florida. On information and belief, Glenn Parker is also the sole member of

    NationsBenefits Holdings LLC. NationsBenefits’ headquarters and principal place of business is in

    Plantation, Florida.

            22.     Venue is proper in this District under 28 U.S.C. §§ 1391(a)(2), (b)(2), and (c)(2) because

    a substantial part of the events giving rise to the claims emanated from activities within this District,



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    and NationsBenefits conducts substantial business in this District. In addition, on information and

    belief, Plaintiffs’ and Class Members’ Private Information was maintained within this District.

                                                  II.    PARTIES

    A.      Plaintiffs

            Lenore Caliendo

            23.         Plaintiff Lenore Caliendo is a resident and citizen of Illinois.

            24.         Plaintiff Caliendo receives benefits from NationsBenefits by virtue of her health plan

    membership with Aetna Medicare Advantage.

            25.         Plaintiff Caliendo received a letter from NationsBenefits concerning the Data Breach.

    The letter stated that unauthorized actors accessed or acquired the data of NationsBenefits. According

    to the letter, the compromised files contained Plaintiff Caliendo’s name, address, telephone number,

    date of birth, gender, health plan subscriber ID number, Social Security number, and/or Medicare

    number. Plaintiff Caliendo has faced and faces a present and continuing risk of fraud and identity theft

    for his lifetime.

            26.         Plaintiff Caliendo is very careful about sharing sensitive Private Information. She

    stores documents containing Private Information in safe and secure locations. Plaintiff would not have

    entrusted her Private Information to her health insurer had she known of Defendants’ lax data security

    policies.

            27.         Plaintiff Caliendo was the victim of medical identity theft following the Data Breach.

    In March 2023, Plaintiff Caliendo was contacted by her health insurance company regarding five

    suspicious charges for Covid tests between January and April 2023. Those charges were fraudulent, as

    Plaintiff Caliendo never authorized or received those tests, nor had she ever visited the doctor who

    ordered those tests. Dealing with the consequences of the Data Breach has become a daily occurrence

    for Plaintiff Caliendo, who receives approximately 4 to 5 spam calls each day, along with spam emails


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    and text messages. Plaintiff Caliendo has spent approximately 20 hours addressing the Data Breach,

    including spending approximately 2 hours on the telephone with NationsBenefits trying to get more

    information about the Data Breach, opening a new bank account and closing her old account,

    changing her billing information, visiting a Social Security office to change her Social Security check

    deposit information, and monitoring her accounts and credit report. As a result of the Data Breach,

    Plaintiff Caliendo experiences anxiety and a feeling of helplessness when checking her accounts or her

    insurance, and she remains fearful she will be the victim of identity theft again. Plaintiff Caliendo

    spends time each week exercising to deal with the stress caused by the Data Breach.

            Kimberly Dekenipp

            28.     Plaintiff Kimberly Dekenipp is a resident and citizen of Texas.

            29.     Plaintiff Dekenipp receives benefits from NationsBenefits by virtue of her health plan

    membership with Aetna.

            30.     Plaintiff Dekenipp received a letter dated April 27, 2023, concerning the Data Breach.

    The letter stated that unauthorized actors accessed or acquired the data of NationsBenefits. According

    to the letter, the compromised files contained Plaintiff Dekenipp’s name, gender, address, date of

    birth, health plan subscriber ID number, and Medicare number. Plaintiff Dekenipp has faced and

    faces a present and continuing risk of fraud and identity theft for her lifetime.

            31.     Plaintiff Dekenipp is very careful about sharing sensitive Private Information. She

    stores documents containing Private Information in safe and secure locations. Plaintiff would not have

    entrusted her Private Information to her health insurer had she known of Defendants’ lax data security

    policies.

            32.     Plaintiff Dekenipp is anxious that her Private Information is now in unknown hands

    and fears the risk of identity theft she now faces, including fraud affecting her credit. As a result of

    the Data Breach, Plaintiff Dekenipp has spent at least 2 hours monitoring her accounts and



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    researching details of the Data Breach. She has also experienced an increase in the amount of intrusive

    spam calls, texts, and emails she receives. Due to her concern about the Data Breach and identity

    theft, Plaintiff Dekenipp limited her use of credit following the Data Breach.

            T.E.

            33.     Plaintiff T.E. is a resident and citizen of North Carolina.

            34.     Plaintiff T.E. receives benefits from NationsBenefits by virtue of her health plan

    membership with Aetna.

            35.     Plaintiff T.E. received a letter from NationsBenefits dated April 27, 2023, concerning

    the Data Breach. The letter stated that unauthorized actors accessed or acquired the data of

    NationsBenefits. According to the letter, the compromised files contained Plaintiff T.E.’s name,

    address, telephone number, date of birth, gender, health plan subscriber ID number, and Medicare

    number. Plaintiff T.E. has faced and faces a present and continuing risk of fraud and identity theft for

    her lifetime.

            36.     Plaintiff T.E. is very careful about sharing sensitive Private Information. She stores

    documents containing Private Information in safe and secure locations. Plaintiff would not have

    entrusted her Private Information to her health insurer had she known of Defendants’ lax data security

    policies.

            37.     Plaintiff T.E. was the victim of identity theft following the Data Breach. Plaintiff T.E.

    is disabled and receives disability benefits. After the Data Breach occurred, unauthorized charges

    appeared on Plaintiff T.E.’s Cash App account and her Direct Express federal benefits card. Plaintiff

    has received numerous calls asking her to activate her NationsBenefits card, though she already

    possesses a card that has been activated. Plaintiff T.E. has spent approximately 10 hours attempting

    to mitigate harm from the Data Breach, including monitoring her accounts and credit report and




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    researching ways to protect herself. Plaintiff T.E. has experienced anxiety and frustration as a result

    of the Data Breach, which required her to obtain an increased prescription for anti-anxiety medication.

            Renee Fideleff

            38.     Plaintiff Renee Fideleff is a resident and citizen of Florida.

            39.     Plaintiff Fideleff receives benefits from NationsBenefits by virtue of her health plan

    membership with Aetna.

            40.     Plaintiff Fideleff received a letter from NationsBenefits dated April 27, 2023,

    concerning the Data Breach. The letter stated that unauthorized actors accessed or acquired the data

    of NationsBenefits. According to the letter, the compromised files contained Plaintiff Fideleff’s name,

    address, telephone number, date of birth, gender, health plan subscriber ID number, and Medicare

    number. Plaintiff Fideleff has faced and faces a present and continuing risk of fraud and identity theft

    for her lifetime.

            41.     Plaintiff Fideleff is very careful about sharing sensitive Private Information. She stores

    documents containing Private Information in safe and secure locations. Plaintiff would not have

    entrusted her Private Information to her health insurer had she known of Defendants’ lax data security

    policies.

            42.     After the Data Breach, Plaintiff Fideleff received an email supposedly from Geek

    Squad informing her that she was being billed for a transaction she did not authorize, and that she

    should let them take control of her computer to resolve the issue and attempting to elicit a fee to

    cancel the transaction; they harassed Plaintiff Fideleff by phone several times to try to get her to pay

    the fee. Plaintiff Fideleff also received a letter in the mail regarding a supposed property sale that she

    was unaware of and did not authorize. She has also experienced an increased number of spam calls,

    texts, and emails since the Data Breach. Plaintiff Fideleff has spent approximately 1 hour per week




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    monitoring her accounts for fraudulent charges since the Data Breach. As a result of the Data Breach,

    she is anxious and fearful that she will be the victim of other fraud in the future.

            Leroy Fuss

            43.     Plaintiff Leroy Fuss is a resident and citizen of Pennsylvania.

            44.     Plaintiff Fuss receives benefits from NationsBenefits by virtue of his health plan

    membership with Aetna.

            45.     Plaintiff Fuss received a letter dated April 27, 2023, concerning the Data Breach. The

    letter stated that unauthorized actors accessed or acquired the data of NationsBenefits. According to

    the letter, the compromised files contained Plaintiff Fuss’ name, address, telephone number, date of

    birth, gender, and health plan subscriber ID number. Plaintiff Fuss has faced and faces a present and

    continuing risk of fraud and identity theft for his lifetime.

            46.     Plaintiff Fuss is very careful about sharing sensitive Private Information. He stores

    documents containing Private Information in safe and secure locations. Plaintiff would not have

    entrusted his Private Information to his health insurer had he known of Defendants’ lax data security

    policies.

            47.     Plaintiff Fuss was the victim of identity theft following the Data Breach. Following

    the Data Breach, several banks, financial institutions, and TransUnion contacted Plaintiff Fuss

    regarding accounts created in his name that he did not open or authorize. Two accounts Plaintiff Fuss

    did not open appeared on his credit report. Fraudulent charges also appeared on Plaintiff Fuss’ debit

    card, forcing him to replace that card. These fraudulent charges cost Plaintiff Fuss approximately

    $4,800. As a result of the Data Breach and resulting fraudulent charges and accounts, Plaintiff Fuss

    froze his credit at Experian, Equifax, and TransUnion. Since the Data Breach, he has spent several

    hours reviewing his accounts, researching news about the Data Breach, attempting to contact

    NationsBenefits, obtaining his credit reports, freezing his credit, and contact the Social Security



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    Administration about his Social Security deposits. He has also experienced an increased number of

    spam calls, texts, and emails since the Data Breach. The extensive fraud Plaintiff Fuss has faced as a

    result of the Data Breach has caused him anxiety, for which he takes multiple anti-anxiety medications.

            Teresa Hassan

            48.      Plaintiff Teresa Hassan is a resident and citizen of Michigan.

            49.      Plaintiff Hassan receives benefits from NationsBenefits by virtue of her health plan

    membership with UAW Retiree Medical Benefits Trust.

            50.      Plaintiff Hassan received a letter from NationsBenefits dated April 28, 2023,

    concerning the Data Breach. The letter stated that unauthorized actors accessed or acquired the data

    of NationsBenefits. According to the letter, the compromised files contained Plaintiff Hassan’s name,

    address, date of birth, gender, health plan subscriber ID number, Social Security number, and

    Medicare number. Plaintiff Hassan has faced and faces a present and continuing risk of fraud and

    identity theft for her lifetime.

            51.      Plaintiff Hassan is very careful about sharing sensitive Private Information. She stores

    documents containing Private Information in safe and secure locations. Plaintiff would not have

    entrusted her Private Information to her health insurer had she known of Defendants’ lax data security

    policies.

            52.      Plaintiff Hassan has spent approximately 30 hours attempting to mitigate the effects

    of the Data Breach, including obtaining her credit report from Experian, Equifax, and TransUnion,

    reviewing her accounts, and notifying the Social Security Administration that her information was

    compromised, driving to and visiting her bank, filing a police report, and attempting to call

    NationsBenefits about the Data Breach. Plaintiff Hassan has experienced an increased number of

    spam calls since the Data Breach. As a result of the Data Breach, Plaintiff Hassan is anxious and

    fearful that she will be the victim of identity theft or other fraud.



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            Jeffery King

            53.     Plaintiff Jeffery King is a resident and citizen of Ohio.

            54.     Plaintiff King receives benefits from NationsBenefits by virtue of his health plan

    membership with Aetna.

            55.     Plaintiff King received a letter from NationsBenefits concerning the Data Breach. The

    letter stated that unauthorized actors accessed or acquired the data of NationsBenefits. According to

    the letter, the compromised files contained Plaintiff King’s name, gender, address, phone number,

    date of birth, health plan subscriber ID number, and Medicare number, and other items relating to

    Plaintiff’s receipt of benefits from NationsBenefits. Plaintiff King has faced and faces a present and

    continuing risk of fraud and identity theft for his lifetime.

            56.     Plaintiff King is very careful about sharing sensitive Private Information. He stores

    documents containing Private Information in safe and secure locations. Plaintiff would not have

    entrusted his Private Information to his health insurer had he known of Defendants’ lax data security

    policies.

            57.     Plaintiff King has been the victim of identity theft following Data Breach. Since the

    Data Breach, he has received several alerts about unauthorized account inquiries and transactions

    attempted in his name. Additionally, between approximately late April and early August 2023, several

    unauthorized transactions appeared on Plaintiff King’s Cash App and PayPal accounts. Plaintiff King

    has experienced an increase in the number of spam calls, texts, and emails he receives since the Data

    Breach occurred. Plaintiff King has spent approximately 2 hours per week attempting to mitigate the

    effects of the Data Breach, including obtaining his credit report, monitoring his accounts, checking

    his credit history, and locking and changing his debit cards. He has limited the use of his credit cards

    due to the Data Breach. Plaintiff King is highly concerned that his information was exposed in the

    Data Breach and is fearful he will continue to be the victim of additional fraud in the future.



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            Barbara Kosbab

            58.      Plaintiff Barbara Kosbab is a resident and citizen of Ohio.

            59.      Plaintiff Barbara Kosbab receives benefits from NationsBenefits by virtue of her

    health plan memberships with Medicare and Anthem Blue Cross Blue Shield (“Anthem”).

            60.      Plaintiff Barbara Kosbab received a letter from NationsBenefits dated April 28, 2023,

    concerning the Data Breach. The letter stated that unauthorized actors accessed or acquired the data

    of NationsBenefits. According to the letter, the compromised files contained Plaintiff Barbara

    Kosbab’s name, address, telephone number, date of birth, gender, health plan subscriber ID number,

    Social Security number, and Medicare number. Plaintiff Barbara Kosbab has faced and faces a present

    and continuing risk of fraud and identity theft for her lifetime.

            61.      Plaintiff Barbara Kosbab is very careful about sharing sensitive Private Information.

    She stores documents containing Private Information in safe and secure locations. Plaintiff would not

    have entrusted her Private Information to her health insurer had she known of Defendants’ lax data

    security policies.

            62.      Plaintiff Barbara Kosbab was the victim of identity theft following the Data Breach.

    After the Data Breach occurred, Plaintiff Kosbab’s Medicare account was charged twelve times for

    COVID-19 test kits and catheters that she did not order or receive. She has spent time reporting these

    fraud claims to Medicare and the U.S. Attorney General. Additionally, one credit reporting agency

    indicated that her Private Information was available on the dark web. Plaintiff Barbara Kosbab has

    spent approximately 50 hours checking her accounts and medical accounts, reporting any

    compromises, attempting to contact NationsBenefits about the breach, and changing her billing

    information. Plaintiff Barbara Kosbab is fearful and anxious that she will be the victim of additional

    identity theft or other fraud in the future.




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            Lawrence Kosbab

            63.      Plaintiff Lawrence Kosbab is a resident and citizen of Ohio.

            64.      Plaintiff Lawrence Kosbab receives benefits from NationsBenefits by virtue of his

    health plan memberships with Medicare and Anthem.

            65.      Plaintiff Lawrence Kosbab received a letter from NationsBenefits dated April 28,

    2023, concerning the Data Breach. The letter stated that unauthorized actors accessed or acquired the

    data of NationsBenefits. According to the letter, the compromised files contained Plaintiff Lawrence

    Kosbab’s name, address, telephone number, date of birth, gender, health plan subscriber ID number,

    Social Security number, and Medicare number. Plaintiff Lawrence Kosbab has faced and faces a

    present and continuing risk of fraud and identity theft for his lifetime.

            66.      Plaintiff Lawrence Kosbab is very careful about sharing sensitive Private Information.

    He stores documents containing Private Information in safe and secure locations. Plaintiff would not

    have entrusted his Private Information to his health insurer had he known of Defendants’ lax data

    security policies.

            67.      As a result of the Data Breach, Plaintiff Lawrence Kosbab spends approximately 7

    hours per week monitoring his accounts against fraudulent charges. Plaintiff Lawrence Kosbab is

    anxious and fearful that he will be the victim of identity theft or other fraud in the future because his

    information was exposed in the Data Breach.

            Mary Ann Landries

            68.      Plaintiff Mary Ann Landries is a resident and citizen of New York.

            69.      Plaintiff Landries receives benefits from NationsBenefits by virtue of her health plan

    membership with Aetna.

            70.      Plaintiff Landries received a letter from NationsBenefits dated April 27, 2023,

    concerning the Data Breach. The letter stated that unauthorized actors accessed or acquired the data



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    of NationsBenefits. According to the letter, the compromised files contained Plaintiff Landries’ name,

    address, telephone number, date of birth, gender, and health plan subscriber ID number. Plaintiff

    Landries has faced and faces a present and continuing risk of fraud and identity theft for her lifetime.

            71.     Plaintiff Landries is very careful about sharing sensitive Private Information. She

    stores documents containing Private Information in safe and secure locations. Plaintiff would not have

    entrusted her Private Information to her health insurer had she known of Defendants’ lax data security

    policies.

            72.     Plaintiff Landries has experienced a large increase in the number of spam calls and

    texts she receives since the Data Breach occurred. She has received texts claiming to be from Verizon,

    but she does not have a Verizon account; additionally, she received a fraudulent text claiming to be

    from her primary care provider that attempted to elicit her medical information. Plaintiff Landries has

    spent approximately 15 hours attempting to mitigate the Data Breach, including blocking spam calls

    and texts and addressing the fraudulent message from her primary care provider. She is fearful and

    anxious that she may be the victim of identity theft or other fraud in the future because her Private

    Information was exposed in the Data Breach.

            Pamela Lazaroff

            73.     Plaintiff Pamela Lazaroff is a resident and citizen of Arkansas.

            74.     Plaintiff Pamela Lazaroff receives benefits from NationsBenefits by virtue of her

    health plan membership with Aetna.

            75.     Plaintiff Pamela Lazaroff received a letter from NationsBenefits dated April 27, 2023,

    concerning the Data Breach. The letter stated that unauthorized actors accessed or acquired the data

    of NationsBenefits. According to the letter, the compromised files contained Plaintiff Pamela

    Lazaroff’s name, address, telephone number, date of birth, gender, and health plan subscriber ID




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    number. Plaintiff Pamela Lazaroff has faced and faces a present and continuing risk of fraud and

    identity theft for her lifetime.

            76.      Plaintiff Pamela Lazaroff is very careful about sharing sensitive Private Information.

    She stores documents containing Private Information in safe and secure locations. Plaintiff would not

    have entrusted her Private Information to her health insurer had she known of Defendants’ lax data

    security policies.

            77.      As a result of the Data Breach, Plaintiff Pamela Lazaroff was the victim of identity

    theft, as an unknown person attempted to open a credit or debit card account in her name. Since the

    Data Breach, Plaintiff Pamela Lazaroff has experienced an increased number of phishing attempts

    and spam text messages. Plaintiff Pamela Lazaroff is anxious about identity theft and has spent

    approximately 10 hours monitoring her credit and checking her accounts.

            Plaintiff Stephen Lazaroff

            78.      Plaintiff Stephen Lazaroff is a resident and citizen of Arkansas.

            79.      Plaintiff Stephen Lazaroff receives benefits from NationsBenefits by virtue of his

    health plan membership with Aetna.

            80.      Plaintiff Stephen Lazaroff received a letter from NationsBenefits dated April 27, 2023,

    concerning the Data Breach. The letter stated that unauthorized actors accessed or acquired the data

    of NationsBenefits. According to the letter, the compromised files contained Plaintiff Stephen

    Lazaroff’s name, gender, address, telephone number, date of birth, health plan subscriber ID number,

    Social Security number, and Medicare number. Plaintiff Lazaroff has faced and faces a present and

    continuing risk of fraud and identity theft for his lifetime.

            81.      Plaintiff Stephen Lazaroff is very careful about sharing sensitive Private Information.

    He stores documents containing Private Information in safe and secure locations. Plaintiff would not




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    have entrusted his Private Information to his health insurer had he known of Defendants’ lax data

    security policies.

            82.      Since the Data Breach occurred, Plaintiff Stephen Lazaroff has experienced an

    increased number of spam calls, text messages, and emails. Plaintiff Stephen Lazaroff is anxious and

    fearful that he will be the victim of identity theft or other fraud in the future because his information

    was exposed in the Data Breach.

            Kevin McCoy

            83.      Plaintiff Kevin McCoy is a resident and citizen of Illinois.

            84.      Plaintiff Kevin McCoy receives benefits from NationsBenefits by virtue of his health

    plan membership with Aetna.

            85.      Plaintiff Kevin McCoy received a letter from NationsBenefits dated April 28, 2023,

    concerning the Data Breach. The letter stated that unauthorized actors accessed or acquired the data

    of NationsBenefits. According to the letter, the compromised files contained Plaintiff Kevin McCoy’s

    name, address, telephone number, date of birth, gender, health plan subscriber ID number, Social

    Security number, and Medicare number. Plaintiff Kevin McCoy has faced and faces a present and

    continuing risk of fraud and identity theft for his lifetime.

            86.      Plaintiff Kevn McCoy is very careful about sharing sensitive Private Information. He

    stores documents containing Private Information in safe and secure locations. Plaintiff would not have

    entrusted his Private Information to his health insurer had he known of Defendants’ lax data security

    policies.

            87.      As a result of the Data Breach, Plaintiff Kevin McCoy has experienced anxiety and

    fear of identity theft and has placed a fraud alert on his credit cards.

            Plaintiff Sharon McCoy

            88.      Plaintiff Sharon McCoy is a resident and citizen of Illinois.



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            89.      Plaintiff Sharon McCoy receives benefits from NationsBenefits by virtue of her health

    plan membership with Aetna.

            90.      Plaintiff Sharon McCoy received a letter from NationsBenefits dated April 28, 2023,

    concerning the Data Breach. The letter stated that unauthorized actors accessed or acquired the data

    of NationsBenefits. According to the letter, the compromised files contained Plaintiff Sharon McCoy’s

    name, address, date of birth, gender, health plan subscriber ID number, Social Security number, and

    Medicare number. Plaintiff Sharon McCoy has faced and faces a present and continuing risk of fraud

    and identity theft for his lifetime.

            91.      Plaintiff Sharon McCoy is very careful about sharing sensitive Private Information.

    She stores documents containing Private Information in safe and secure locations. Plaintiff would not

    have entrusted her Private Information to her health insurer had she known of Defendants’ lax data

    security policies.

            92.      Plaintiff Sharon McCoy has been informed that her confidential information is on the

    dark web. She spent time visiting her bank and putting a fraud alert on her account. She is fearful and

    anxious that she may be the victim of identity theft or other fraud in the future because her Private

    Information was exposed in the Data Breach.

            Catherine Radtke

            93.      Plaintiff Catherin Radtke is a resident and citizen of Michigan.

            94.      Plaintiff Catherine Radtke receives benefits from NationsBenefits by virtue of her

    health plan membership with HAP/Medicare through the UAW Retiree Medical Benefits Trust.

            95.      Plaintiff Catherine Radtke received a letter from NationsBenefits dated April 28, 2023,

    concerning the Data Breach. The letter stated that unauthorized actors accessed or acquired the data

    of NationsBenefits. According to the letter, the compromised files contained Plaintiff Catherine

    Radtke’s name, address, date of birth, gender, health plan subscriber ID number, Social Security



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    number address, and Medicare number. Plaintiff Catherine Radtke has faced and faces a present and

    continuing risk of fraud and identity theft for her lifetime.

            96.      Plaintiff Catherin Radtke is very careful about sharing sensitive Private Information.

    She stores documents containing Private Information in safe and secure locations. Plaintiff would not

    have entrusted her Private Information to her health insurer had she known of Defendants’ lax data

    security policies.

            97.      As a result of the Data Breach, Plaintiff Catherine Radtke is fearful and anxious that

    she may be the victim of identity theft or other fraud in the future because her Private Information

    was exposed in the Data Breach.

            Martin Radtke

            98.      Plaintiff Martin Radtke is a resident and citizen of Michigan.

            99.      Plaintiff Martin Radtke receives benefits from NationsBenefits by virtue of his health

    plan membership with HAP/Medicare.

            100.     Plaintiff Martin Radtke received a letter from NationsBenefits dated April 28, 2023,

    concerning the Data Breach. The letter stated that unauthorized actors accessed or acquired the data

    of NationsBenefits. According to the letter, the compromised files contained Plaintiff Martin Radtke’s

    name, address, telephone number, date of birth, gender, health plan subscriber ID number, Social

    Security number, and Medicare number. Plaintiff Martin Radtke has faced and faces a present and

    continuing risk of fraud and identity theft for his lifetime.

            101.     Plaintiff Martin Radtke is very careful about sharing sensitive Private Information. He

    stores documents containing Private Information in safe and secure locations. Plaintiff would not have

    entrusted his Private Information to his health insurer had he known of Defendants’ lax data security

    policies.




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            102.    As a result of the Data Brach, Plaintiff Martin Radtke has experienced an increase in

    phishing attempts and spam. Indeed, Plaintiff Martin Radtke has spent approximately 24 hours, on

    behalf of himself and his wife (Plaintiff Catherine Radtke), monitoring their accounts, including

    checking their credit card accounts daily, and attempting to contact NationsBenefits for information

    about the Data Breach. Plaintiff Martin Radtke now constantly worries about his financial accounts

    and using health insurance products, and he remains fearful and anxious that he will be the victim of

    identity theft or other fraud in the future.

            Plaintiff Dezarae Sanders

            103.    Plaintiff Dezarae Sanders is a resident and citizen of Texas.

            104.    Plaintiff Sanders receives benefits from NationsBenefits by virtue of her health plan

    membership administered by Anthem.

            105.    Plaintiff Sanders received a letter from NationsBenefits dated April 13, 2023,

    concerning the Data Breach. The letter stated that unauthorized actors accessed or acquired the data

    of NationsBenefits. According to the letter, the compromised files contained Plaintiff Sanders’ name,

    address, date of birth, gender, health plan subscriber ID number, and Social Security number. Plaintiff

    Sanders has faced and faces a present and continuing risk of fraud and identity theft for her lifetime.

            106.    Plaintiff Sanders is very careful about sharing sensitive Private Information. She stores

    documents containing Private Information in safe and secure locations. Plaintiff would not have

    entrusted her Private Information to her health insurer had she known of Defendants’ lax data security

    policies.

            107.    As a result of the Data Breach, Plaintiff Sanders was the victim of identity theft.

    Fraudulent charges appeared on her credit card, forcing her to close that account. She has also

    experienced an increase in the number of spam calls, texts, and emails she receives. She has spent

    approximately 20 hours attempting to mitigate the Data Breach, including attempting to contact



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    NationsBenefits for information, changing billing information, monitoring her accounts, and checking

    her credit report every month. Plaintiff Sanders is fearful and anxious that she will be the victim of

    additional identity theft or fraud in the future.

            Arnisha Marie Shepherd

            108.     Plaintiff Arnisha Shepherd is a resident and citizen of Indiana.

            109.     Plaintiff Shepherd receives benefits from NationsBenefits by virtue of her health plan

    membership with Anthem.

            110.     Plaintiff Shepherd received a letter from NationsBenefits dated April 13, 2023,

    concerning the Data Breach. The letter stated that unauthorized actors accessed or acquired the data

    of NationsBenefits. According to the letter, the compromised files contained Plaintiff Shepherd’s

    name, address, telephone number, date of birth, gender, health plan subscriber ID number, and Social

    Security number. Plaintiff Shepherd has faced and faces a present and continuing risk of fraud and

    identity theft for her lifetime.

            111.     Plaintiff Shepherd is very careful about sharing sensitive Private Information. She

    stores documents containing Private Information in safe and secure locations. Plaintiff would not have

    entrusted her Private Information to her health insurer had she known of Defendants’ lax data security

    policies.

            112.     Since the Data Breach, Plaintiff Shepherd has experienced several hard inquiries on

    her credit files related to an application for credit at a bank she did not make nor authorize and, further,

    an AT&T account was opened in her name and without her knowledge or consent. In addition,

    someone used her bank debit card to make an unauthorized restaurant purchase. Plaintiff Shepherd

    has had to spend many hours of her time and effort to monitor her credit reports and take steps to

    close her debit card account on which the unauthorized purchase was made. She spent time and effort

    resetting her other accounts that were on automatic billing after the issue with the AT&T account,



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    monitoring her credit, and adding security freezes to her credit files. Since the Data Breach, Plaintiff

    Shepherd has received increased calls and texts that she does not recognize. As a result of the Data

    Breach, Plaintiff Shepherd is very anxious that her private information is in unknown hands and is

    being misused, and she is fearful that she will face additional fraud in the future.

            Ariana Skurauskis

            113.    Plaintiff Ariana Skurauskis is a resident and citizen of California.

            114.    Plaintiff Skurauskis receives benefits from NationsBenefits by virtue of her health plan

    membership with Santa Clara Family Health Plan.

            115.    Plaintiff Skurauskis received a letter from Santa Clara Family Health Plan dated April

    21, 2023, concerning the Data Breach. The letter stated that unauthorized actors accessed or acquired

    the data of NationsBenefits. According to the letter, the compromised files contained Plaintiff

    Skurauskis’ name, contact information, date of birth, Santa Clara Family Health Plan ID number, and

    Medi-Cal Index Number. Plaintiff Skurauskis has faced and faces a present and continuing risk of

    fraud and identity theft for her lifetime.

            116.    Plaintiff Skurauskis is very careful about sharing sensitive Private Information. She

    stores documents containing Private Information in safe and secure locations. Plaintiff would not have

    entrusted her Private Information to her health insurer had she known of Defendants’ lax data security

    policies.

            117.    Plaintiff Skurauskis was the victim of identity theft following Data Breach. After the

    Data Breach, a large unauthorized charge appeared on her PayPal account. Additionally, in February

    2023 an unknown person accessed her Forever 21 account and attempted to purchase items worth

    $328.88. Plaintiff Skurauskis has also experienced an increased number of phishing calls and spam

    text messages since the Data Breach. After the Data Breach, Plaintiff Skurauskis placed a freeze on

    her credit. Plaintiff Skurauskis is fearful that she will continue to experience identity theft in the future,



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    causing her to lose money, take on increased debt, and negatively affecting her credit score. Plaintiff

    Skurauskis has experienced increased anxiety as a result of the Data Breach and is anxious and fearful

    that she will be the victim of identity theft or other fraud in the future because her information was

    exposed in the Data Breach.

            Anthony Skuya

            118.    Plaintiff Anthony Skuya is a resident and citizen of Florida.

            119.    Plaintiff Skuya receives benefits from NationsBenefits by virtue of his health plan

    membership with Aetna.

            120.    Plaintiff Skuya received a letter from NationsBenefits dated April 27, 2023, concerning

    the Data Breach. The letter stated that unauthorized actors accessed or acquired the data of

    NationsBenefits. According to the letter, the compromised files contained Plaintiff Skuya’s name,

    address, telephone number, date of birth, gender, and health plan subscriber ID number. Plaintiff

    Skuya has faced and faces a present and continuing risk of fraud and identity theft for his lifetime.

            121.    Plaintiff Skuya is very careful about sharing sensitive Private Information. He stores

    documents containing Private Information in safe and secure locations. Plaintiff would not have

    entrusted his Private Information to his health insurer had h known of Defendants’ lax data security

    policies.

            122.    Plaintiff Skuya has spent approximately 2 hours researching the Data Breach and

    monitoring his accounts for fraudulent activity. He has experienced an increased number of spam calls

    and texts. Plaintiff Skuya received one call from someone who had his name and address and

    attempted to elicit his Medicare information. He has experienced increased fear and anxiety because

    his Private Information is on the dark web and because he faces a continuing risk of identity theft in

    the future.




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            A.T.

            123.    Plaintiff A.T. is a resident and citizen of Kansas.

            124.    Plaintiff A.T. receives benefits from NationsBenefits by virtue of his health plan

    membership with Aetna Medicare Advantage.

            125.    Plaintiff A.T. received a letter from NationsBenefits dated April 27, 2023, concerning

    the Data Breach. The letter stated that unauthorized actors accessed or acquired the data of

    NationsBenefits. According to the letter, the compromised files contained Plaintiff A.T.’s name,

    address, telephone number, date of birth, gender, health plan subscriber ID number, and Medicare

    number. Plaintiff A.T. has faced and faces a present and continuing risk of fraud and identity theft for

    his lifetime.

            126.    Plaintiff A.T. is very careful about sharing sensitive Private Information. He stores

    documents containing Private Information in safe and secure locations. Plaintiff would not have

    entrusted his Private Information to his health insurer had he known of Defendants’ lax data security

    policies.

            127.    Plaintiff A.T. was the victim of identity theft following the Data Breach. After the Data

    Breach occurred, multiple attempts were made by an unknown person to access Plaintiff A.T.’s

    Walmart account to which his debit cards are linked. Plaintiff A.T. had to take the time and effort to

    add two-step authentication to his Walmart account. Plaintiff A.T. has spent approximately 25 to 30

    hours addressing the attempts to access his Walmart account, changing his Walmart account to use

    the two-step authentication process, investigating the Data Breach, and monitoring his accounts and

    credit report. He has also experienced an increase in the number of spam calls, emails, and text

    messages he receives. Plaintiff A.T. is anxious that his medical information and Medicare information

    were compromised in the Data Breach, and is afraid they might be further disclosed and misused. The




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    Data Breach has caused Plaintiff A.T. to experience anxiety and fear, for which he now takes anxiety

    medication and spends approximately 1.5 hours each week meditating to try to remedy.

            Michael Wanser

            128.        Plaintiff Michael Wanser is a resident and citizen of New York.

            129.        Plaintiff Wanser receives benefits from NationsBenefits by virtue of his health plan

    membership with Aetna.

            130.        Plaintiff Wanser received a letter from NationsBenefits dated April 27, 2023,

    concerning the Data Breach. The letter stated that unauthorized actors accessed or acquired the data

    of NationsBenefits. According to the letter, the compromised files contained Plaintiff Wanser’s name,

    address, telephone number, date of birth, gender, health plan subscriber ID number, and Medicare

    number. Plaintiff Wanser has faced and faces a present and continuing risk of fraud and identity theft

    for his lifetime.

            131.        Plaintiff Wanser is very careful about sharing sensitive Private Information. He stores

    documents containing Private Information in safe and secure locations. Plaintiff would not have

    entrusted his Private Information to his health insurer had he known of Defendants’ lax data security

    policies.

            132.        As a result of the Data Breach, Plaintiff Wanser has experienced an extremely high

    increase in the number of spam calls and texts he receives. Each day he gets more than 20 spam calls

    on his cell phone, and more than 5 spam calls on his home phone. He also receives approximately 2

    to 3 spam text messages every day. The Data Breach has caused Plaintiff Wanser increased fear and

    anxiety about the misuse of his Private Information and the potential impact on his credit. Since the

    Data Breach he has spent approximately 1 to 2 hours each week monitoring his accounts for

    fraudulent activity. Plaintiff Wanser is anxious and fearful that he will be the victim of identity theft

    or other fraud in the future because his information was exposed in the Data Breach.



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            Edward Wilczynski

            133.    Plaintiff Edward Wilczynski is a resident and citizen of the State of New Jersey.

            134.    Plaintiff Wilczynski receives benefits from NationsBenefits by virtue of his health plan

    membership with Aetna.

            135.    Plaintiff Wilczynski received a letter from NationsBenefits dated April 27, 2023,

    concerning the Data Breach. The letter stated that unauthorized actors accessed or acquired the data

    of NationsBenefits. According to the letter, the compromised files contained Plaintiff Wilczynski’s

    name, address, telephone number, date of birth, gender, health plan subscriber ID number, Medicare

    number, and other items relating to Plaintiff’s receipt of benefits from NationsBenefits. Plaintiff

    Wilczynski has faced and faces a present and continuing risk of fraud and identity theft for his lifetime.

            136.    Plaintiff Wilczynski is very careful about sharing sensitive Private Information. He

    stores documents containing Private Information in safe and secure locations. Plaintiff would not have

    entrusted his Private Information to his health insurer had he known of Defendants’ lax data security

    policies.

            137.    Plaintiff Wilczynski was the victim of identity theft following the Data Breach.

    Between May and July 2023, he twice had to cancel his debit card. Plaintiff Wilczynski’s bank notified

    him that there was a security breach on his account, and that someone was trying to take money out

    of his account using his debit card number. After the first incident, Plaintiff Wilczynski cancelled the

    card and the bank re-issued it. Then this incident happened again within a month. Plaintiff closed his

    account because he was concerned about account security and then opened a new account at another

    bank. He has also noticed an increase of spam messages. As a result of the breach, Plaintiff Wilczynski

    has spent 12 to 14 hours monitoring his financial accounts and statements and remedying the fraud

    he experienced at his bank. He had to drive 40 minutes to his bank twice, burning approximately $20




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    worth of fuel. As a result of the breach, he is anxious that individuals will become the victim of future

    identity fraud or theft and that his sensitive medical information will be disclosed.

            Sara Jean Williams

            138.        Plaintiff Sara Jean Williams is a resident and citizen of Missouri.

            139.        Plaintiff Williams receives benefits from NationsBenefits by virtue of her health plan

    membership with Aetna.

            140.        Plaintiff Williams received a letter from NationsBenefits dated April 27, 2023,

    concerning the Data Breach. The letter stated that unauthorized actors accessed or acquired the data

    of NationsBenefits. According to the letter, the compromised files contained Plaintiff Williams’ name,

    address, telephone number, date of birth, gender, health plan subscriber ID number, and Medicare

    number. Plaintiff Williams has faced and faces a present and continuing risk of fraud and identity theft

    for his lifetime.

            141.        Plaintiff Williams is very careful about sharing sensitive Private Information. She

    stores documents containing Private Information in safe and secure locations. Plaintiff would not have

    entrusted her Private Information to her health insurer had she known of Defendants’ lax data security

    policies.

            142.        Plaintiff Williams is highly concerned that her Private Information is now in unknown

    hands and is fearful that her Private Information is being, and will continue to be, misused. Before the

    Data Breach occurred, Plaintiff Williams did not receive spam calls, but since the Data Breach

    occurred, she has experienced a large number of spam calls. Plaintiff Williams is anxious and fearful

    that he will be the victim of identity theft or other fraud in the future because her information was

    exposed in the Data Breach.

            Wanda Wilson

            143.        Plaintiff Wanda Wilson is a resident and citizen of Texas.



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            144.   Plaintiff Wilson receives benefits from NationsBenefits by virtue of her health plan

    membership with Aetna.

            145.   Plaintiff Wilson received a letter from NationsBenefits dated April 27, 2023,

    concerning the Data Breach. The letter stated that unauthorized actors accessed or acquired the data

    of NationsBenefits. According to the letter, the compromised files contained Plaintiff Wilson’s name,

    address, telephone number, date of birth, gender, health plan subscriber ID number, and Medicare

    number. Plaintiff has faced and faces a present and continuing risk of fraud and identity theft for her

    lifetime.

            146.   Plaintiff Wilson is very careful about sharing sensitive Private Information. She stores

    documents containing Private Information in safe and secure locations. Plaintiff would not have

    entrusted her Private Information to her health insurer had she known of Defendants’ lax data security

    policies.

            147.   Plaintiff Wilson was the victim of identity theft following the Data Breach. After the

    Data Breach, unauthorized charges began appearing on Plaintiff Wilson’s debit card, forcing her to

    spend approximately 45 minutes on the phone with her bank to address the fraudulent charges and to

    close her bank account and open a new account. Plaintiff Wilson was charged approximately $300 for

    late or failed payments as a result of changing her billing information due to the Data Breach. She has

    received telephone calls regarding account inquiries, and her credit score has decreased since the Data

    Breach. Plaintiff Wilson has also experienced an increased number of spam calls, texts, and emails

    since the Data Breach. Plaintiff Wilson spent approximately $24.95 to obtain her credit report after

    the Data Breach. She has spent approximately 2 hours monitoring her accounts and credit report for

    other fraudulent charges or accounts. The Data Breach and resulting identity theft have caused

    Plaintiff Wilson to experience frustration and anxiety, and she fears that her insurance coverage will

    be affected.



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            Stephen Wolsey

            148.    Plaintiff Stephen Wolsey is a resident and citizen of Florida.

            149.    Plaintiff Wolsey receives benefits from NationsBenefits by virtue of his health plan

    membership with Aetna.

            150.    Plaintiff Wolsey received a letter from NationsBenefits dated April 27, 2023,

    concerning the Data Breach. The letter stated that unauthorized actors accessed or acquired the data

    of NationsBenefits. According to the letter, the compromised files contained Plaintiff Wolsey’s first

    name, middle initial, last name, gender, address, telephone number, date of birth, and health plan

    subscriber ID number, and other items relating to Plaintiff Stephen Wolsey’s receipt of benefits from

    NationsBenefits. Plaintiff Stephen Wolsey has faced, and faces a present and continuing risk of fraud

    and identity theft for his lifetime.

            151.    Plaintiff Wolsey is very careful about sharing sensitive Private Information. He stores

    documents containing Private Information in safe and secure locations. Plaintiff would not have

    entrusted his Private Information to his health insurer had he known of Defendants’ lax data security

    policies.

            152.    As a result of the Data Breach, Plaintiff Wolsey has experienced four fraudulent

    attempts of opening credit cards with Chase Bank by an unauthorized person. Additionally, Plaintiff

    Wolsey has noticed an increase phishing attempts in text messages requesting he “click the link below,”

    and spam phone calls asking him to press a number to continue. Plaintiff Wolsey is anxious and fearful

    that she will be the victim of identity theft or other fraud in the future because her information was

    exposed in the Data Breach.

    B.      Defendants

            153.    Defendant NationsBenefits LLC is a Florida limited liability company headquartered

    in Plantation, Florida. Its sole member is Glenn Parker, a Florida resident and citizen.



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             154.   Defendant NationsBenefits Holdings LLC is a Delaware limited liability company that

    on information and belief is also headquartered in Plantation, Florida. On information and belief, its

    sole member is also Glenn Parker, a Florida resident and citizen.

             155.   NationsBenefits provides supplemental benefits administration services to employers,

    health insurance companies, and other entities’ health plans. It serves “millions” of members as a

    “leading provider of supplemental benefits, flex cards, and member engagement solutions that

    partners with managed care organizations to provide innovative healthcare solutions designed to drive

    growth, improve outcomes, reduce costs, and delight members.”4

                                 III.    FACTUAL ALLEGATIONS

    A.       NationsBenefits Collects and Uses Personal and Sensitive Customer Data.

             156.   NationsBenefits is one of the fastest-growing supplemental benefits administration

    companies in the United States, which provides its services to health insurance plans and employers

    across the country. Founded in 2015 as “Nation’s Hearing,” NationsBenefits now provides an array

    of supplemental healthcare solutions, including:

             a.     NationsBenefits, which provides hearing benefits, such as digital hearing tests, annual
                    hearing tests, and coverage for hearing aids or related technologies;

             b.     NationsOTC, which provides benefits administration and an e-commerce platform
                    for over-the-counter health items, such as foods, first-aid supplies, and other health
                    and wellness items;5

             c.     NationsMarket, which provides benefits administration for purchasing healthy foods,
                    including prepared meals, fresh produce, and groceries;




         4
            See About Us, NATIONSBENEFITS, https://www.nationsbenefits.com/about-us (last visited
    Aug. 22, 2023).
          5
             See NationsOTC, NATIONSBENEFITS, https://www.nationsbenefits.com/nationsotc (last
    visited Aug. 22, 2023).

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             d.     NationsCare, which is a companion care benefit, which provides a Companion to
                    members for non-medical assistance such as emotional support, household chores,
                    errands, and transportation;6

             e.     A Personal Emergency Response Systems benefit, which includes in-home Medical
                    Alert base units, help buttons, GPS monitoring, and other monitoring for elderly
                    members;7 and

             f.     Connectivity devices, such as tablets, fitness trackers, and phones, for elderly
                    members.8

             157.   It also provides customer experience services for insurance plans, leveraging data

    analytics to increase member engagement and satisfaction.9

             158.   In the last three years, NationsBenefits has experienced incredibly rapid growth, from

    just 200 employees in 2020 to over 2,500 employees today.10 According to reports, it has also

    experienced 868% revenue growth over that time period. 11

             159.   By virtue of its partnerships with other healthcare organizations, NationsBenefits

    collects and processes an enormous volume of personal data from millions of individuals, including

    Private Information, including health and patient records and insurance information, geolocation data,

    and financial information. Much of this information is not provided to NationsBenefits directly, but

    through insurance providers or employers. Plaintiffs and Class Members whose insurance or managed




         6
             See Optimized Companion Care Benefit, NATIONSBENEFITS, https://www.nationsbenefits.com/
    Wellness#optimizedcompanioncarebenefit (last visited Aug. 22, 2023).
          7
             See Wellness Solutions, NATIONSBENEFITS, https://www.nationsbenefits.com/Wellness#pers-
    benefit (last visited Aug. 22, 2023).
          8
            See id.
          9
              See NationsCX, NATIONSBENEFITS, https://www.nationsbenefits.com/NationsCX (last
    visited Aug. 22, 2023).
          10
              Compare A Family Tragedy Changed This Founder's Business Philosophy. Now He Has the Fastest-
    Growing Company in Florida, INC.COM, https://www.inc.com/cameron-albert-deitch/inc5000-florida-
    series-nationsbenefits-health-insurance.html (“NationsBenefits has grown to 200 full-time
    employees”) with Who We Are, NATIONSBENEFITS, https://www.nationsbenefits.com/about-us
    (“With more than 2,500 employees across all locations . . .”).
          11
              See Company Profile—No. 681 NationsBenefits, INC.COM, https://www.inc.com/profile/
    nationsbenefits (last visited Aug. 22, 2023).

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    care organizations partner with NationsBenefits are often required to share their sensitive Private

    Information with NationsBenefits in order to receive the member benefits to which they are entitled.

               160.    NationsBenefits strongly urges—or even requires—its clients, users, and patients to

    provide Private Information to leverage any of its products and services. NationsBenefits explicitly

    warns customers those certain services “may require you to provide Private Information.” 12 In

    addition, to distinguish itself from other competitors in the supplemental benefits market,

    NationsBenefits highlights its data collection and analytics, including analyzing past and present

    clinical health plan data to “assess known and unknown member needs.”

               161.    One method of direct information collection occurs on its membership platform, the

    MyBenefits Portal, where members fill out a personal health profile, including sensitive information

    about current health concerns, and can purchase goods and services with their supplemental benefits.

    Members can also schedule appointments with recommended doctors through this platform and share

    medical records with providers. Use of these portals by individuals such as Plaintiffs and the Class are

    often required for them to obtain certain benefits, such as purchasing products online with plan

    benefit dollars.

               162.    Another example of such collection arises from the use of NationsBenefits OTC

    mobile app, which allows individuals to use their health insurance or benefit plans “to purchase

    medications, health and wellness items, and first aid supplies with home delivery at no additional

    cost.”13




          12
              See Privacy Policy, NATIONSBENEFITS, https://nationsbenefits.com/privacy (last visited Aug.
    22, 2023).
           13
               See Technology, NATIONSBENEFITS, https://nationsbenefits.com/technology#mobile-apps
    (last visited Aug. 22, 2023).

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               163.   In its Privacy Policy, NationsBenefits promises customers that it will “use reasonable

    physical, technical, and administrative safeguards” to protect customers’ Private Information. 14

               164.   It also promises customers that it will only share customer information in limited

    circumstances, none of which include sharing with the cyber criminals that facilitated the Data

    Breach.15

               165.   Notably, the Privacy Policy does not disclose that third parties, who may be reckless

    and/or negligent, will collect, process, and store PHI protected under HIPAA.

               166.   Plaintiffs and Class Members relied on NationsBenefits’ promise to keep their Private

    Information confidential and securely maintained, and to only make authorized disclosures of this

    information. NationsBenefits failed to do so.

               167.   Plaintiffs and Class Members also relied on NationsBenefits to ensure that it held

    vendors with whom it shared sensitive Private Information to the same high standards of data

    protection. NationsBenefits failed to do so.

    B.         NationsBenefits Partnered with Fortra for File Transfer Services and Data Storage.

               168.   To facilitate sharing of sensitive patient information between NationsBenefits, its

    insurance provider and employer clients, and healthcare providers, NationsBenefits purchased and

    used a managed file transfer software from Fortra: GoAnywhere MFT.

               169.   GoAnywhere MFT “is a managed file transfer solution that automates and secures file

    transfers using a centralized enterprise-level approach.” 16 It acts as a “central point of administration”

    between an organization’s internal organization, external partners and clients, appliances, and cloud




          14
              See Privacy Policy, NATIONSBENEFITS, supra n.12.
          15
              Id.
           16
              Start Using GoAnywhere MFT, FORTRA, https://www.goanywhere.com/offers/start-using-mft
    (last visited Aug. 22, 2023).

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    environments.17 It allegedly includes “extensive security controls” and “automatic encryption” that

    may be customized for each organization.18 Fortra promised that GoAnywhere MFT “will provide a

    safe, audited method for automatically transferring information in and outside of your enterprise.” 19

               170.   On information and belief, the default settings for GoAnywhere MFT are not

    compliant with reasonable security standards. The GoAnywhere MFT installation guide provides

    instructions for how to make the product more secure.

               171.   For example, the default configuration of GoAnywhere MFT allows anyone with

    access to the Internet to view the landing page, or “administrative console” for a client’s GoAnywhere

    MFT, where users can sign in to access, operate, and modify the program. 20 Fortra’s instructions

    provide several simple steps that limit public access to this console, such as limiting access to specific

    ports, meaning that only certain users can access an organization’s administrative console. Without

    these changes, GoAnywhere MFT is vulnerable to attack and exploitation, and is not compliant with

    reasonable security standards and HIPAA requirements.21

               172.   Fortra has also disclosed security vulnerabilities in GoAnywhere MFT in the past,

    which rendered their software vulnerable to exploitation, which NationsBenefits knew or should have

    known.22




          17
             Id.
          18
             Id.
          19
             Id.
          20
                GoAnywhere MFT Install Guide, FORTRA, https://static.goanywhere.com/guides/
    ga_installation_guide.pdf (last visited Aug. 22, 2023).
          21
             Dave Shackleford, Web-Based Admin Consoles: The Critical, Overlooked Security Exposure you must
    Address, BEYONDTRUST (Aug. 10, 2021), https://www.beyondtrust.com/blog/entry/web-based-
    admin-consoles-the-critical-overlooked-security-exposure-you-must-address.
          22
               Fortra, GoAnywhere MFT Security Advisory, https://www.goanywhere.com/support/
    advisory/68x (last visited Aug. 22, 2023).

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               173.   Upon information and belief, NationsBenefits was able to control the security and

    configurations of the MFT servers that stored Class Members’ sensitive information for transfer, and

    were responsible for protecting, maintaining, and monitoring those servers for threat activity.

               174.   Upon information and belief, NationsBenefits did not change the default settings on

    its installation of GoAnywhere MFT, including leaving the administrative console exposed to anyone

    with Internet access, failing to comply with reasonable security standards and HIPAA requirements.

    C.         NationsBenefits Allowed the Private Information of Plaintiffs and Class Members to
               be Compromised in the Data Breach.

               175.   Between January 28, 2023, and January 30, 2023, Clop accessed NationsBenefits’

    servers through a vulnerability in the GoAnywhere MFT administrative console.

               176.   Over 130 organizations, including several healthcare organizations, were affected by

    data breaches stemming from this attack.23

               177.   Even though similar vulnerabilities in administrative consoles are a common method

    of exploitation, NationsBenefits did not prevent the attack.

               178.   This vulnerability, assigned the number CVE-2023-0669 by the National Institute of

    Standards and Technology (“NIST”), is only accessible to attackers where the GoAnywhere MFT

    administrator console is publicly accessible through the Internet, as was the case with NationsBenefits’

    MFT.24

               179.   The vulnerability allowed the hackers to take the following actions on NationsBenefits’

    servers:




          23
          Danny Wimmer, Fortra Data Breach Targets 130 Companies, Many in Healthcare Sector, MICH. DEP’T
    OF ATT’Y GEN. (May 16, 2023), https://www.michigan.gov/ag/news/press-releases/2023/05/16/
    fortra-data-breach-targets-130-companies-many-in-healthcare-sector.
          24
             Caitlin Condon, Exploitation of GOAnywhere MFT zero-day vulnerability, RAPID7 (May 4, 2023),
    https://www.rapid7.com/blog/post/2023/02/03/exploitation-of-goanywhere-mft-zero-day-
    vulnerability.

                                                           36
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               a.     Create unauthorized user accounts and download files from MFT servers; and

               b.     Install two tools, “Netcat”25 and “Errors.jsp”26 which enabled the hackers to exfiltrate

                      data and establish “backdoors” into the breached system, which allow them to access

                      more data and re-enter the breached systems at later dates.

               180.   Upon information and belief, these actions enabled the hackers not only to access and

    download NationsBenefits’ customers’ sensitive Private Information, but also to move across

    NationsBenefits’ other networks and systems to access vast troves of Private Information.

               181.   Upon information and belief, Clop issued a ransom demand to NationsBenefits and

    threatened to leak customer data unless paid. The hackers claimed to have acquired “Customer

    databases: name, address, phone number, date of birth, gender, marital status, insurance company

    name and address. [L]ogs and backups of the production server,” and released the data in five parts. 27

               182.   Upon information and belief, Clop has already posted and/or sold Plaintiffs’ and Class

    Members’ sensitive information on their dark web-based store, known as “Clop Leaks.” 28




          25
             Bill Toulas, Fortra shares findings on GoAnywhere MFT zero-day attacks, BLEEPINGCOMPUTER
    (April 19, 2023), https://www.bleepingcomputer.com/news/security/fortra-shares-findings-on-
    goanywhere-mft-zero-day-attacks/ (Netcat is “is a versatile networking utility that threat actors
    typically use to establish backdoors, conduct port scanning, or transfer files between the compromised
    system and their server.”).
          26
             Id. (“Errors.jsp is a JavaServer Pages (JSP) file used for creating dynamic web pages. Fortra
    does not explain how the attackers used the file. However, it’s possible that it was designed to provide
    the attacker with a web-based backdoor on the breached system for executing commands, stealing
    data, or maintaining access to the environment.”).
          27
              The Fortra/GoAnywhere breach also affected healthcare entities. Here’s what we know so far,
    DATABREACHES.NET (April 21, 2023), https://www.databreaches.net/the-fortra-goanywhere-breach-
    also-affected-healthcare-entities-heres-what-we-know-so-far/
          28
             Id.

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               183.   In a statement, the hackers claimed that they could access other parts of victim’s

    networks and systems and deploy malware, “but decided against it and only stole the documents stored

    on the compromised GoAnywhere MFT servers.”29

               184.   Upon information and belief, other cybercriminal groups and attackers leveraged this

    exploitation alongside Clop.30

               185.   Upon information and belief, Plaintiffs’ and Class Members’ Private Information was

    accessible, unprotected, unencrypted, and therefore easily accessible for unauthorized access and

    exfiltration.

    D.         NationsBenefits’ Delay in Securing its Systems and Notifying its Customers of the
               Data Breach Caused Harm to Plaintiffs and Class Members.

               186.   Although NationsBenefits was compromised between January 28, 2023, and January

    30, 2023, it did not recognize that its servers had been hacked for at least nine more days. 31 And even

    though Fortra notified its enterprise customers, including NationsBenefits, of the exploit on February

    3, 2023, providing details of the exploit, indicators of compromise, and mitigation options. 32

    NationsBenefits did not take steps to secure their servers until much later.

               187.   Indeed, the length of time the Data Breach went unnoticed and undetected by

    NationsBenefits is astonishing. Security researchers and news outlets quickly disseminated the warning




          29
              Sergui Gatlan, Clop ransomware claims it breached 130 orgs using GoAnywhere zero-day,
    BLEEPINGCOMPUTER (Feb. 10, 2023), https://www.bleepingcomputer.com/news/security/clop-
    ransomware-claims-it-breached-130-orgs-using-goanywhere-zero-day.
          30
             Ido Lev, BlackCat / Alphv Ransomware Group Exploits GoAnywhere Vulnerability (CVE-2023-
    0669) With Higher-Than-Average Demands, AT BAY (Apr. 25, 2023), https://www.at-
    bay.com/articles/blackcat-ransomware-group-exploits-goanywhere-vulnerability.
          31
             Steve Adler, NationsBenefits Holdings Confirms 3 Million Record Data Breach, THE HIPAA JOURNAL
    (May 8, 2023), https://www.hipaajournal.com/nationsbenefits-holdings-confirms-3-million-record-
    data-breach.
          32
               Sergui Gatlan, Exploit released for actively exploited GoAnywhere MFT zero-day,
    BLEEPINGCOMPUTER (Feb. 6, 2023), https://www.bleepingcomputer.com/news/security/exploit-
    released-for-actively-exploited-goanywhere-mft-zero-day.

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    en masse. As of February 4, 2023, media outlets Security Affairs and the Hacker News released detailed

    articles detailing that the exploits were being leveraged by malicious actors and providing potential

    mitigation steps that companies could take to prevent exploitation.33

               188.   Upon information and belief, NationsBenefits failed to update its systems to include

    the indicators of compromise or make any mitigation efforts until February 7, 2023, leaving their

    systems unprotected and open for exploitation for over a week.

               189.   On April 13, 2023, more than two months after it discovered the theft of its customers’

    highly sensitive information, NationsBenefits notified the United States Department of Health and

    Human Services that 3,037,303 individuals were affected by the Data Breach. 34

               190.   NationsBenefits also waited more than two months after it discovered its customers’

    Private Information had been stolen before sending notices to individuals whose data was stolen in

    the Data Breach. While NationsBenefits first sent notices to impacted individuals on April 13, 2023,

    letters to some Plaintiffs were not sent until April 27, 2023, and even later. The notice stated the

    following:

               What Happened? NationsBenefits used software provided by a third-party vendor,
               Fortra, LLC (“Fortra”), to securely exchange files with your health plan. On or around
               January 30, 2023, Fortra experienced a data security incident in which a malicious
               actor(s) accessed or acquired the data of multiple organizations, including
               NationsBenefits. When we learned of this incident on February 7, 2023, we
               immediately took steps to secure our systems and launched an investigation, which
               was conducted by an experienced outside law firm and a leading cybersecurity firm.
               As part of our investigation, NationsBenefits analyzed the impacted data to determine
               whether any individual’s Private Information was subject to unauthorized access or
               acquisition. On February 23, 2023, NationsBenefits confirmed that, unfortunately,
               some of your Private Information was affected by the incident.

          33
             See Pierluigi Paganini, GoAnywhere MFT zero-day flaw actively exploited, SECURITY AFFAIRS (Feb.
    4, 2023), https://securityaffairs.com/141826/hacking/goanywhere-mft-zero-day.html (last visited
    Aug. 22, 2023); Ravie Lakshmanan, Warning: Hackers Actively Exploiting Zero-Day in Fortra’s GoAnywhere
    MFT, THE HACKER NEWS (Feb. 4, 2023), https://thehackernews.com/2023/02/warning-hackers-
    actively-exploiting.html).
          34
              U.S. Department of Health and Human Services, Cases Currently Under Investigations,
    https://ocrportal.hhs.gov/ocr/breach/breach_report.jsf (last visited Aug. 22, 2023).

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               What Information Was Involved? The Private Information involved included your
               First Name; Middle Initial; Last Name; Gender; Health Plan Subscriber Identification
               Number; Address; Date of Birth; Medicare number.35

               191.   NationsBenefits did not mention that the Clop hackers very likely stole even more

    information from its systems, including Social Security numbers, full names, and phone numbers.

    Given the sensitive information stored on NationsBenefits’ servers, other data that may have been

    stolen included medical records, financial information, and geolocation information. Due to the high

    level of access that the attackers had to NationsBenefits’ servers, this additional information was likely

    exposed for exfiltration and stolen.

               192.   NationsBenefits’ notice letter also omitted the size and scope of the Data Breach. Nor

    did NationsBenefits’ notice letter identify the ransomware used, or what steps NationsBenefits intends

    to take to enhance its data security systems and monitoring capabilities to prevent further breaches.

    Although NationsBenefits claimed to have stopped its usage of GoAnywhere MFT, it did not provide

    any assurances that it would improve its data security practices with other file transfer services.

    Without changes to NationsBenefits’ own practices, Plaintiffs’ and Class Members’ sensitive

    information remains at risk, regardless of the specific file transfer service that NationsBenefits uses.

               193.   NationsBenefits’ inadequate communications have left Plaintiffs and Class Members

    in the dark regarding the extent of the harm they have suffered, and NationsBenefits has demonstrated

    a pattern of providing inadequate notices and disclosures about the Data Breach.

    E.         NationsBenefits Knew It Was a Likely Target of a Cyberattack.

               194.   At all relevant times, NationsBenefits was aware, or reasonably should have been aware,

    that the Private Information collected, maintained, and stored in their servers is highly sensitive,




          35
               See Ex. A.

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    susceptible to attack, and could be used for malicious purposes by third parties, such as identity theft,

    medical identity theft, fraud, and other misuse.

               195.   File transfer services like GoAnywhere MFT are popular and well-known targets for

    cyberattacks. Some of the largest healthcare data breaches in recent history occurred by cyber criminals

    targeting file transfer services. For example, in February 2021, the file transfer service Accellion was

    attacked by the same threat actors as the Data Breach (Clop) causing the theft of more than three

    million patients’ information.36

               196.   Indeed, NationsBenefits knew or should have known that services from third-party

    vendors like Fortra were frequently attacked, leading to ninety percent of healthcare-related

    cyberattacks in 2021 and 2022.37

               197.   The frequency and prevalence of attacks make it imperative for entities to monitor for

    exploits and attacks routinely and constantly, and regularly update their software and security

    procedures.

               198.   NationsBenefits was fully aware that the healthcare benefits industry is a prime target

    for cyber threats.38 High profile data breaches in for similar industry leaders in healthcare put them on

    notice of this fact, e.g., Trinity Health (3.3 million patients, May 2020); Shields Healthcare Group (2




          36
             Ionut Ilascu, Global Accellion data breaches linked to Clop ransomware gang, BLEEPINGCOMPUTER
    (Feb. 22, 2021), https://www.bleepingcomputer.com/news/security/global-accellion-data-breaches-
    linked-to-clop-ransomware-gang/; Exploitation of Accellion File Transfer Appliance, CYBERSECURITY
    INFRASTRUCTURE & SECURITY AGENCY (June 17, 2021), https://www.cisa.gov/news-
    events/cybersecurity-advisories/aa21-055a.
          37
             Jessica Davis, Most of the 10 largest healthcare data breaches in 2022 are tied to vendors, SC MEDIA
    (Dec. 12, 2022), https://www.scmagazine.com/feature/breach/most-of-the-10-largest-healthcare-
    data-breaches-in-2022-are-tied-to-vendors; Jessica Davis, Vendor incidents lead the 10 biggest health care
    data breaches of 2021 so far, SC MEDIA (June 30, 2021), https://www.scmagazine.com/news/risk-
    management/vendor-incidents-lead-the-10-biggest-health-care-data-breaches-of-2021-so-far.
          38
             See Finkle, FBI warns healthcare firms they are targeted by hackers, supra n.3.

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    million patients, March 2022). Between 2020 and 2021, attacks on the healthcare industry increased

    71%, making it the fifth most common industry targeted by cyberattacks. 39

               199.   NationsBenefits also knew or should have known of the threat that Clop posed to

    their patients. The healthcare industry is also the primary target of Clop. 40 The Department of Health

    and Human Services even issued alerts in 2021 and early January 2023 warning the healthcare sector

    of potential Clop attacks.41 Clop has previously targeted file transfer services as a means to target the

    healthcare sector.42

    F.         NationsBenefits Breached Its Duties to Plaintiffs and Class Members.

               200.   As an entity collecting, maintaining, and profiting off Plaintiffs’ and Class Members’

    highly sensitive Personal Information, NationsBenefits had a duty to exercise reasonable care and

    comply with applicable industry standards and statutory security requirements to protect their

    information.

               201.   Indeed, NationsBenefits was on notice that it was maintaining highly valuable data,

    which it knew was at risk of being targeted by cybercriminals, and knew of the extensive harm that

    would occur if Plaintiffs’ and Class Members’ Private Information was exposed through a data breach.

               202.   Because Plaintiffs and Class Members provided their Private Information to their

    respective health plans or other entities who in turn provided that information to NationsBenefits,

    NationsBenefits had a special relationship with Plaintiffs and Class Members which provided an

    independent duty of care. NationsBenefits owed a duty to use reasonable security measures because



          39
             Check Point Research Team, Check Point Research: Cyber Attacks Increased 50% Year over Year,
    Check Point (Jan. 10, 2022), https://blog.checkpoint.com/security/check-point-research-cyber-
    attacks-increased-50-year-over-year.
          40
                 HC3,     Analyst     Note:  Clop     Ransomware,       HHS        (Jan.   4,     2023),
    https://www.hhs.gov/sites/default/files/clop-ransomware-analyst-note-tlpclear.pdf.
          41
             Id.
          42
             HC3, Analyst Note: CLOP Poses Ongoing Risk to HPH Organizations, HHS (Mar. 23, 2021),
    https://www.hhs.gov/sites/default/files/clop-poses-ongoing-risk-to-hph-organizations.pdf.

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    it undertook to collect, store, and use customers’ Private Information. In addition, NationsBenefits

    owed a duty to require and ensure that Fortra would use reasonable security measures because it

    disclosed that same Private Information to Fortra.

               203.   NationsBenefits’ HIPAA Rights disclosure even provides that it is “required by law to

    maintain the privacy and security of your protected health information.” 43

               204.   In that same HIPAA Rights disclosure, NationsBenefits told its customers: “We will

    let you know promptly if a breach occurs that may have compromised the privacy or security of your

    information.”44

               205.   Despite holding Private Information for millions of individuals, NationsBenefits failed

    to adopt reasonable data security measures to prevent and detect unauthorized access to their highly

    sensitive databases, putting their customers’ highly sensitive information at risk.

               206.   NationsBenefits failed to properly implement data security practices that were

    reasonable and up to industry standards.

    G.         NationsBenefits Failed to Comply with Regulatory Requirements and Industry
               Practices.

               207.   Federal and state regulators have established security standards and issued

    recommendations to temper data breaches and the resulting harm to consumers and the healthcare

    sector. There are a number of state and federal laws, requirements, and industry standards governing

    the protection of Private Information.

               208.   For example, at least 24 states have enacted laws addressing data security practices that

    require that businesses that own, license, or maintain Private Information, about a resident of that state

    to implement and maintain “reasonable security procedures and practices” and to protect Private



          43
            Your HIPAA Rights, NATIONSBENEFITS, https://www.nationsbenefits.com/hipaa (last visited
    Aug. 22, 2023).
         44
            Id.

                                                            43
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    Information from unauthorized access. Florida is one such state and requires that entities like

    NationsBenefits “take reasonable measures to protect and secure data in electronic form containing

    personal information.” Fla. Stat. § 501.171(2).

               209.   Additionally, cybersecurity firms have promulgated a series of best practices that at a

    minimum should be implemented by sector participants including, but not limited to: installing

    appropriate malware detection software; monitoring and limiting network ports; protecting web

    browsers and email management systems setting up network systems such as firewalls, switches, and

    routers; monitoring and protection of physical security systems; protection against any possible

    communication system; and training staff regarding critical points. 45

               210.   The Federal Trade Commission (“FTC”) has issued numerous guides for businesses

    highlighting the importance of reasonable data security practices. According to the FTC, the need for

    data security should be factored into all business decision-making.46

               211.   In 2016, the FTC updated its publication, Protecting Personal Information: A Guide for

    Business, which established guidelines for fundamental data security principles and practices for

    business.47 The guidelines note businesses should protect the personal customer information that they

    keep; properly dispose of Private Information that is no longer needed; encrypt information stored on

    computer networks; understand their network’s vulnerabilities; and implement policies to correct

    security problems. The guidelines also recommend that businesses use an intrusion detection system

    to expose a breach as soon as it occurs; monitor all incoming traffic for activity indicating someone is




          45
             See Addressing BPO Information Security: A Three-Front Approach, DATAMARK, INC. (Nov. 2016),
    https://insights.datamark.net/addressing-bpo-information-security [https://perma.cc/NY6X-FUY].
          46
              Start With Security, FED. TRADE COMM’N, at 2, https://www.ftc.gov/system/files/
    documents/plain-language/pdf0205-startwithsecurity.pdf (last visited Aug. 22, 2023).
          47
             Protecting Personal Information: A Guide for Business, FED. TRADE COMM’N, https://www.ftc.ov/
    system/files/documents/plain-language/pdf-0136_proteting-personal- information.pdf (last visited
    Aug. 22, 2023).

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    attempting to hack the system; watch for large amounts of data being transmitted from the system; and

    have a response plan ready in the event of a breach.

               212.   The FTC also recommends that companies not maintain Private Information longer

    than is needed for authorization of a transaction; limit access to sensitive data; require complex

    passwords to be used on networks; use industry-tested methods for security; monitor for suspicious

    activity on the network; and verify that third-party service providers have implemented reasonable

    security measures.48

               213.   The FTC has brought enforcement actions against businesses for failing to protect

    customer data adequately and reasonably, treating the failure to employ reasonable and appropriate

    measures to protect against unauthorized access to confidential consumer data as an unfair act or

    practice prohibited by Section 5 of the Federal Trade Commission Act (“FTC Act”), 15 U.S.C. § 45.

    Orders resulting from these actions further clarify the measures businesses must take to meet their

    data security obligations.

               214.   The FTC has interpreted Section 5 of the FTC Act to encompass failures to

    appropriately store and maintain personal data. The body of law created by the FTC recognizes that

    failure to restrict access to information49 and failure to segregate access to information50 may violate the

    FTC Act.

               215.   NationsBenefits’ failure to employ reasonable and appropriate measures to protect

    against unauthorized access to confidential consumer data (i.e., Private Information) constitutes an

    unfair act or practice prohibited by Section 5 of the FTC Act, 15 U.S.C. § 45.



          48
             See Start With Security, FED. TRADE COMM’N, supra n.48.
          49
             In the Matter of LabMD, Inc., Dkt. No. 9357, at 15 (“Procedures should be in place that restrict
    users’ access to only that information for which they have a legitimate need.”), https://www.ftc.gov/
    system/files/documents/cases/160729labmd-opinion.pdf.
          50
             F.T.C. v. Wyndham Worldwide Corp., 799 F.3d 236, 258 (3d Cir. 2015) (stating that companies
    should use “readily available security measures to limit access between” data storage systems).

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              216.   Furthermore, NationsBenefits is required to comply with the HIPAA Privacy Rule, 45

    C.F.R. Part 160 and Part 164, Subparts A and E (“Standards for Privacy of Individually Identifiable

    Health Information”), and Security Rule (“Security Standards for the Protection of Electronic

    Protected Health Information”), 45 C.F.R. Part 160 and Part 164, Subparts A and C. The Privacy Rule

    and the Security Rule set nationwide standards for protecting health information, including health

    information stored electronically.

              217.   The Security Rule requires NationsBenefits to do the following:

              a.     Ensure the confidentiality, integrity, and availability of all electronic protected health

                     information the covered entity or business associate creates, receives, maintains, or

                     transmits;

              b.     Protect against any reasonably anticipated threats or hazards to the security or integrity

                     of such information;

              c.     Protect against any reasonably anticipated uses or disclosures of such information that

                     are not permitted; and

              d.     Ensure compliance by its workforce.51

              218.   Pursuant to HIPAA’s mandate that NationsBenefits follow “applicable standards,

    implementation specifications, and requirements . . . with respect to electronic protected health

    information,” 45 C.F.R. § 164.302. NationsBenefits was required to, at minimum, to “review and

    modify the security measures implemented . . . as needed to continue provision of reasonable and

    appropriate protection of electronic protected health information,” 45 C.F.R. § 164.306(e), and

    “[i]mplement technical policies and procedures for electronic information systems that maintain




         51
              Summary of the HIPAA Security Rule, HHS, https://www.hhs.gov/hipaa/for-
    professionals/security/laws-regulations/index.html (last visited Aug. 22, 2023).

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    electronic protected health information to allow access only to those persons or software programs

    that have been granted access rights.” 45 C.F.R. § 164.312(a)(1).

              219.   NationsBenefits is also required to follow the regulations for safeguarding electronic

    medical information pursuant to the Health Information Technology Act (“HITECH”). See 42 U.S.C.

    § 17921, 45 C.F.R. § 160.103.

              220.   Both HIPAA and HITECH obligate NationsBenefits to follow reasonable security

    standards, respond to, contain, and mitigate security violations, and to protect against disclosure of

    sensitive patient Private Information. See 45 C.F.R. § 164.306(a)(1) and § 164.306(a)(3); 45 C.F.R. §

    164.530(f); 42 U.S.C. §17902.

              221.   As alleged in this Complaint, NationsBenefits has failed to comply with HIPAA and

    HIGHTECH. It has failed to maintain adequate security practices, systems, and protocols to prevent

    data loss, failed to mitigate the risks of a data breach and loss of data, and failed to ensure the

    confidentiality and protection of protected health information.

              222.   Additionally, cybersecurity experts have promulgated a series of best practices that at

    a minimum should be implemented by sector participants including, but not limited to: installing

    appropriate malware detection software; monitoring and limiting network ports; protecting web

    browsers and email management systems setting up network systems such as firewalls, switches, and

    routers; monitoring and protection of physical security systems; protection against any possible

    communication system; and training staff regarding critical points.52 NationsBenefits did not follow

    such minimum best practices.




         52
            See Addressing BPO Information Security: A Three-Front Approach, DATAMARK, INC. (Nov. 2016),
          https://insights.datamark.net/addressing-bpo-information-security/
    [https://perma.cc/NY6X-TFUY].

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    H.         The Data Breach Harmed Plaintiffs and Class Members.

               223.   NationsBenefits’ failure to keep Plaintiffs’ and Class Members’ Private Information

    secure has had severe ramifications, examples of which are alleged above for the Plaintiffs. Given the

    sensitive nature of the information stolen in the Data Breach—names, Social Security numbers,

    birthdates, addresses, health information—hackers have the ability to commit identity theft, financial

    fraud, and other identity-related fraud against Plaintiffs and Class Members now and into the indefinite

    future.

               224.   This data is highly coveted and valuable on underground or black markets. Upon

    information and belief, Plaintiffs’ and Class Members’ data has already been leaked and sold on the

    black market.

               225.   Cyber criminals sell health information at a far higher premium than stand-alone PII.

    This is because health information enables thieves to go beyond traditional identity theft and obtain

    medical treatments, purchase prescription drugs, submit false bills to insurance companies, or even

    undergo surgery under a false identity.53 The shelf life for this information is also much longer—while

    individuals can update their credit card numbers, they are less likely to change their Medicare numbers,

    health insurance information, or Social Security numbers.

               226.   Medicare beneficiary numbers like Plaintiffs’ are “even more valuable than stolen

    credit cards,” and often result in the filing of false claims for Medicare reimbursement. 54




          53
              Medical Identity Theft: FAQs for Health Care Providers and Health Plans, FTC,
    https://www.ftc.gov/system/files/documents/plain-language/bus75-medical-identity-theft-faq-
    health-care-health-plan.pdf (last visited Aug. 22, 2023).
          54
             Melissa D. Berry, Medicare under attack: Healthcare data breaches increase fraud risks, THOMSON
    REUTERS (Mar. 3, 2023), https://www.thomsonreuters.com/en-us/posts/investigation-fraud-and-
    risk/medicare-fraud-risks.

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               227.   According to the U.S. Government Accountability Office, “stolen data may be held

    for up to a year or more before being used to commit identity theft,” and “once stolen data have been

    sold or posted on the Web, fraudulent use of that information may continue for years.” 55

               228.   Because of its value and the loss of sensitive health information and Social Security

    numbers, future identity theft is imminently and certainly impending.

               229.   The exposure of any Private Information can cause unexpected harms one would not

    ordinarily associate with the type of information stolen. Cybercriminals routinely aggregate Private

    Information from multiple illicit sources and use stolen information to gather even more information

    through social engineering, credential stuffing, and other methods. The resulting complete dossiers of

    Private Information are particularly prized among cybercriminals because they expose the target to

    every manner of identity theft and fraud.

               230.   Identity thieves can use Private Information such as that exposed in the Data Breach

    to: (a) apply for credit cards or loans (b) purchase prescription drugs or other medical services (c)

    commit immigration fraud; (d) obtain a fraudulent driver’s license or ID card in the victim’s name; (e)

    obtain fraudulent government benefits or insurance benefits; (f) file a fraudulent tax return using the

    victim’s information; (g) commit espionage; or (h) commit any number of other frauds, such as

    obtaining a job, procuring housing, or giving false information to police during an arrest.




          55
            Data Breaches Are Frequent, but Evidence of Resulting Identity Theft Is Limited; However, the Full Extent
    Is Unknown, GAO-07-737, U.S. GOV’T ACCOUNTABILITY OFF., 42 (June 2007), https://www.govinfo.
    gov/content/pkg/GAOREPORTS-GAO-07737/html/GAOREPORTSGAO-07-737.htm                                          (last
    visited Aug. 22, 2023).

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               231.    Annual monetary losses for victims of identity theft are in the billions of dollars. In

    2017, fraudsters stole $16.8 billion from consumers in the United States, which includes $5.1 billion

    stolen through bank account take-overs.56

               232.    The annual cost of identity theft is even higher. McAfee and the Center for Strategic

    and International Studies estimates that the likely annual cost to the global economy from cybercrime

    is $445 billion a year.57

               233.    For Plaintiffs and Class Members who had their Social Security numbers exposed, the

    unauthorized disclosure can be particularly damaging because, unlike a credit card, Social Security

    numbers cannot easily be replaced. In order to obtain a new number, a person must prove, among

    other things, he or she continues to be disadvantaged by the misuse. Thus, under current rules, no

    new number can be obtained until the damage has been done. Furthermore, as the Social Security

    Administration warns:

               Keep in mind that a new number probably won’t solve all your problems. This is
               because other governmental agencies (such as the Internal Revenue Service and state
               motor vehicle agencies) and private businesses (such as banks and credit reporting
               companies) likely will have records under your old number. Along with other Private
               Information, credit reporting companies use the number to identify your credit record.
               So using a new number won’t guarantee you a fresh start. This is especially true if your
               other Private Information, such as your name and address, remains the same.

               If you receive a new Social Security number, you shouldn’t use the old number
               anymore.

    For some victims of identity theft, a new number actually creates new problems. If the old credit card

    information is not associated with the new number, the absence of any credit history under the new




          56
               2018 Identity fraud: Fraud Enters a New Era of Complexity, JAVELIN,
    https://www.javelinstrategy.com/coverage-area/2018-identity-fraud-fraud-enters-new-era- complexity
    (last visited Aug. 22, 2023).
           57
               Facts + Statistics: Identity theft and cybercrime, INSURANCE INFORMATION INSTITUTE,
    https://www.iii.org/fact-statistic/facts-statistics-identity-theft-and-cybercrime (last visited Aug. 22,
    2023).

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    number may make it more difficult for you to get credit.58

               234.   Reimbursing a consumer for a financial loss due to fraud does not make that individual

    whole again. On the contrary, in addition to the irreparable damage that may result from the theft of a

    Social Security number, identity theft victims must spend numerous hours and their own money

    repairing the impact to their credit. After conducting a study, the Department of Justice’s Bureau of

    Justice Statistics found that identity theft victims “reported spending an average of about 7 hours

    clearing up the issues” and resolving the consequences of fraud in 2014.

               235.   And, the impact of identity theft can have ripple effects, which can adversely affect the

    future financial trajectories of victims’ lives. For example, the Identity Theft Resource Center reports

    that respondents to their surveys in 2013-2016 described that the identity theft they experienced

    affected their ability to get credit cards and obtain loans such as student loans or mortgages. 59 For

    some victims, this could mean the difference between going to college or not, becoming a homeowner

    or not, or having to take out a high interest payday loan versus a lower-interest loan.

               236.   It is no wonder then that identity theft exacts a severe emotional toll on its victims.

               237.   The 2017 Identity Theft Resource Center survey60 evidences the emotional suffering

    experienced by victims of identity theft:

                     75% of respondents reported feeling severely distressed.

                     67% reported anxiety.

                     66% reported feelings of fear related to personal financial safety.

                     37% reported fearing for the financial safety of family members.


          58
               Identity Theft and Your Social Security number, SOCIAL SECURITY ADMINISTRATION,
    http://www.ssa.gov/pubs/10064.html (last visited Aug. 22, 2023).
          59
                 Identity Theft: The Aftermath 2017, IDENTITY THEFT RESOURCE CENTER,
    https://www.idtheftcenter.org/wp-content/uploads/images/page-docs/Aftermath_2017.pdf (last
    visited Aug. 22, 2023).
          60
             Id.

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                    24% reported fear for their physical safety.

                    15.2% reported a relationship ended or was severely and negatively impacted

                     by identity theft.

                    7% reported feeling suicidal.

              238.   Identity theft can also exact a physical toll on its victims. The same survey reported

    that respondents experienced physical symptoms stemming from their experience with identity theft:

                    48.3% of respondents reported sleep disturbances.

                    37.1% reported an inability to concentrate / lack of focus.

                    28.7% reported they were unable to go to work because of physical symptoms.

                    23.1% reported new physical illnesses (aches and pains, heart palpitations, sweating,

                     stomach issues).

                    12.6% reported a start or relapse into unhealthy or addictive behaviors.61

              239.   There may also be a significant time lag between when Private Information is stolen

    and when it is actually misused. According to the U.S. Government Accountability Office (“GAO”),

    which conducted a study regarding data breaches:

              [L]aw enforcement officials told us that in some cases, stolen data may be held for up
              to a year or more before being used to commit identity theft. Further, once stolen data
              have been sold or posted on the Web, fraudulent use of that information may continue
              for years. As a result, studies that attempt to measure the harm resulting from data
              breaches cannot necessarily rule out all future harm.62

              240.   As the result of the Data Breach, Plaintiffs and Class Members have suffered and/or

    will suffer or continue to suffer economic loss, a substantial risk of future identity theft, and other

    actual harm for which they are entitled to damages, including, but not limited to, the following:




         61
              Id.
         62
              See, Report to Congressional Requesters, U.S. GOV’T ACCOUNTABILITY OFFICE, supra n.1.

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               losing the inherent value of their Private Information;

               losing the value of NationsBenefits’ implicit promises of adequate data security;

               identity theft and fraud resulting from the theft of their Private Information;

               costs associated with the detection and prevention of identity theft and

                unauthorized use of their medical and health insurance information;

               costs associated with purchasing credit monitoring and identity theft protection

                services;

               unauthorized charges and loss of use of and access to their financial account funds and

                costs associated with inability to obtain money from their accounts or being limited in

                the amount of money they were permitted to obtain from their accounts, including

                missed payments on bills and loans, late charges and fees, and adverse effects on their

                credit;

               lowered credit scores resulting from credit inquiries following fraudulent activities;

               costs associated with time spent and the loss of productivity or the enjoyment of one’s

                life from taking time to address and attempt to mitigate and address the actual and

                future consequences of the Data Breach, including discovering fraudulent charges,

                cancelling and reissuing cards, purchasing credit monitoring and identity theft

                protection services, imposing withdrawal and purchase limits on compromised

                accounts, and the stress, nuisance and annoyance of dealing with the repercussions of

                the Data Breach; and

               the continued imminent and certainly impending injury flowing from potential fraud

                and identify theft posed by their Private Information being in the possession of one

                or many unauthorized third parties.




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               241.   Additionally, Plaintiffs and Class Members place significant value in data security.

               242.   Because of the value consumers place on data privacy and security, companies with

    robust data security practices can command higher prices than those who do not. Indeed, if consumers

    did not value their data security and privacy, companies like NationsBenefits would have no reason to

    tout their data security efforts to their actual and potential customers.

               243.   Consequently, had customers including Plaintiffs and Class Members known the truth

    about NationsBenefits’ data security practices—that the company would not adequately protect and

    store their data—they would not have entrusted their Private Information to their respective health

    plans or other entities to then transfer to Nations Benefits, purchased health benefits that included

    NationsBenefits’ services, or paid as much for such services or benefits. As such, Plaintiffs and Class

    Members did not receive the benefit of their bargain with NationsBenefits because they paid for a

    value of services they expected but did not receive.

               244.   When NationsBenefits announced the Data Breach to its customers, it deliberately

    underplayed the Data Breach’s severity, obfuscated the nature of the Data Breach, and offered only

    de minimis relief. NationsBenefits merely advised its customers to “remain vigilant for incidents of

    fraud and identity theft” and suggested they: order a free credit report; contact the FTC and/or state

    attorney general’s office for more information on how to prevent or avoid identity theft; place a

    security freeze or fraud alert; and offered 24 months of credit monitoring. Not only are each of these

    suggestions steps that Plaintiffs and Class Members must take on their own free time, but they do not

    come close to compensating Plaintiffs and the Class for the lifetime risks they face. 63

               245.   Plaintiffs themselves suffered incidences of harm, including identity theft, which are

    alleged in detail in Section Error! Reference source not found., supra.




          63
               See Ex. A [or https://dojmt.gov/wp-content/uploads/Consumer-notification-letter-187.pdf].

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                               IV.    CLASS ACTION ALLEGATIONS

            246.    Pursuant to Fed. R. Civ. P. 23(b)(2) and (b)(3), as appropriate, and (c)(4), Plaintiffs

    seek certification of the following nationwide class (the “Class” or the “Nationwide Class”):

                                              Nationwide Class

                    All persons in the United States whose Private Information was
                    compromised in the data breach announced by NationsBenefits
                    on April 13, 2023.

            247.    The Nationwide Class asserts claims against NationsBenefits for negligence (Count I);

    negligence per se (Count II); breach of third-party beneficiary contract (Count III); breach of implied

    contract (Count IV); unjust enrichment (Count V); and for declaratory and injunctive relief under the

    Declaratory Judgment Act, 28 U.S.C. §§ 2201 et seq. (Count VI).

            248.    Pursuant to Fed. R. Civ. P. 23(b)(2) and (b)(3), as appropriate, and (c)(4), Plaintiffs

    seek certification of state common law claims in the alternative to the nationwide claims, as well as

    statutory claims under state data breach statutes and consumer protection statutes (Counts VII

    through XXVII) on behalf of subclasses for residents of Arkansas, California, Florida, Illinois, Indiana,

    Kansas, Michigan, Missouri, New Jersey, New York, North Carolina, Ohio, Pennsylvania, and Texas

    (collectively “State Subclasses” or individually “State Subclass”). Each State Subclass is defined as

    follows:

                                         Arkansas Subclass
                    All residents of Arkansas whose Private Information was
                    compromised in the data breach announced by NationsBenefits
                    on April 13, 2023.

                                         California Subclass
                    All residents of California whose Private Information was
                    compromised in the data breach announced by NationsBenefits
                    on April 13, 2023.
                                          Florida Subclass
                    All residents of Florida whose Private Information was
                    compromised in the data breach announced by NationsBenefits
                    on April 13, 2023.



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                                      Illinois Subclass
                All residents of Illinois whose Private Information was
                compromised in the data breach announced by NationsBenefits
                on April 13, 2023.

                                      Indiana Subclass
                All residents of Indiana whose Private Information was
                compromised in the data breach announced by NationsBenefits
                on April 13, 2023.

                                      Kansas Subclass
                All residents of Kansas whose Private Information was
                compromised in the data breach announced by NationsBenefits
                on April 13, 2023.

                                     Michigan Subclass
                All residents of Michigan whose Private Information was
                compromised in the data breach announced by NationsBenefits
                on April 13, 2023.

                                     Missouri Subclass
                All residents of Missouri whose Private Information was
                compromised in the data breach announced by NationsBenefits
                on April 13, 2023.
                                    New Jersey Subclass
                All residents of New Jersey whose Private Information was
                compromised in the data breach announced by NationsBenefits
                on April 13, 2023.

                                    New York Subclass
                All residents in New York whose Private Information was
                compromised in the data breach announced by NationsBenefits
                on April 13, 2023.

                                   North Carolina Subclass
                All residents in North Carolina whose Private Information was
                compromised in the data breach announced by NationsBenefits
                on April 13, 2023.

                                       Ohio Subclass
                All residents in Ohio whose Private Information was
                compromised in the data breach announced by NationsBenefits
                on April 13, 2023.

                                    Pennsylvania Subclass
                All residents in Pennsylvania whose Private Information was
                compromised in the data breach announced by NationsBenefits
                on April 13, 2023.

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                                             Texas Subclass
                       All residents in Texas whose Private Information was
                       compromised the data breach announced by NationsBenefits on
                       April 13, 2023.

            249.       Excluded from the Nationwide Class and the State Subclasses (collectively, the

    “Classes”) are NationsBenefits, any entity in which NationsBenefits has a controlling interest, and

    NationsBenefits’ officers, directors, legal representatives, successors, subsidiaries, and assigns; all

    federal, state, or local governments, including but not limited to their departments, agencies, divisions,

    bureaus, boards, sections, groups, counsels and/or subdivisions; any judicial officer presiding over any

    aspect of this matter, members of their immediate family, and members of their judicial staff; any

    individuals who make a timely election to be excluded from this proceeding using the correct protocol

    for opting out; persons whose claims in this matter have been finally adjudicated on the merits or

    otherwise released; Plaintiffs’ counsel and NationsBenefits’ counsel; members of the jury; and the legal

    representatives.

            250.       Plaintiffs hereby reserve the right to amend or modify the Class definitions with

    greater specificity or division after having had an opportunity to conduct discovery.

            251.       Numerosity. Fed. R. Civ. P. 23(a)(1). Consistent with Rule 23(a)(1), the members of

    the Classes are so numerous and geographically dispersed that the joinder of all members is impractical.

    While the exact number of Class Members is unknown to Plaintiffs at this time, NationsBenefits has

    acknowledged that the Private Information of approximately 3,037,303 individuals throughout the

    United States was compromised in the Data Breach. Those persons’ names and addresses are available

    from NationsBenefits’ records, and Class Members may be notified of the pendency of this action by

    recognized, Court-approved notice dissemination methods, which may include electronic mail, U.S.

    Mail, Internet notice, and/or published notice. Upon information and belief, there are at least




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    thousands of members in each State Subclass, making joinder of all State Subclass Members

    impractical.

            252.      Predominance of Common Issues. Fed. R. Civ. P. 23(a)(2) and (b)(3).

    Consistent with Rule 23(a)(2)’s commonality requirement and Rule 23(b)(3)’s predominance

    requirement, this action involves common questions of law and fact that predominate over any

    questions affecting individual Class Members. The common questions include:

            a. Whether NationsBenefits unlawfully used, maintained, lost, or disclosed Plaintiffs’ and

                   Class Members’ Private Information;

            b. Whether NationsBenefits’ conduct violated the FTC Act and/or HIPAA;

            c. Whether NationsBenefits’ data security systems prior to and during the Data Breach

                   complied with applicable data security laws and regulations including HIPAA and

                   HITECH;

            d. Whether NationsBenefits’ data security systems were consistent with industry standards;

            e. Whether NationsBenefits knew or should have known that its GoAnywhere MFT servers

                   and configurations were vulnerable to attack;

            f. Whether NationsBenefits failed to take adequate and reasonable measures to ensure that

                   its computer, applications, and data systems were protected and updated;

            g. Whether NationsBenefits failed to take available steps to prevent and stop the Data Breach

                   from happening;

            h. Whether NationsBenefits should have discovered the data breach earlier;

            i.     Whether NationsBenefits took reasonable measures to determine the extent of the Data

                   Breach after it was discovered;

            j.     Whether NationsBenefits owed tort duties to Plaintiffs and Class Members to protect their

                   Private Information;



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          k. Whether NationsBenefits owed a duty to provide timely and accurate notice of the Data

               Breach to Plaintiffs and Class Members;

          l.   Whether NationsBenefits’ delay in informing Plaintiffs and Class Members of the Data

               Breach was unreasonable;

          m. Whether NationsBenefits’ method of informing Plaintiffs and Class Members of the Data

               Breach was unreasonable;

          n. Whether NationsBenefits breached their duties to protect the Private Information of

               Plaintiffs and Class Members by failing to provide adequate data security;

          o. Whether NationsBenefits’ failure to secure Plaintiffs’ and Class Members’ Private

               Information in the manner alleged violated federal, state and local laws, and/or industry

               standards;

          p. Whether NationsBenefits’ conduct, including its failure to act, resulted in or was the

               proximate cause of the Data Breach, resulting in the unauthorized access to and/or theft

               of Plaintiffs’ and Class Members’ Private Information;

          q. Whether NationsBenefits has an implied contractual obligation to use reasonable security

               measures and whether it complied with such contractual obligation;

          r. Whether NationsBenefits’ conduct amounted to violations of state consumer protection

               statutes, including the Arkansas Deceptive Trade Practices Act; California Consumer

               Privacy Act; California Customer Records Act; California Unfair Competition Act; Florida

               Deceptive and Unfair Trade Practices Act; Illinois Personal Information Protection Act;

               Illinois Consumer Fraud and Deceptive Business Practices Act; Illinois Uniform

               Deceptive Trade Practices Act; Indiana Deceptive Consumer Sales Act; Kansas Protection

               of Consumer Information Act; Kansas Consumer Protection Act; Michigan Consumer

               Protection Act; Missouri Merchandise Practices Act; New Jersey Consumer Fraud Act;



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                New York General Business Law § 349; North Carolina Identity Theft Protection Act;

                North Carolina Unfair Trade Practices Act; Ohio Consumer Sales Practices Act; Ohio

                Deceptive Trade Practices Act; Pennsylvania Unfair Trade Practices and Consumer

                Protection Law; and Texas Deceptive Trade Practices—Consumer Protection Act.

            s. Whether, as a result of NationsBenefits’ conduct, Plaintiffs and Class Members face a

                significant ongoing threat of identity theft, harm and/or have already suffered harm, and,

                if so, the appropriate measure of damages to which they are entitled;

            t. Whether NationsBenefits should retain the money paid by Plaintiffs and Class Members

                to protect their Private Information;

            u. Whether NationsBenefits should retain Plaintiffs’ and Class Members’ valuable Private

                Information; and

            v. Whether, as a result of NationsBenefits’ conduct, Plaintiffs and Class Members are entitled

                to injunctive, equitable, declaratory and/or other relief, and, if so, the nature of such relief.

            253.    Typicality. Fed. R. Civ. P. 23(a)(3). As to each of the Classes, Plaintiffs’ claims are

    typical of other Class Members’ claims because Plaintiffs and Class Members were subjected to the

    same allegedly unlawful conduct and damaged in the same way. Plaintiffs’ Private Information was in

    NationsBenefits’ possession at the time of the Data Breach and was compromised as a result of the

    Data Breach. Plaintiffs’ damages and injuries are akin to those of other Class Members and Plaintiffs

    seek relief consistent with the relief of the Classes.

            254.    Adequacy. Fed. R. Civ. P. 23(a)(4). Consistent with Rule 23(a)(4), Plaintiffs are

    adequate representatives of the Classes because Plaintiffs are each members of the Nationwide Class,

    and respectively members of the State Subclasses, and are committed to pursuing this matter against

    NationsBenefits to obtain relief for the Classes. Plaintiffs have no conflicts of interest with the Classes.

    Plaintiffs’ Counsel are competent and experienced in litigating class actions, including extensive



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    experience in data breach and privacy litigation. Plaintiffs intend to vigorously prosecute this case and

    will fairly and adequately protect the interests of all the Classes.

            255.     Superiority. Fed. R. Civ. P. 23(b)(3). Consistent with Rule 23(b)(3), a class action is

    superior to any other available means for the fair and efficient adjudication of this controversy, and

    no unusual difficulties are likely to be encountered in the management of this class action. The purpose

    of the class action mechanism is to permit litigation against wrongdoers even when damages to

    Plaintiffs and Class Members may not be sufficient to justify individual litigation. Here, the damages

    suffered by Plaintiffs and Class Members are relatively small compared to the burden and expense

    required to individually litigate their claims against NationsBenefits, and thus, individual litigation to

    redress NationsBenefits’ wrongful conduct would be impracticable. Individual litigation by each class

    member would also strain the court system. Individual litigation creates the potential for inconsistent

    or contradictory judgments and increases the delay and expense to all parties and the court system. By

    contrast, the class action device presents far fewer management difficulties and provides the benefits

    of a single adjudication, economies of scale, and comprehensive supervision by a single court.

            256.     Manageability. Fed. R. Civ. P. 23(b)(3). The litigation of the class claims alleged

    herein is manageable. NationsBenefits’ uniform conduct, the consistent provisions of the relevant

    laws, and the ascertainable identities of Class Members demonstrates there would be no significant

    manageability problems with prosecuting this lawsuit as a class action.

            257.     Ascertainability. All members of the proposed Classes are readily ascertainable. The

    Classes are defined by reference to objective criteria, and there is an administratively feasible

    mechanism to determine who fits within the Classes. NationsBenefits has access to information

    regarding which individuals were affected by the Data Breach and has already provided notifications

    to some of those people. Using this information, the members of the Classes can be identified, and

    their contact information ascertained for purposes of providing notice to the Classes.



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            258.     Particular Issues. Fed. R. Civ. P. 23(c)(4). Particular issues under Rule 23(c)(4) are

    appropriate for certification because such claims present only particular, common issues, the resolution

    of which would advance the disposition of this matter and the parties’ interests therein. Such particular

    issues include, but are not limited to:

            a. Whether NationsBenefits owed a legal duty to Plaintiffs and Class Members to exercise

                 due care in collecting, storing, using, and safeguarding their Private Information;

            b. Whether NationsBenefits breached a legal duty to Plaintiffs and Class Members to exercise

                 due care in collecting, storing, using, and safeguarding their Private Information;

            c. Whether NationsBenefits failed to comply with its own policies and applicable laws,

                 regulations, and industry standards relating to data security;

            d. Whether an implied contract existed between NationsBenefits on the one hand, and

                 Plaintiffs and Class Members on the other, and the terms of that implied contract;

            e. Whether NationsBenefits breached the implied contract;

            f. Whether NationsBenefits breached a third-party beneficiary contract;

            g. Whether NationsBenefits adequately and accurately informed Plaintiffs and Class

                 Members that their Private Information had been compromised;

            h. Whether NationsBenefits failed to implement and maintain reasonable security procedures

                 and practices appropriate to the nature and scope of the information compromised in the

                 Data Breach;

            i.   Whether NationsBenefits engaged in unfair, unlawful, or deceptive practices by failing to

                 safeguard the Private Information of Plaintiffs and Class Members; and,

            j.   Whether Class Members are entitled to actual, consequential, statutory, and/or nominal

                 damages, and/or injunctive relief as a result of NationsBenefits’ wrongful conduct.




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            259.    Injunctive and Declaratory Relief. Fed. R. Civ. P. 23(b)(2) and (c). Finally, class

    certification is also appropriate under Rule 23(b)(2) and (c). NationsBenefits, through its uniform

    conduct, acted or refused to act on grounds generally applicable to the Classes as a whole, making

    injunctive and declaratory relief appropriate to the Classes as a whole, including:

                    a.      Order NationsBenefits to provide lifetime credit monitoring and identity theft

            insurance to Plaintiffs and Class Members.

                    b.      Order that, to comply with NationsBenefits’ explicit or implicit contractual

            obligations and duties of care, NationsBenefits must implement and maintain reasonable

            security and monitoring measures, including, but not limited to:

                            i.      prohibiting NationsBenefits from engaging in the wrongful and

                    unlawful acts alleged herein;

                            ii.     requiring NationsBenefits to protect, including through encryption, all

                    data collected through the course of business in accordance with all applicable

                    regulations, industry standards, and federal, state or local laws;

                            iii.    requiring NationsBenefits to delete and purge the Private Information

                    of Plaintiffs and Class Members unless NationsBenefits can provide to the Court

                    reasonable justification for the retention and use of such information when weighed

                    against the privacy interests of Plaintiffs and Class Members;

                            iv.     requiring    NationsBenefits     to    implement      and   maintain   a

                    comprehensive Information Security Program designed to protect the confidentiality

                    and integrity of Plaintiffs’ and Class Members’ Private Information;

                            v.      requiring NationsBenefits to engage independent third-party security

                    auditors and internal personnel to run automated security monitoring, simulated

                    attacks, penetration tests, and audits on NationsBenefits’ systems on a periodic basis;


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                           vi.     prohibiting NationsBenefits from maintaining Plaintiffs’ and Class

                Members’ Private Information on a cloud-based database until proper safeguards and

                processes are implemented;

                           vii.    requiring NationsBenefits to segment data by creating firewalls and

                access controls so that, if one area of NationsBenefits’ network is compromised,

                hackers cannot gain access to other portions of NationsBenefits’ systems;

                           viii.   requiring NationsBenefits to conduct regular database scanning and

                securing checks;

                           ix.     requiring NationsBenefits to monitor ingress and egress of all network

                traffic;

                           x.      requiring NationsBenefits to establish an information security training

                program that includes at least annual information security training for all employees,

                with additional training to be provided as appropriate based upon the employees’

                respective responsibilities with handling Private Information, as well as protecting the

                Private Information of Plaintiffs and Class Members;

                           xi.     requiring NationsBenefits to implement a system of tests to assess its

                respective employees’ knowledge of the education programs discussed in the

                preceding subparagraphs, as well as randomly and periodically testing employees’

                compliance with NationsBenefits’ policies, programs, and systems for protecting

                personal identifying information;

                           xii.    requiring NationsBenefits to implement, maintain, review, and revise

                as necessary a threat management program to appropriately monitor NationsBenefits’

                networks for internal and external threats, and assess whether monitoring tools are

                properly configured, tested, and updated;


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                            xiii.   requiring NationsBenefits to meaningfully educate all Class Members

                    about the threats that it faces because of the loss of its confidential personal identifying

                    information to third parties, as well as the steps affected individuals must take to

                    protect themselves; and

                            xiv.    Incidental retrospective relief, including but not limited to restitution.

                                         V.     CAUSES OF ACTION

                      ON BEHALF OF THE NATIONWIDE CLASS,
              OR ALTERNATIVELY, ON BEHALF OF THE STATE SUBCLASSES

                                                 COUNT I
                                               NEGLIGENCE

            260.    Plaintiffs reallege and incorporate by reference the allegations contained in paragraphs

    1 through 259 above, as if fully set forth herein.

            261.    NationsBenefits collected sensitive Private Information from Plaintiffs and Class

    Members as a requirement for using NationsBenefits’ products and services.

            262.    NationsBenefits owed a duty to Plaintiffs and Class Members to exercise reasonable

    care in obtaining, retaining, securing, safeguarding, deleting, and protecting their Private Information

    in its possession from being compromised, lost, stolen, accessed, or misused by unauthorized persons.

            263.    More specifically, this duty included, among other things: (a) regularly designing,

    maintaining, and testing NationsBenefits’ security systems to ensure that Plaintiffs’ and Class

    Members’ Private Information in NationsBenefits’ possession was adequately secured and protected;

    (b) implementing processes that would detect a breach of its security system in a timely manner; (c)

    timely acting upon warnings and alerts, including those generated by its own security systems,

    regarding intrusions to its networks; and (d) maintaining data security measures consistent with

    industry standards, including regularly updating, patching, and evaluating security measures.




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            264.    NationsBenefits’ duty to use reasonable care arose from several sources, including but

    not limited to those alleged herein.

            265.    NationsBenefits had common law duties to prevent foreseeable harm to Plaintiffs and

    Class Members. These duties existed because Plaintiffs and Class Members were the foreseeable and

    probable victims of any inadequate security practices.

            266.    NationsBenefits’ duty to use reasonable security measures also arose as a result of the

    special relationship that existed between NationsBenefits, on the one hand, and Plaintiffs and Class

    Members, on the other hand. The special relationship arose because Plaintiffs and Class Members

    provided their valuable PII and sensitive PHI to their respective health plans or other entities who in

    turn provided that information to NationsBenefits. Only NationsBenefits could have ensured that its

    security systems and data storage architecture were sufficient to prevent or minimize the Data Breach

    because it had exclusive knowledge and control regarding same.

            267.    NationsBenefits admits that it has a responsibility to protect consumer data, that it is

    entrusted with this data, and that it did not live up to its responsibility to protect the Private

    Information at issue here. Discovery is necessary to fully understand the reasons for this failure, but

    it appears that in its quest for rapid growth over the last three years, NationsBenefits has failed to put

    adequate resources and emphasis on the need for data security.

            268.    NationsBenefits knew or should have known that its computing systems and data

    storage architecture were vulnerable to unauthorized access and targeting by hackers for the purpose

    of stealing and misusing confidential Private Information.

            269.    NationsBenefits also had a duty to safeguard the Private Information of Plaintiffs and

    Class Members and to promptly notify them of a breach because of state laws and statutes that require

    NationsBenefits to reasonably safeguard sensitive Private Information, as detailed herein.




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            270.    Timely, adequate notification was required, appropriate, and necessary so that, among

    other things, Plaintiffs and Class Members could take appropriate measures to freeze or lock their

    credit profiles; avoid unauthorized charges to their credit or debit card accounts; cancel or change

    usernames and passwords on compromised accounts; monitor their account information and credit

    reports for fraudulent activity; contact their banks or other financial institutions that issue their credit

    or debit cards; obtain credit monitoring services; contact their health insurers or governmental health

    insurance providers; and take other steps to mitigate or ameliorate the damages caused by

    NationsBenefits’ misconduct. NationsBenefits was the only entity that had sufficient knowledge to

    properly provide this notice.

            271.    NationsBenefits breached the duties it owed to Plaintiffs and Class Members alleged

    above and, thus, was negligent in failing to do so. NationsBenefits breached these duties by, among

    other things, failing to: (a) exercise reasonable care and implement adequate security systems,

    protocols and practices sufficient to protect the Private Information of Plaintiffs and Class Members;

    (b) detect the Data Breach while it was ongoing; (c) maintain security systems consistent with industry

    standards during the period of the Data Breach; (d) comply with regulations protecting the Private

    Information at issue during the period of the Data Breach; and (e) disclose in a timely and adequate

    manner that Plaintiffs’ and Class Members’ Private Information in NationsBenefits’ possession had

    been or was reasonably believed to have been, stolen or compromised.

            272.    But for NationsBenefits’ wrongful and negligent breach of its duties owed to Plaintiffs

    and Class Members, their Private Information would not have been compromised.

            273.    NationsBenefits’ failure to take proper security measures to protect the sensitive

    Private Information of Plaintiffs and Class Members created conditions conducive to a foreseeable,

    intentional act, namely the unauthorized access of Plaintiffs’ and Class Members’ Private Information.




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            274.     Plaintiffs and Class Members were foreseeable victims of NationsBenefits’ inadequate

    data security practices, and it was also foreseeable that NationsBenefits’ failure to provide timely and

    adequate notice of the Data Breach would result in injury to Plaintiffs and Class Members as alleged

    in this Complaint.

            275.     As a direct and proximate result of NationsBenefits’ negligence, Plaintiffs and Class

    Members have been injured and are entitled to compensatory and consequential damages suffered

    because of the Data Breach in an amount to be proven at trial.

            276.     Such injuries include one or more of the following: (a) actual identity theft crimes,

    fraud, and other misuse, resulting in monetary loss and economic harm; (b) the loss of the value of

    their privacy and the confidentiality of the stolen Private Information; (c) the illegal sale of the

    compromised Private Information on the black market; (d) the present and continuing threat of

    identity theft crimes, fraud, and other misuse, resulting in monetary loss and economic harm; (e)

    mitigation expenses and time spent on credit monitoring, identity theft insurance, and credit freezes

    and unfreezes; (f) the time spent in response to the Data Breach reviewing bank statements, credit

    card statements, and credit reports, among other related activities; (g) the expenses incurred and time

    spent initiating fraud alerts; (h) the resulting decrease in credit scores and ratings; (i) their lost work

    time; (j) the lost value of the Private Information; (k) the lost value of access to their Private

    Information permitted by NationsBenefits; (l) the amount of the actuarial present value of ongoing

    high-quality identity defense and credit monitoring services made necessary as mitigation measures

    because of NationsBenefits’ Data Breach; (m) lost benefit of their bargains and overcharges for

    services or products; and (n) the nominal and general damages and other economic and non-economic

    harm suffered.




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                                               COUNT II
                                           NEGLIGENCE PER SE

            277.    Plaintiffs reallege and incorporate by reference the allegations contained in paragraphs

    1 through 259 above, as if fully set forth herein.

            278.    As alleged above, NationsBenefits had duties arising under HIPAA, the HIPAA

    Privacy Rule and Security Rule, HITECH, and the FTC Act.

            279.    NationsBenefits’ violation of HIPAA and Section 5 of the FTC Act (and similar state

    statutes) constitutes negligence per se.

            280.    Plaintiffs and Class Members are consumers within the class of persons that HIPAA

    and Section 5 of the FTC Act were intended to protect.

            281.    The harm that has occurred is the type of harm HIPAA and the FTC Act were

    intended to guard against.

            282.    The FTC has pursued enforcement actions against businesses and healthcare entities

    that, as a result of their failure to employ reasonable data security measures and avoid unfair and

    deceptive practices, caused the same harm as that suffered by Plaintiffs and the Class.

            283.    NationsBenefits breached its duties to Plaintiffs and Class Members by failing to

    provide fair, reasonable, or adequate computer systems and data security practices to safeguard

    Plaintiffs’ and Class Members’ Private Information.

            284.    In addition, under state data security and consumer protection statutes such as those

    outlined herein, NationsBenefits had a duty to implement and maintain reasonable security procedures

    and practices to safeguard Plaintiffs’ and Class Members’ Private Information.

            285.    Plaintiffs and Class Members were foreseeable victims of NationsBenefits’ violations

    of HIPAA, the FTC Act, and state data security and consumer protection statutes. NationsBenefits

    knew or should have known that its failure to implement reasonable data security measures to protect




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    and safeguard Plaintiffs’ and Class Members’ Private Information would cause damage to Plaintiffs

    and the Class.

            286.     But for NationsBenefits’ violations of these applicable laws and regulations, Plaintiffs’

    and Class Members’ Private Information would not have been accessed and exfiltrated by

    unauthorized cybercriminals.

            287.     As a direct and proximate result of NationsBenefits’ negligence per se, Plaintiffs and

    Members have been injured and are entitled to compensatory and consequential damages suffered

    because of the Data Breach in an amount to be proven at trial. Such injuries include one or more of

    the following: (a) actual identity theft crimes, fraud, and other misuse, resulting in monetary loss and

    economic harm; (b) the loss of the value of their privacy and the confidentiality of the stolen Private

    Information; (c) the illegal sale of the compromised Private Information on the black market; (d) the

    ongoing, imminent, certainly impending threat of identity theft crimes, fraud, and other misuse,

    resulting in monetary loss and economic harm; (e) the mitigation expenses and time spent on credit

    monitoring, identity theft insurance, and credit freezes and unfreezes; (f) the time spent in response

    to the Data Breach reviewing bank statements, credit card statements, and credit reports, among other

    related activities; (g) the expenses incurred and time spent initiating fraud alerts; (h) the resulting

    decrease in credit scores and ratings; (i) their lost work time; (j) the lost value of the Private

    Information; (k) the lost value of access to their Private Information permitted by NationsBenefits; (l)

    the amount of the actuarial present value of ongoing high-quality identity defense and credit

    monitoring services made necessary as mitigation measures because of NationsBenefits’ Data Breach;

    (m) the lost benefit of their bargains and overcharges for services or products; and (n) nominal and

    general damages; and other economic and non-economic harm.




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                                     COUNT III
                    BREACH OF THIRD-PARTY BENEFICIARY CONTRACT

            288.    Plaintiffs reallege and incorporate by reference the allegations contained in paragraphs

    1 through 259 above, as if fully set forth herein.

            289.    On information and belief, NationsBenefits entered into contracts to provide services

    to its clients, which services included data security practices, procedures, and protocols sufficient to

    safeguard the Private Information that was to be provided to it.

            290.    On information and belief, these contracts are virtually identical and were made

    expressly for the benefit of Plaintiffs and the Class, as it was their Private Information that

    NationsBenefits agreed to receive and protect through its services. Thus, the benefit of collection and

    protection of the Private Information belonging to Plaintiffs and the Class was the direct and primary

    objective of the contracting parties.

            291.    NationsBenefits knew that if it were to breach these contracts with its clients, the

    clients’ members, including Plaintiffs and the Class Members, would be harmed.

            292.    NationsBenefits breached its contracts with its clients—whose members, including

    Plaintiffs and the Class Members—were affected by this Data Breach when it failed to use reasonable

    data security measures that could have prevented the Data Breach, and when it failed to timely notify

    Plaintiffs and Class Members regarding the breach.

            293.    As foreseen, Plaintiffs and the Class Members were harmed by NationsBenefits’ failure

    to use reasonable data security measures to store the Private Information Plaintiffs and Class Members

    provided to their respective health plans or other entities who in turn provided that information to

    NationsBenefits and the failure to timely notify Plaintiffs and Class Members, including but not limited

    to, the continuous and substantial risk of harm through the loss of their Private Information.




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            294.    Accordingly, Plaintiffs and the Class Members are entitled to damages in an amount

    to be determined at trial, including actual, consequential, and nominal damages, along with costs and

    attorneys’ fees incurred in this action.

                                           COUNT IV
                                  BREACH OF IMPLIED CONTRACT

            295.    Plaintiffs reallege and incorporate by reference the allegations contained in paragraphs

    1 through 259 above, as if fully set forth herein.

            296.    NationsBenefits offered to provide services to its clients, which are Plaintiffs’ and

    Class Members’ health plan providers, in exchange for payment.

            297.    NationsBenefits also required Plaintiffs and Class Members to provide it with their

    Private Information in order to receive services.

            298.    In turn, NationsBenefits impliedly promised to protect Plaintiffs’ and Class Members’

    Private Information through adequate data security measures.

            299.    Plaintiffs and Class Members accepted NationsBenefits’ offer by providing their

    valuable PII and sensitive PHI to their respective health plans or other entities who in turn provided

    that information to NationsBenefits in exchange for Plaintiffs and Class Members receiving

    NationsBenefits’ services, and then by paying for and receiving the same (payments which, upon

    information and belief, directly benefitted NationsBenefits).

            300.    Plaintiffs and Class Members would not have done the foregoing but for the above-

    described agreement with the company.

            301.    A meeting of the minds occurred when Plaintiffs and Class Members agreed to, and

    did, provide their Private Information to NationsBenefits in exchange for, amongst other things, the

    protection of such information.

            302.    Plaintiffs and Class Members fully performed their obligations under the implied

    contracts with NationsBenefits.

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            303.     However, NationsBenefits breached the implied contracts it made with Plaintiffs and

    Class Members by failing to safeguard and protect their Private Information and by failing to provide

    timely and accurate notice to them that their Private Information was compromised as a result of the

    Data Breach.

            304.     NationsBenefits further breached the implied contracts with Plaintiffs and Class

    Members by failing to comply with its promise to abide by HIPAA.

            305.     NationsBenefits further breached the implied contracts with Plaintiffs and Class

    Members by failing to ensure the confidentiality and integrity of electronic protected health

    information NationsBenefits created, received, maintained, and transmitted in violation of 45 CFR

    164.306(a)(1).

            306.     NationsBenefits further breached the implied contracts with Plaintiffs and Class

    Members by failing to implement policies and procedures to prevent, detect, contain, and correct

    security violations in violation of 45 CFR 164.308(a)(1).

            307.     NationsBenefits further breached the implied contracts with Plaintiffs and Class

    Members by failing to protect against any reasonably anticipated threats or hazards to the security or

    integrity of electronic protected health information in violation of 45 CFR 164.306(a)(2).

            308.     In sum, Plaintiffs and Class Members have performed under the relevant agreements,

    or such performance was waived by the conduct of NationsBenefits.

            309.     Moreover, the covenant of good faith and fair dealing is an element of every contract.

    All such contracts impose on each party a duty of good faith and fair dealing. The parties must act

    with honesty in fact in the conduct or transactions concerned. Good faith and fair dealing, in

    connection with executing contracts and discharging performance and other duties according to their

    terms, means preserving the spirit—not merely the letter—of the bargain. Put differently, the parties

    to a contract are mutually obligated to comply with the substance of their contract along with its form.



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            310.    NationsBenefits’ conduct as alleged herein also violated the implied covenant of good

    faith and fair dealing inherent in every contract.

            311.    As a direct and proximate result of NationsBenefits’ above-alleged breach of implied

    contract, Plaintiffs and Class Members have suffered (and will continue to suffer (a) actual identity

    theft crimes, fraud, and other misuse, resulting in monetary loss and economic harm; (b) the loss of

    the value of their privacy and the confidentiality of the stolen Private Information; (c) the illegal sale

    of the compromised Private Information on the black market; (d) the ongoing, imminent, certainly

    impending threat of identity theft crimes, fraud, and other misuse, resulting in monetary loss and

    economic harm; (e) the mitigation expenses and time spent on credit monitoring, identity theft

    insurance, and credit freezes and unfreezes; (f) the time spent in response to the Data Breach reviewing

    bank statements, credit card statements, and credit reports, among other related activities; (g) the

    expenses incurred and time spent initiating fraud alerts; (h) the resulting decrease in credit scores and

    ratings; (i) their lost work time; (j) the lost value of the Private Information; (k) the lost value of access

    to their Private Information permitted by NationsBenefits; (l) the amount of the actuarial present

    value of ongoing high-quality identity defense and credit monitoring services made necessary as

    mitigation measures because of NationsBenefits’ Data Breach; (m) the lost benefit of their bargains

    and overcharges for services or products; and (n) nominal and general damages; and other economic

    and non-economic harm.

            312.    Accordingly, Plaintiffs and the Class are entitled to damages in an amount to be

    determined at trial, including actual, consequential, and nominal damages, along with costs and

    attorneys’ fees incurred in this action.

                                               COUNT V
                                          UNJUST ENRICHMENT

            313.    Plaintiffs reallege and incorporate by reference the allegations contained in paragraphs

    1 through 259 above, as if fully set forth herein.

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            314.    This Count is pled in the alternative to Counts III and IV.

            315.    Plaintiffs and Class Members have an interest, both equitable and legal, in the Private

    Information about them that was conferred upon, collected by, and maintained by NationsBenefits,

    and that was ultimately stolen in the Data Breach.

            316.    NationsBenefits benefitted by the conferral upon it of the Private Information

    pertaining to Plaintiffs and Class Members and by its ability to retain, use, sell, and profit from that

    information. NationsBenefits understood that it so benefitted.

            317.    NationsBenefits also understood and appreciated that Plaintiffs’ and Class Members’

    Private Information was in fact private and confidential, and its value depended upon NationsBenefits

    maintaining the privacy and confidentiality of that Private Information.

            318.    But for NationsBenefits’ willingness and commitment to maintain its privacy and

    confidentiality, Plaintiffs and Class Members would not have provided their Private Information to

    their respective health plans or other entities to in turn provide that information to NationsBenefits.

            319.    Because of its use of Plaintiffs’ and Class Members’ Private Information,

    NationsBenefits sold more services and products than it otherwise would have. NationsBenefits was

    unjustly enriched by profiting from the additional services and products it was able to market, sell, and

    create to the detriment of Plaintiffs and Class Members.

            320.    NationsBenefits also benefitted through its unjust conduct by retaining money that it

    should have used to provide reasonable and adequate data security to protect Plaintiffs’ and Class

    Members’ Private Information.

            321.    NationsBenefits further benefited through its unjust conduct in the form of the profits

    it gained through the use of Plaintiffs’ and Class Members’ Private Information.

            322.    The benefits conferred upon, received, and enjoyed by NationsBenefits were not

    conferred officiously or gratuitously. Under the circumstances, it would be inequitable, unfair, and



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    unjust for NationsBenefits to retain these wrongfully obtained benefits. NationsBenefits’ retention of

    wrongfully obtained monies would also violate fundamental principles of justice, equity, and good

    conscience.

           323.    As a result of NationsBenefits’ wrongful conduct as alleged in this Complaint

    (including among things its failure to employ adequate data security measures; its continued

    maintenance and use of the Private Information belonging to Plaintiffs and Class Members without

    having adequate data security measures; and its other conduct facilitating the theft of that Private

    Information), NationsBenefits has been unjustly enriched at the expense of, and to the detriment of,

    Plaintiffs and Class Members.

           324.    NationsBenefits’ unjust enrichment is traceable to, and resulted directly and

    proximately from, the conduct alleged herein, including the compiling and use of Plaintiffs’ and Class

    Members’ sensitive Private Information, while at the same time failing to maintain that information

    secure from intrusion and theft by hackers and identity thieves.

           325.    NationsBenefits’ defective security and its unfair and deceptive conduct have, among

    other things, caused Plaintiffs and Class Members to unfairly incur substantial time and/or costs to

    mitigate and monitor the use of their Private Information and has caused the Plaintiffs and Class

    Members other damages as alleged herein.

           326.    Plaintiffs have no adequate remedy at law.

           327.    NationsBenefits is therefore liable to Plaintiffs and Class Members for restitution or

    disgorgement in the amount of the benefit conferred on NationsBenefits as a result of its wrongful

    conduct, including specifically: (a) the value to NationsBenefits of the Private Information that was

    stolen in the Data Breach; (b) the profits NationsBenefits received and is receiving from the use of

    that information; (c) the amounts that NationsBenefits overcharged Plaintiffs and Class Members for

    use of NationsBenefits’ products and services; and (d) the amounts that NationsBenefits should have



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    spent to provide reasonable and adequate data security to protect Plaintiffs’ and Class Members’

    Private Information.

                                    COUNT VI
                   DECLARATORY JUDGMENT ACT, 28 U.S.C. §§ 2201 ET SEQ.

            328.    Plaintiffs reallege and incorporate by reference the allegations contained in paragraphs

    1 through 259 above, as if fully set forth herein.

            329.    Under the Declaratory Judgment Act, 28 U.S.C. §§ 2201 et seq., this Court is authorized

    to enter a judgment declaring the rights and legal relations of the parties and to grant further necessary

    relief. Furthermore, the Court has broad authority to restrain acts that are tortious and violate the

    terms of the federal and state statutes described in this Complaint.

            330.    NationsBenefits owed a duty of care to Plaintiffs and Class Members, which required

    it to adequately monitor and safeguard Plaintiffs’ and Class Members’ Private Information.

            331.    NationsBenefits still possesses the Private Information belonging to Plaintiffs and

    Class Members.

            332.    Plaintiffs allege that NationsBenefits’ data security measures remain inadequate.

    Furthermore, Plaintiffs continue to suffer injury as a result of the compromise of their Private

    Information and the risk remains that further compromises of their Private Information will occur in

    the future.

            333.    Under its authority pursuant to the Declaratory Judgment Act, this Court should enter

    a judgment declaring, among other things, the following:

                    a.      NationsBenefits owes a legal duty to secure Plaintiffs’ and Class Members’

            Private Information under the common law, HIPAA, the FTCA, the California Medical

            Information Act, and other state and federal laws and regulations, as set forth herein;




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                   b.      NationsBenefits’ existing data monitoring measures do not comply with its

           explicit or implicit contractual obligations and duties of care to provide reasonable security

           procedures and practices that are appropriate to protect individuals’ Private Information; and

                   c.      NationsBenefits continues to breach this legal duty by failing to employ

           reasonable measures to secure Plaintiffs’ and Class Members’ Private Information.

           334.    This Court should also issue corresponding prospective injunctive relief requiring

    NationsBenefits to employ adequate security protocols consistent with legal and industry standards to

    protect members’ Private Information, including the following:

                   c.      Order NationsBenefits to provide lifetime credit monitoring and identity theft

           insurance to Plaintiffs and Class Members.

                   d.      Order that, to comply with NationsBenefits’ explicit or implicit contractual

           obligations and duties of care, NationsBenefits must implement and maintain reasonable

           security and monitoring measures, including, but not limited to:

                           i.      prohibiting NationsBenefits from engaging in the wrongful and

                   unlawful acts alleged herein;

                           ii.     requiring NationsBenefits to protect, including through encryption, all

                   data collected through the course of business in accordance with all applicable

                   regulations, industry standards, and federal, state or local laws;

                           iii.    requiring NationsBenefits to delete and purge the Private Information

                   of Plaintiffs and Class Members unless NationsBenefits can provide to the Court

                   reasonable justification for the retention and use of such information when weighed

                   against the privacy interests of Plaintiffs and Class Members;




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                           iv.     requiring   NationsBenefits    to    implement     and   maintain    a

                comprehensive Information Security Program designed to protect the confidentiality

                and integrity of Plaintiffs’ and Class Members’ Private Information;

                           v.      requiring NationsBenefits to engage independent third-party security

                auditors and internal personnel to run automated security monitoring, simulated

                attacks, penetration tests, and audits on NationsBenefits’ systems on a periodic basis;

                           vi.     prohibiting NationsBenefits from maintaining Plaintiffs’ and Class

                Members’ Private Information on a cloud-based database until proper safeguards and

                processes are implemented;

                           vii.    requiring NationsBenefits to segment data by creating firewalls and

                access controls so that, if one area of NationsBenefits’ network is compromised,

                hackers cannot gain access to other portions of NationsBenefits’ systems;

                           viii.   requiring NationsBenefits to conduct regular database scanning and

                securing checks;

                           ix.     requiring NationsBenefits to monitor ingress and egress of all network

                traffic;

                           x.      requiring NationsBenefits to establish an information security training

                program that includes at least annual information security training for all employees,

                with additional training to be provided as appropriate based upon the employees’

                respective responsibilities with handling Private Information, as well as protecting the

                Private Information of Plaintiffs and Class Members;

                           xi.     requiring NationsBenefits to implement a system of tests to assess its

                respective employees’ knowledge of the education programs discussed in the

                preceding subparagraphs, as well as randomly and periodically testing employees’


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                   compliance with NationsBenefits’ policies, programs, and systems for protecting

                   personal identifying information;

                           xii.    requiring NationsBenefits to implement, maintain, review, and revise

                   as necessary a threat management program to appropriately monitor NationsBenefits’

                   networks for internal and external threats, and assess whether monitoring tools are

                   properly configured, tested, and updated; and

                           xiii.   requiring NationsBenefits to meaningfully educate all Class Members

                   about the threats that it faces because of the loss of its confidential personal identifying

                   information to third parties, as well as the steps affected individuals must take to

                   protect themselves.

           335.    If an injunction is not issued, Plaintiffs will suffer irreparable injury and will lack an

    adequate legal remedy to prevent another data breach of NationsBenefits’ systems. The risk of another

    such breach is real, immediate, and substantial. If another breach occurs, Plaintiffs will not have an

    adequate remedy at law because many of the resulting injuries are not readily quantifiable.

           336.    The hardship to Plaintiffs if an injunction does not issue exceeds the hardship to

    NationsBenefits if an injunction is issued., The cost of NationsBenefits’ compliance with an injunction

    requiring reasonable prospective data security measures is relatively minimal, and NationsBenefits has

    a pre-existing legal duty to employ such measures.

           337.    Issuance of the requested injunction will not disserve the public interest. To the

    contrary, such an injunction would benefit the public by preventing a subsequent data breach of

    NationsBenefits’ systems and network, thus preventing future injury to Plaintiffs and other members

    whose Private Information would be further compromised.




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            338.    Following the issuance of the declaratory relief requested herein, Plaintiffs and the

    Class will seek any further necessary or proper relief, including damages, after reasonable notice and

    hearing, against NationsBenefits.

                       CLAIMS ON BEHALF OF THE ARKANSAS SUBCLASS

                                        COUNT VII
                         ARKANSAS DECEPTIVE TRADE PRACTICES ACT
                                   A.C.A. §§ 4-88-101 et seq.

            339.    Plaintiffs reallege and incorporate by reference the allegations contained in paragraphs

    1 through 259 above, as if fully set forth herein.

            340.    Plaintiffs Pamela Lazaroff and Stephen Lazaroff (for the purposes of this section,

    “Plaintiffs”) bring this claim on behalf of themselves and the Arkansas Subclass.

            341.    NationsBenefits is a “person” as defined by A.C.A. § 4-88-102(5).

            342.    NationsBenefits’ products and services are “goods” and “services” as defined by

    A.C.A. §§ 4-88-102(4) and (7).

            343.    NationsBenefits advertised, offered, or sold goods or services in Arkansas and engaged

    in trade or commerce directly or indirectly affecting the people of Arkansas.

            344.    The Arkansas Deceptive Trade Practices Act (“ADTPA”), A.C.A. §§ 4-88-101 et seq.,

    prohibits unfair, deceptive, false, and unconscionable trade practices.

            345.    NationsBenefits engaged in acts of deception and false pretense in connection with

    the sale and advertisement of services in violation of A.C.A. § 4-88-108(a)(1) and concealment,

    suppression and omission of material facts, with intent that others rely upon the concealment,

    suppression or omission in violation of A.C.A. § 4-88-108(a)(2), and engaged in the following

    deceptive and unconscionable trade practices defined in A.C.A. § 4-88-107:




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                    a.       Knowingly making a false representation as to the characteristics, ingredients,

    uses, benefits, alterations, source, sponsorship, approval, or certification of goods or services or as to

    whether goods are original or new or of a particular standard, quality, grade, style, or model;

                    b.       Advertising the goods or services with the intent not to sell them as advertised;

                    c.       Employing bait-and-switch advertising consisting of an attractive but insincere

    offer to sell a product or service which the seller in truth does not intend or desire to sell;

                    d.       Knowingly taking advantage of a consumer who is reasonably unable to

    protect his or her interest;

                    e.       Engaging in other unconscionable, false, or deceptive acts and practices in

    business, commerce, or trade.

            346.    NationsBenefits’ unconscionable, false, and deceptive acts and practices include:

                    a.       Failing to implement and maintain reasonable security and privacy measures

            to protect Plaintiffs’ and Arkansas Subclass Members’ Private Information, which was a direct

            and proximate cause of the Data Breach;

                    b.       Failing to identify and remediate foreseeable security and privacy risks and

            properly improve security and privacy measures despite knowing the risk of cybersecurity

            incidents, which was a direct and proximate cause of the Data Breach;

                    c.       Failing to comply with common law and statutory duties pertaining to the

            security and privacy of Plaintiffs’ and Arkansas Subclass Members’ Private Information,

            including duties imposed by the FTC Act, 15 U.S.C. § 45, which was a direct and proximate

            cause of the Data Breach;

                    d.       Misrepresenting that it would protect the privacy and confidentiality of

            Plaintiffs’ and Arkansas Subclass Members’ Private Information, including by implementing

            and maintaining reasonable security measures;



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                   e.        Misrepresenting that it would comply with common law and statutory duties

           pertaining to the security and privacy of Plaintiffs’ and Arkansas Subclass Members’ Private

           Information, including duties imposed by the FTC Act, 15 U.S.C. § 45;

                   f.        Omitting, suppressing, and concealing the material fact that it did not properly

           secure Plaintiffs’ and Arkansas Subclass Members’ Private Information; and

                   g.        Omitting, suppressing, and concealing the material fact that it did not comply

           with common law and statutory duties pertaining to the security and privacy of Plaintiffs’ and

           Arkansas Subclass Members’ Private Information, including duties imposed by the FTC Act,

           15 U.S.C. § 45.

           347.    NationsBenefits’ representations and omissions were material because they were likely

    to deceive reasonable consumers about the adequacy of NationsBenefits’ data security and ability to

    protect the confidentiality of consumers’ Private Information.

           348.    NationsBenefits intended to mislead Plaintiffs and Arkansas Subclass Members and

    induce them to rely on its misrepresentations and omissions.

           349.    Had NationsBenefits disclosed to Plaintiffs and Arkansas Subclass Members that its

    data systems were not secure and, thus, vulnerable to attack, NationsBenefits would have been unable

    to continue in business and it would have been forced to adopt reasonable data security measures and

    comply with the law. NationsBenefits was trusted with sensitive and valuable Private Information

    regarding millions of consumers, including Plaintiffs and Arkansas Subclass Members.

    NationsBenefits accepted the responsibility of protecting the data while keeping the inadequate state

    of its security controls secret from the public. Accordingly, Plaintiffs and Arkansas Subclass Members

    acted reasonably in relying on NationsBenefits’ misrepresentations and omissions, the truth of which

    they could not have discovered.




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              350.   NationsBenefits acted intentionally, knowingly, and maliciously to violate Arkansas’

    Deceptive Trade Practices Act, and recklessly disregarded Plaintiffs’ and Arkansas Subclass Members’

    rights.

              351.   As a direct and proximate result of NationsBenefits’ unconscionable, unfair, and

    deceptive acts or practices and Plaintiff and Arkansas Subclass Members’ reliance thereon, Plaintiffs

    and Arkansas Subclass Members have suffered and will continue to suffer injury, ascertainable losses

    of money or property, and monetary and non-monetary damages, as alleged herein, including but not

    limited to fraud and identity theft; time and expenses related to monitoring their financial accounts

    for fraudulent activity; an increased, imminent risk of fraud and identity theft; loss of value of their

    Private Information; overpayment for NationsBenefits’ services; loss of the value of access to their

    Private Information; and the value of identity protection services made necessary by the Data Breach.

              352.   Plaintiffs and the Arkansas Subclass Members seek all monetary and non-monetary

    relief allowed by law, including actual financial losses; injunctive relief; and reasonable attorneys’ fees

    and costs.

                      CLAIMS ON BEHALF OF THE CALIFORNIA SUBCLASS

                                              COUNT VIII
                               CALIFORNIA CONSUMER PRIVACY ACT
                                    Cal. Civ. Code §§ 1798.100 et seq.

              353.   Plaintiffs reallege and incorporate by reference the allegations contained in paragraphs

    1 through 259 above, as if fully set forth herein.

              354.   Plaintiff Ariana Skurauskis (for the purposes of this section, “Plaintiff”) brings this

    claim on behalf of herself and the California Subclass.

              355.   Plaintiff and California Subclass Members are residents of California.

              356.   NationsBenefits is a corporation organized or operated for the profit or financial

    benefit of its owners. NationsBenefits collects consumers’ Private Information (for the purposes of



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    this section, “Private Information”) as defined in the California Consumer Privacy Act (“CCPA”),

    Cal. Civ. Code § 1798.140.

            357.     NationsBenefits violated § 1798.150 of the CCPA by failing to prevent Plaintiff’s and

    California Subclass Members’ nonencrypted Private Information from unauthorized access and

    exfiltration, theft, or disclosure as a result of NationsBenefits’ violations of its duty to implement and

    maintain reasonable security procedures and practices appropriate to the nature of the information.

            358.     NationsBenefits has a duty to implement and maintain reasonable security procedures

    and practices to protect Plaintiff’s and California Subclass Members’ Private Information. As detailed

    herein, NationsBenefits failed to do so.

            359.     As a direct and proximate result of NationsBenefits’ acts, Plaintiff’s and California

    Subclass Members’ Private Information, including names, contact information, dates of birth, health

    insurance information, and other sensitive medical records, was subjected to unauthorized access and

    exfiltration, theft, or disclosure.

            360.     Plaintiff and California Subclass Members seek injunctive or other equitable relief to

    ensure NationsBenefits hereinafter properly safeguards customer Private Information by

    implementing reasonable security procedures and practices. Such relief is particularly important

    because NationsBenefits continues to hold customer Private Information, including Plaintiff’s and

    California Subclass Members’ Private Information. Plaintiff and California Subclass Members have an

    interest in ensuring that their Private Information is reasonably protected.

            361.     A judicial determination of this issue is necessary and appropriate at this time under

    the circumstances to prevent further data breaches by NationsBenefits and third parties with similar

    inadequate security measures.




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            362.    Plaintiff and the California Subclass seek actual damages, as well as all monetary and

    non-monetary relief allowed by law, including actual financial losses; injunctive relief; and reasonable

    attorneys’ fees and costs.

            363.    On June 23, 2023, counsel for Plaintiff Skurauskis provided written notice via certified

    mail to NationsBenefits at its principal place of business of the intent to pursue claims under the

    CCPA and an opportunity for NationsBenefits to cure. The domestic return receipt shows that

    NationsBenefits received the letter. Plaintiff Skurauskis’ written notice set forth the violations of

    NationsBenefits’ duty to implement and maintain reasonable security procedures and practices alleged

    in this Consolidated Complaint.

            364.    To date, NationsBenefits has taken no action to remedy its misconduct or otherwise

    address the violations outlined in the written notice sent by Plaintiff Skurauskis’ counsel.

            365.    Plaintiff and the California Subclass seek actual damages, as well as all monetary and

    non-monetary relief allowed by law, including actual financial losses; injunctive relief; reasonable

    attorneys’ fees and costs; and statutory damages.

                                             COUNT IX
                             CALIFORNIA CONSUMER RECORDS ACT
                                  Cal. Civ. Code §§ 1798.80 et seq.

            366.    Plaintiffs reallege and incorporate by reference the allegations contained in paragraphs

    1 through 259 above, as if fully set forth herein.

            367.    Plaintiffs Ariana Skurauskis (for the purposes of this section, “Plaintiff”) brings this

    claim on behalf of herself and the California Subclass.

            368.    “[T]o ensure that Private Information about California residents is protected,” the

    California legislature enacted Cal. Civ. Code § 1798.81.5, which requires that any business that “owns,

    licenses, or maintains Private Information about a California resident shall implement and maintain

    reasonable security procedures and practices appropriate to the nature of the information, to protect



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    the Private Information [Private Information] from unauthorized access, destruction, use,

    modification, or disclosure.”

           369.    NationsBenefits is a business that owns, maintains, and licenses Private Information

    (or “Private Information”), within the meaning of Cal. Civ. Code §§ 1798.80(a) and 1798.81.5(b),

    about Plaintiff and California Subclass Members.

           370.    Businesses that own or license computerized data that includes Private Information

    are required to notify California residents when their Private Information has been acquired (or is

    reasonably believed to have been acquired) by unauthorized persons in a data security breach “in the

    most expedient time possible and without unreasonable delay.” Cal. Civ. Code § 1798.82. Among

    other requirements, the security breach notification must include “the types of Private Information

    [Private Information] that were or are reasonably believed to have been the subject of the breach.”

    Cal. Civ. Code § 1798.82.

           371.    NationsBenefits is a business that owns or licenses computerized data that includes

    “Private Information” [Private Information] as defined by Cal. Civ. Code § 1798.80.

           372.    Plaintiff’s and California Subclass Members’ Private Information includes “Private

    Information” as covered by Cal. Civ. Code § 1798.82.

           373.    Because NationsBenefits reasonably believed that Plaintiff’s and California Subclass

    Members’ Private Information was acquired by unauthorized persons during the Data Breach,

    NationsBenefits had an obligation to disclose the Data Breach in a timely and accurate fashion as

    mandated by Cal. Civ. Code § 1798.82.

           374.    NationsBenefits failed to fully disclose material information about the Data Breach,

    including the types of Private Information impacted.

           375.    By failing to disclose the Data Breach in a timely and accurate manner, NationsBenefits

    violated Cal. Civ. Code § 1798.82.



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             376.   NationsBenefits also violated Cal. Civ. Code § 1798.82 by not publishing a notice of

    data breach in the format required by Cal. Civ. Code § 1798.82(d)(1).

             377.   As a direct and proximate result of NationsBenefits’ violations of the Cal. Civ. Code

    §§ 1798.81.5 and 1798.82, Plaintiff and California Subclass Members suffered damages, as alleged

    above.

             378.   Plaintiff and California Subclass Members seek relief under Cal. Civ. Code § 1798.84,

    including actual damages and injunctive relief.

                                             COUNT X
                             CALIFORNIA UNFAIR COMPETITION ACT
                                Cal. Bus. & Prof. Code §§ 17200 et seq.

             379.   Plaintiff realleges and incorporates by reference the allegations contained in

    paragraphs 1 through 259 above, as if fully set forth herein.

             380.   Plaintiff Ariana Skurauskis (for the purposes of this section, “Plaintiff”) brings this

    claim on behalf of herself and the California Subclass.

             381.   NationsBenefits is a “person” as defined by Cal. Bus. & Prof. Code § 17201.

             382.   NationsBenefits violated Cal. Bus. & Prof. Code §§ 17200 et seq. (“UCL”) by engaging

    in unlawful, unfair, and deceptive business acts and practices.

             383.   NationsBenefits’ “unfair” acts and practices include:

                    a.      NationsBenefits failed to implement and maintain reasonable security

             measures to protect Plaintiff’s and California Subclass Members’ Private Information from

             unauthorized disclosure, release, data breaches, and theft, which was a direct and proximate

             cause of the Data Breach;

                    b.      NationsBenefits failed to identify foreseeable security risks, remediate

             identified security risks, and sufficiently improve security following previous cybersecurity

             incidents, as alleged herein. This conduct, with little if any utility, is unfair when weighed



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           against the harm to Plaintiff and California Subclass Members, whose Private Information has

           been compromised;

                   c.      NationsBenefits’ failure to implement and maintain reasonable security

           measures also was contrary to legislatively declared public policy that seeks to protect

           consumers’ data and ensure that entities that are trusted with it use appropriate security

           measures. These policies are reflected in laws, including the FTC Act, 15 U.S.C. § 45,

           California’s Consumer Records Act, Cal. Civ. Code § 1798.81.5, and California’s Consumer

           Privacy Act, Cal. Civ. Code § 1798.100;

                   d.      NationsBenefits’ failure to implement and maintain reasonable security

           measures also resulted in substantial consumer injuries, as alleged above, that are not

           outweighed by any countervailing benefits to consumers or competition. Moreover, because

           consumers could not have known of NationsBenefits’ grossly inadequate security, consumers

           could not have reasonably avoided the harms that NationsBenefits caused; and

                   e.      NationsBenefits engaged in unlawful business practices by violating Cal. Civ.

           Code § 1798.82.

           384.    NationsBenefits has engaged in “unlawful” business practices by violating multiple

    laws, including California’s Consumer Records Act, Cal. Civ. Code §§ 1798.81.5 (requiring reasonable

    data security measures) and 1798.82 (requiring timely breach notification), the FTC Act, 15 U.S.C. §

    45, and California common law.

           385.    NationsBenefits’ unlawful, unfair, and deceptive acts and practices include:

                   a.      Failing to implement and maintain reasonable security and privacy measures

           to protect Plaintiff’s and California Subclass Members’ Private Information, which was a direct

           and proximate cause of the Data Breach;




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                 b.        Failing to identify and remediate foreseeable security and privacy risks and

          sufficiently improve security and privacy measures despite knowing the risk of cybersecurity

          incidents, which was a direct and proximate cause of the Data Breach;

                 c.        Failing to comply with common law and statutory duties pertaining to the

          security and privacy of Plaintiff’s and California Subclass Members’ Private Information,

          including duties imposed by the FTC Act, 15 U.S.C. § 45, which was a direct and proximate

          cause of the Data Breach;

                 d.        Misrepresenting that it would protect the privacy and confidentiality of

          Plaintiff’s and California Subclass Members’ Private Information, including by implementing

          and maintaining reasonable security measures;

                 e.        Misrepresenting that it would comply with common law and statutory duties

          pertaining to the security and privacy of Plaintiff’s and California Subclass Members’ Private

          Information, including duties imposed by the FTC Act, 15 U.S.C. § 45;

                 f.        Omitting, suppressing, and concealing the material fact that it did not properly

          secure Plaintiff’s and California Subclass Members’ Private Information;

                 g.        Omitting, suppressing, and concealing the material fact that it did not comply

          with common law and statutory duties pertaining to the security and privacy of Plaintiff’s and

          California Subclass Members’ Private Information, including duties imposed by the FTC Act,

          15 U.S.C. § 45, California’s Consumer Privacy Act, Cal. Civ. Code § 1798.100, and California’s

          Customer Records Act, Cal. Civ. Code §§ 1798.80 et seq., and § 1798.81.5, which was a direct

          and proximate cause of the Data Breach; and

                 h.        Failing to provide the Notice of Data Breach required by Cal. Civ. Code §

          1798.82(d)(1).




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              386.     NationsBenefits’ representations and omissions were material because they were likely

    to deceive reasonable consumers about the adequacy of NationsBenefits’ data security and ability to

    protect the confidentiality of consumers’ Private Information.

              387.     As a direct and proximate result of NationsBenefits’ unfair, unlawful, and fraudulent

    acts and practices, Plaintiff and California Subclass Members were injured and suffered monetary and

    non-monetary damages, as alleged herein, including but not limited to fraud and identity theft; time

    and expenses related to monitoring their financial accounts for fraudulent activity; an increased,

    imminent risk of fraud and identity theft; loss of value of their Private Information; overpayment for

    NationsBenefits’ services; loss of the value of access to their Private Information; and the value of

    identity protection services made necessary by the Data Breach.

              388.     NationsBenefits acted intentionally, knowingly, and maliciously to violate California’s

    Unfair Competition Law, and recklessly disregarded Plaintiff’s and California Subclass Members’

    rights.

              389.     Plaintiff and California Subclass Members seek all monetary and non-monetary relief

    allowed by law, including restitution of all profits stemming from NationsBenefits’ unfair, unlawful,

    and fraudulent business practices or use of their Private Information; declaratory relief; reasonable

    attorneys’ fees and costs under California Code of Civil Procedure § 1021.5; injunctive relief; and other

    appropriate equitable relief.

                          CLAIMS ON BEHALF OF THE FLORIDA SUBCLASS

                                           COUNT XI
                     FLORIDA DECEPTIVE AND UNFAIR TRADE PRACTICES ACT
                                   Fla. Stat. §§ 501.201 et seq.

              390.     Plaintiffs reallege and incorporate by reference the allegations contained in paragraphs

    1 through 259 above, as if fully set forth herein.




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           391.    Plaintiffs Anthony Skuya, Renee Fideleff and Stephen Wolsey (for the purposes of this

    section, “Plaintiffs”) bring this claim on behalf of themselves and the Florida Subclass.

           392.    Plaintiffs and Florida Subclass Members are “consumers” as defined by Fla. Stat. §

    501.203.

           393.    NationsBenefits advertised, offered, or sold goods or services in Florida and engaged

    in trade or commerce directly or indirectly affecting the people of Florida.

           394.    NationsBenefits engaged in unconscionable, unfair, and deceptive acts and practices

    in the conduct of trade and commerce, in violation of Fla. Stat. § 501.204(1), including:

                   a.      Failing to implement and maintain reasonable security and privacy measures

           to protect Plaintiffs’ and Florida Subclass Members’ Private Information, which was a direct

           and proximate cause of the Data Breach;

                   b.        Failing to identify and remediate foreseeable security and privacy risks and

           sufficiently improve security and privacy measures despite knowing the risk of cybersecurity

           incidents, which was a direct and proximate cause of the Data Breach;

                   c.        Failing to comply with common law and statutory duties pertaining to the

           security and privacy of Plaintiffs’ and Florida Subclass Members’ Private Information,

           including duties imposed by the FTC Act, 15 U.S.C. § 45, and Florida’s data security statute,

           F.S.A. § 501.171(2), which was a direct and proximate cause of the Data Breach;

                   d.        Misrepresenting that it would protect the privacy and confidentiality of

           Plaintiffs ‘and Florida Subclass Members’ Private Information, including by implementing and

           maintaining reasonable security measures;

                   e.        Misrepresenting that it would comply with common law and statutory duties

           pertaining to the security and privacy of Plaintiffs’ and Florida Subclass Members’ Private

           Information, including duties imposed by the FTC Act, 15 U.S.C. § 45, and Florida’s data


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            security statute, F.S.A. § 501.171(2);

                    f.        Omitting, suppressing, and concealing the material fact that it did not

            properly secure Plaintiffs’ and Florida Subclass Members’ Private Information; and

                    g.        Omitting, suppressing, and concealing the material fact that it did not comply

            with common law and statutory duties pertaining to the security and privacy of Plaintiffs’ and

            Florida Subclass Members’ Private Information, including duties imposed by the FTC Act, 15

            U.S.C. § 45, and Florida’s data security statute, F.S.A. § 501.171(2).

            395.    NationsBenefits’ representations and omissions were material because they were likely

    to deceive reasonable consumers about the adequacy of NationsBenefits’ data security and ability to

    protect the confidentiality of consumers’ Private Information.

            396.    Had NationsBenefits disclosed to Plaintiffs and Florida Subclass Members that its data

    systems were not secure and, thus, were vulnerable to attack, NationsBenefits would have been unable

    to continue in business and it would have been forced to adopt reasonable data security measures and

    comply with the law. NationsBenefits was trusted with sensitive and valuable Private Information

    regarding millions of consumers, including Plaintiffs and Florida Subclass Members. NationsBenefits

    accepted the responsibility of protecting the data but kept the inadequate state of its security controls

    secret from the public. Accordingly, Plaintiffs and Florida Subclass Members acted reasonably in

    relying on NationsBenefits’ misrepresentations and omissions, the truth of which they could not have

    discovered.

            397.    As a direct and proximate result of NationsBenefits’ unconscionable, unfair, and

    deceptive acts and practices, Plaintiffs and Florida Subclass Members have suffered and will continue

    to suffer injury, ascertainable losses of money or property, and monetary and non- monetary damages,

    as alleged herein, including but not limited to fraud and identity theft; time and expenses related to

    monitoring their financial accounts for fraudulent activity; an increased, imminent risk of fraud and


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    identity theft; loss of value of their Private Information; overpayment for NationsBenefits’ services;

    loss of the value of access to their Private Information; and the value of identity protection services

    made necessary by the Data Breach.

              398.   Plaintiffs and Florida Subclass Members seek all monetary and non-monetary relief

    allowed by law, including actual damages under Fla. Stat. § 501.211; declaratory and injunctive relief;

    reasonable attorneys’ fees and costs, under Fla. Stat. § 501.2105(1); and any other relief that is just and

    proper.

                        CLAIMS ON BEHALF OF THE ILLINOIS SUBCLASS

                                            COUNT XII
                     ILLINOIS PERSONAL INFORMATION PROTECTION ACT
                               815 Ill. Comp. Stat. §§ 530/10(a) et seq.

              399.   Plaintiffs reallege and incorporate by reference the allegations contained in paragraphs

    1 through 259 above, as if fully set forth herein.

              400.   Plaintiffs Lenore Caliendo, Kevin McCoy and Sharon McCoy (for the purposes of this

    section, “Plaintiffs”) bring this claim on behalf of themselves and the Illinois Subclass.

              401.   As a publicly held corporation which handles, collects, disseminates, and otherwise

    deals with nonpublic Private Information (for the purpose of this section, “Private Information”),

    NationsBenefits is a Data Collector as defined in 815 Ill. Comp. Stat. § 530/5.

              402.   NationsBenefits is a Data Collector that owns or licenses computerized data that

    includes Private Information. NationsBenefits also maintains computerized data that includes Private

    Information which NationsBenefits does not own.

              403.   Plaintiffs’ and Illinois Subclass Members’ Private Information includes “Private

    Information” as defined by 815 Ill. Comp. Stat. § 530/5.




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            404.     NationsBenefits is required to give immediate notice of a breach of a security system

    to owners of Private Information which NationsBenefits does not own or license, including Plaintiffs

    and Illinois Subclass Members, pursuant to 815 Ill. Comp. Stat. § 530/10(b).

            405.     By failing to give immediate notice to Plaintiffs and Illinois Subclass Members,

    NationsBenefits violated 815 Ill. Comp. Stat. § 530/10(b).

            406.     NationsBenefits is required to notify Plaintiffs and Illinois Subclass Members of a

    breach of its data security system which may have compromised Private Information which

    NationsBenefits owns or licenses in the most expedient time possible and without unreasonable delay

    pursuant to 815 Ill. Comp. Stat. § 530/10(a).

            407.     By failing to disclose the Data Breach to Plaintiffs and Illinois Subclass Members in

    the most expedient time possible and without unreasonable delay, NationsBenefits violated 815 Ill.

    Comp. Stat. § 530/10(a).

            408.     Pursuant to 815 Ill. Comp. Stat. § 530/20, a violation of 815 Ill. Comp. Stat. §

    530/10(a) constitutes an unlawful practice under the Illinois Consumer Fraud and Deceptive Business

    Practices Act.

            409.     As a direct and proximate result of NationsBenefits’ violations of 815 Ill. Comp. Stat.

    § 530/10(a), Plaintiffs and Illinois Subclass Members suffered damages, as alleged above.

            410.     Plaintiffs and Illinois Subclass Members seek relief under 815 Ill. Comp. Stat. § 510/3

    for the harm they suffered because of NationsBenefits’ willful violations of 815 Ill. Comp. Stat. §

    530/10(a), including equitable relief, costs, and attorneys’ fees.

                                            COUNT XIII
                     ILLINOIS PERSONAL INFORMATION PROTECTION ACT
                                 815 Ill. Comp. Stat. §§ 505 et seq.

            411.     Plaintiffs reallege and incorporate by reference the allegations contained in paragraphs

    1 through 259 above, as if fully set forth herein.



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            412.      Plaintiffs Lenore Caliendo, Sadie Brooks, Kevin McCoy and Sharon McCoy (for the

    purposes of this section, “Plaintiffs”) bring this claim on behalf of themselves and the Illinois Subclass.

            413.      NationsBenefits is a “person” as defined by 815 Ill. Comp. Stat. §§ 505/1(c).

            414.      Plaintiffs and Illinois Subclass Members are “consumers” as defined by 815 Ill. Comp.

    Stat. §§ 505/1(e).

            415.      NationsBenefits’ conduct as alleged herein was in the conduct of “trade” or

    “commerce” as defined by 815 Ill. Comp. Stat. § 505/1(f).

            416.      NationsBenefits’ deceptive, unfair, and unlawful trade acts or practices, in violation of

    815 Ill. Comp. Stat. § 505/2, include:

                      a.      Failing to implement and maintain reasonable security and privacy measures

            to protect Plaintiffs’ and Illinois Subclass Members’ Private Information, which was a direct

            and proximate cause of the Data Breach;

                      b.      Failing to identify and remediate foreseeable security and privacy risks and

            sufficiently improve security and privacy measures despite knowing the risk of cybersecurity

            incidents, which was a direct and proximate cause of the Data Breach;

                      c.      Failing to comply with common law and statutory duties pertaining to the

            security and privacy of Plaintiffs’ and Illinois Subclass Members’ Private Information,

            including duties imposed by the FTC Act, 15 U.S.C. § 45, the Illinois Uniform Deceptive

            Trade Practices Act, 815 Ill. Comp. Stat. § 510/2(a), and the Illinois Personal Information Act,

            815 Ill. Comp. Stat. §§ 530/10(a), et seq, which was a direct and proximate cause of the Data

            Breach;

                      d.      Misrepresenting that it would protect the privacy and confidentiality of

            Plaintiffs’ and Illinois Subclass Members’ Private Information, including by implementing and

            maintaining reasonable security measures;


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                   e.      Misrepresenting that it would comply with common law and statutory duties

           pertaining to the security and privacy of Plaintiffs’ and Illinois Subclass Members’ Private

           Information, including duties imposed by the FTC Act, 15 U.S.C. § 45, the Illinois Uniform

           Deceptive Trade Practices Act, 815 Ill. Comp. Stat. § 510/2(a), and the Illinois Personal

           Information Act, 815 Ill. Comp. Stat. §§ 530/10(a);

                   f.      Omitting, suppressing, and concealing the material fact that it did not properly

           secure Plaintiffs’ and Illinois Subclass Members’ Private Information; and

                   g.      Omitting, suppressing, and concealing the material fact that it did not comply

           with common law and statutory duties pertaining to the security and privacy of Plaintiffs’ and

           Illinois Subclass Members’ Private Information, including duties imposed by the FTC Act, 15

           U.S.C. § 45, the Illinois Uniform Deceptive Trade Practices Act, 815 Ill. Comp. Stat. §

           510/2(a), and the Illinois Personal Information Act, 815 Ill. Comp. Stat. §§ 530/10(a) et seq.

           417.    NationsBenefits’ representations and omissions were material because they were likely

    to deceive reasonable consumers about the adequacy of NationsBenefits’ data security and ability to

    protect the confidentiality of consumers’ Private Information.

           418.    NationsBenefits intended to mislead Plaintiffs and Illinois Subclass Members and

    induce them to rely on its misrepresentations and omissions.

           419.    The above unfair and deceptive practices and acts by NationsBenefits were immoral,

    unethical, oppressive, and unscrupulous. These acts caused substantial injury that these consumers

    could not reasonably avoid; this substantial injury outweighed any benefits to consumers or to

    competition.

           420.    NationsBenefits acted intentionally, knowingly, and maliciously to violate Illinois’

    Consumer Fraud Act, and recklessly disregarded Plaintiffs’ and Illinois Subclass Members’ rights.




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            421.    As a direct and proximate result of NationsBenefits’ unfair, unlawful, and deceptive

    acts and practices, Plaintiffs and Illinois Subclass Members have suffered and will continue to suffer

    injury, ascertainable losses of money or property, and monetary and non-monetary damages, as alleged

    herein, including but not limited to fraud and identity theft; time and expenses related to monitoring

    their financial accounts for fraudulent activity; an increased, imminent risk of fraud and identity theft;

    loss of value of their Private Information; overpayment for NationsBenefits’ services; loss of the value

    of access to their Private Information; and the value of identity protection services made necessary by

    the Data Breach.

            422.    Plaintiffs and Illinois Subclass Members seek all monetary and non-monetary relief

    allowed by law, including damages, restitution, punitive damages, injunctive relief, and reasonable

    attorneys’ fees and costs.

                                         COUNT XIV
                   ILLINOIS UNIFORM DECEPTIVE TRADE PRACTICES ACT
                              815 Ill. Comp. Stat. §§ 510/1 et seq.

            423.    Plaintiffs reallege and incorporate by reference the allegations contained in paragraphs

    1 through 259 above, as if fully set forth herein.

            424.    Plaintiffs Lenore Caliendo, Sadie Brooks, Kevin McCoy and Sharon McCoy (for the

    purposes of this section, “Plaintiffs”) bring this claim on behalf of themselves and the Illinois Subclass.

            425.    NationsBenefits is a “person” as defined by 815 Ill. Comp. Stat. §§ 510/1(5).

            426.    NationsBenefits engaged in deceptive trade practices in the conduct of its business, in

    violation of 815 Ill. Comp. Stat. §§ 510/2(a), including:

                    a.      Representing that goods or services have characteristics that they do not have;

                    b.      Representing that goods or services are of a particular standard, quality, or

            grade if they are of another;

                    c.      Advertising goods or services with intent not to sell them as advertised; and


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                    d.     Engaging in other conduct that creates a likelihood of confusion or

          misunderstanding.

                    427.   NationsBenefits’ deceptive acts and practices include:

                    a.     Failing to implement and maintain reasonable security and privacy measures

          to protect Plaintiffs’ and Illinois Subclass Members’ Private Information, which was a direct

          and proximate cause of the Data Breach;

                    b.     Failing to identify and remediate foreseeable security and privacy risks and

          sufficiently improve security and privacy measures despite knowing the risk of cybersecurity

          incidents, which was a direct and proximate cause of the Data Breach;

                    c.     Failing to comply with common law and statutory duties pertaining to the

          security and privacy of Plaintiffs’ and Illinois Subclass Members’ Private Information,

          including duties imposed by the FTC Act, 15 U.S.C. § 45 and the Illinois Uniform Deceptive

          Trade Practices Act, 815 Ill. Comp. Stat. § 510/2(a), and the Illinois Personal Information Act,

          815 Ill. Comp. Stat. §§ 530/10(a) et seq., which was a direct and proximate cause of the Data

          Breach;

                    d.     Misrepresenting that it would protect the privacy and confidentiality of

          Plaintiffs’ and Illinois Subclass Members’ Private Information, including by implementing and

          maintaining reasonable security measures;

                    e.     Misrepresenting that it would comply with common law and statutory duties

          pertaining to the security and privacy of Plaintiffs’ and Illinois Subclass Members’ Private

          Information, including duties imposed by the FTC Act, 15 U.S.C. § 45, the Illinois Uniform

          Deceptive Trade Practices Act, 815 Ill. Comp. Stat. § 510/2(a), and the Illinois Personal

          Information Act, 815 Ill. Comp. Stat. §§ 530/10(a) et seq.;




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                    f.     Omitting, suppressing, and concealing the material fact that it did not properly

           secure Plaintiffs’ and Illinois Subclass Members’ Private Information; and

                    g.     Omitting, suppressing, and concealing the material fact that it did not comply

           with common law and statutory duties pertaining to the security and privacy of Plaintiffs’ and

           Illinois Subclass Members’ Private Information, including duties imposed by the FTC Act, 15

           U.S.C. § 45, the Illinois Uniform Deceptive Trade Practices Act, 815 Ill. Comp. Stat. §

           510/2(a), and the Illinois Personal Information Act, 815 Ill. Comp. Stat. §§ 530/10(a) et seq.

           428.     NationsBenefits’ representations and omissions were material because they were likely

   to deceive reasonable consumers about the adequacy of NationsBenefits’ data security and ability to

   protect the confidentiality of consumers’ Private Information.

           429.     The above unfair and deceptive practices and acts by NationsBenefits were immoral,

   unethical, oppressive, and unscrupulous. These acts caused substantial injury to Plaintiffs and Illinois

   Subclass Members that they could not reasonably avoid; this substantial injury outweighed any benefits

   to consumers or to competition.

           430.     As a direct and proximate result of NationsBenefits’ unfair, unlawful, and deceptive

   trade practices, Plaintiffs and Illinois Subclass Members have suffered and will continue to suffer

   injury, ascertainable losses of money or property, and monetary and non-monetary damages, as alleged

   herein, including but not limited to fraud and identity theft; time and expenses related to monitoring

   their financial accounts for fraudulent activity; an increased, imminent risk of fraud and identity theft;

   loss of value of their Private Information; overpayment for NationsBenefits’ services; loss of the value

   of access to their Private Information; and the value of identity protection services made necessary by

   the Data Breach.

           431.     Plaintiffs and Illinois Subclass Members seek all relief allowed by law, including

   injunctive relief.


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                       CLAIMS ON BEHALF OF THE INDIANA SUBCLASS

                                         COUNT XV
                         INDIANA DECEPTIVE CONSUMER SALES ACT
                                 Ind. Code §§ 24-5-0.5-1 et seq.

          432.    Plaintiff realleges and incorporates by reference the allegations contained in

   paragraphs 1 through 259 above, as if fully set forth herein.

          433.    Plaintiff Arnisha Marie Shepherd (for the purposes of this section, “Plaintiff”) brings

   this claim on behalf of herself and the Indiana Subclass.

          434.    NationsBenefits is a “person” as defined by Ind. Code § 24-5-0.5-2(a)(2).

          435.    NationsBenefits is a “supplier” as defined by § 24-5-0.5-2(a)(3), because it regularly

   engages in or solicits “consumer transactions,” within the meaning of § 24-5-0.5-2(a)(1).

          436.    NationsBenefits engaged in unfair, abusive, and deceptive acts, omissions, and

   practices in connection with consumer transactions, in violation of Ind. Code § 24-5-0.5-3(a).

          437.    NationsBenefits’ representations and omissions include both implicit and explicit

   representations:

                  a.      Failing to implement and maintain reasonable security and privacy measures

          to protect Plaintiff’s and Indiana Subclass Members’ Private Information, which was a direct

          and proximate cause of the Data Breach;

                  b.      Failing to identify and remediate foreseeable security and privacy risks and

          sufficiently improve security and privacy measures despite knowing the risk of cybersecurity

          incidents, which was a direct and proximate cause of the Data Breach;

                  c.      Failing to comply with common law and statutory duties pertaining to the

          security and privacy of Plaintiff’s and Indiana Subclass Members’ Private Information,

          including duties imposed by the FTC Act, 15 U.S.C. § 45, which was a direct and proximate

          cause of the Data Breach;


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                   d.      Misrepresenting that it would protect the privacy and confidentiality of

           Plaintiff’s and Indiana Subclass Members’ Private Information, including by implementing and

           maintaining reasonable security measures;

                   e.      Misrepresenting that it would comply with common law and statutory duties

           pertaining to the security and privacy of Plaintiff’s and Indiana Subclass Members’ Private

           Information, including duties imposed by the FTC Act, 15 U.S.C. § 45;

                   f.      Omitting, suppressing, and concealing the material fact that it did not properly

           secure Plaintiff’s and Indiana Subclass Members’ Private Information; and

                   g.      Omitting, suppressing, and concealing the material fact that it did not comply

           with common law and statutory duties pertaining to the security and privacy of Plaintiff’s and

           Indiana Subclass Members’ Private Information, including duties imposed by the FTC Act, 15

           U.S.C. § 45.

           438.    NationsBenefits’ acts and practices were “unfair” because they caused or were likely

   to cause substantial injury to consumers which was not reasonably avoidable by consumers themselves

   and not outweighed by countervailing benefits to consumers or to competition.

           439.    The injury to consumers from NationsBenefits’ conduct was and is substantial because

   it was non-trivial and non-speculative; and involved a monetary injury and an unwarranted risk to the

   safety of their Private Information or the security of their identity or credit. The injury to consumers

   was substantial not only because it inflicted harm on a significant and unprecedented number of

   consumers, but also because it inflicted a significant amount of harm on each consumer.

           440.    Consumers could not have reasonably avoided injury because NationsBenefits’

   business acts and practices unreasonably created or took advantage of an obstacle to the free exercise

   of consumer decision-making. By withholding important information from consumers about the




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   inadequacy of its data security, NationsBenefits created an asymmetry of information between it and

   consumers that precluded consumers from taking action to avoid or mitigate injury.

           441.    NationsBenefits’ inadequate data security had no countervailing benefit to consumers

   or to competition.

           442.    NationsBenefits’ acts and practices were “abusive” for numerous reasons, including:

                   a.      Because they materially interfered with consumers’ ability to understand a term

   or condition in a consumer transaction. NationsBenefits’ failure to disclose the inadequacies in its data

   security interfered with consumers’ decision- making in a variety of their transactions.

                   b.      Because they took unreasonable advantage of consumers’ lack of

   understanding about the material risks, costs, or conditions of a consumer transaction. Without

   knowing about the inadequacies in NationsBenefits’ data security, consumers lacked an understanding

   of the material risks and costs of a variety of their transactions.

                   c.      Because they took unreasonable advantage of consumers’ inability to protect

   their own interests. Consumers could not protect their interests due to the asymmetry in information

   between them and NationsBenefits concerning the state of NationsBenefits security, and because it is

   functionally impossible for consumers to obtain credit without their Private Information being in

   NationsBenefits’ systems.

                   d.      Because NationsBenefits took unreasonable advantage of consumers’

   reasonable reliance that it was acting in their interests to secure their data. Consumers’ reliance was

   reasonable for the reasons discussed below.

           443.    NationsBenefits also engaged in “deceptive” acts and practices in violation of Indiana

   Code § 24-5-0.5-3(a) and § 24-5-0.5-3(b), including:




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                  a.      Misrepresenting that the subject of a consumer transaction has performance,

          characteristics, or benefits it does not have which the supplier knows or should reasonably

          know it does not have;

                  b.      Misrepresenting that the subject of a consumer transaction is of a particular

          standard, quality, grade, style, or model, if it is not and if the supplier knows or should

          reasonably know that it is not; and

                  c.      Misrepresenting that the subject of a consumer transaction will be supplied to

          the public in greater quantity (i.e., more data security) than the supplier intends or reasonably

          expects.

          444.    NationsBenefits intended to mislead Plaintiff and Indiana Subclass Members and

   induced them to rely on its misrepresentations and omissions.

          445.    NationsBenefits’ representations and omissions were material because they were likely

   to deceive reasonable consumers about the adequacy of NationsBenefits’ data security and ability to

   protect the confidentiality of consumers’ Private Information.

          446.    Had NationsBenefits disclosed to Plaintiff and Indiana Subclass Members that its data

   systems were not secure and, thus, vulnerable to attack, NationsBenefits would have been unable to

   continue in business and it would have been forced to adopt reasonable data security measures and

   comply with the law. NationsBenefits was trusted with sensitive and valuable Private Information

   regarding millions of consumers, including Plaintiff and Indiana Subclass Members. NationsBenefits

   accepted the responsibility of protecting the data while keeping the inadequate state of its security

   controls secret from the public. Accordingly, Plaintiff and Indiana Subclass Members acted reasonably

   in relying on NationsBenefits’ misrepresentations and omissions, the truth of which they could not

   have discovered.




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           447.    NationsBenefits had a duty to disclose the above-described facts due to the

   circumstances of this case, the sensitivity and extent of the Private Information in its possession, and

   the generally accepted professional standards. This duty arose due to the representations and

   relationship between NationsBenefits and Plaintiff and the Indiana Subclass as alleged herein. In

   addition, such a duty is implied by law due to the nature of the relationship between consumers—

   including Plaintiff and the Indiana Subclass—and NationsBenefits, because consumers are unable to

   fully protect their interests with regard to their data, and placed trust and confidence in

   NationsBenefits. NationsBenefits’ duty to disclose also arose from its:

                   a.      Possession of exclusive knowledge regarding the security of the data in its

           systems;

                   b.      Active concealment of the state of its security; and/or

                   c.      Incomplete representations about the security and integrity of its computer

           and data systems, while purposefully withholding material facts from Plaintiff and the Indiana

           Subclass that contradicted these representations.

           448.    NationsBenefits acted intentionally, knowingly, and maliciously to violate Indiana’s

   Deceptive Consumer Sales Act, and recklessly disregarded Plaintiff’s and Indiana Subclass Members’

   rights. NationsBenefits’ actions were not the result of a mistake of fact or law, honest error or

   judgment, overzealousness, mere negligence, or other human failing.

           449.    NationsBenefits’ conduct includes incurable deceptive acts that NationsBenefits

   engaged in as part of a scheme, artifice, or device with intent to defraud or mislead, under Ind. Code

   § 24-5-0.5-2(a)(8).

           450.    As a direct and proximate result of NationsBenefits’ uncured or incurable unfair,

   abusive, and deceptive acts or practices, Plaintiff’s and Indiana Subclass Members have suffered and

   will continue to suffer injury, ascertainable losses of money or property, and monetary and non-


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   monetary damages, as alleged herein, including but not limited to fraud and identity theft; time and

   expenses related to monitoring their financial accounts for fraudulent activity; an increased, imminent

   risk of fraud and identity theft; loss of value of their Private Information; overpayment for

   NationsBenefits’ services; loss of the value of access to their Private Information; and the value of

   identity protection services made necessary by the Data Breach.

           451.    NationsBenefits’ violations present a continuing risk to Plaintiff and Indiana Subclass

   Members as well as to the general public.

           452.    Plaintiff and Indiana Subclass Members seek all monetary and non-monetary relief

   allowed by law, including the greater of actual damages or $500 for each non-willful violation; the

   greater of treble damages or $1,000 for each willful violation; restitution; reasonable attorneys’ fees

   and costs; injunctive relief; and punitive damages.

                       CLAIMS ON BEHALF OF THE KANSAS SUBCLASS

                                          COUNT XVI
                         PROTECTION OF CONSUMER INFORMATION
                              Kan. Stat. Ann. §§ 50-7a02(a) et seq.

           453.    Plaintiff realleges and incorporates by reference the allegations contained in

   paragraphs 1 through 259 above, as if fully set forth herein.

           454.    Plaintiff A.T. (for the purposes of this section, “Plaintiff”) brings this claim on behalf

   of himself/herself and the Kansas Subclass.

           455.    NationsBenefits is a person that conducts business in Kansas that owns or licenses

   computerized data that includes Private Information as defined by Kan. Stat. Ann. § 50-7a02(a).

           456.    Plaintiff’s and Kansas Subclass Members’ Private Information (for the purpose of this

   section, “Private Information”) includes “Private Information” as covered under Kan. Stat. Ann. §

   50-7a02(a).




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             457.   NationsBenefits is required to accurately notify Plaintiff and Kansas Subclass

   Members if it becomes aware of a breach of its data security system that was reasonably likely to have

   caused misuse of Plaintiff’s and Kansas Subclass Members’ Private Information, in the most expedient

   time possible and without unreasonable delay under Kan. Stat. Ann. § 50-7a02(a).

             458.   Because NationsBenefits was aware of a breach of its security system that was

   reasonably likely to have caused misuse of Plaintiff’s and Kansas Subclass Members’ Private

   Information, NationsBenefits had an obligation to disclose the data breach in a timely and accurate

   fashion as mandated by Kan. Stat. Ann. § 50-7a02(a).

             459.   By failing to disclose the Data Breach in a timely and accurate manner, NationsBenefits

   violated Kan. Stat. Ann. § 50-7a02(a).

             460.   As a direct and proximate result of NationsBenefits’ violations of Kan. Stat. Ann. §

   50-7a02(a), Plaintiff and Kansas Subclass Members suffered damages, as alleged above.

             461.   Plaintiff and Kansas Subclass Members seek relief under Kan. Stat. Ann. § 50-7a02(g),

   including equitable relief.

                                             COUNT XVII
                                 KANSAS CONSUMER PROTECTION ACT
                                         K.S.A. §§ 50-623 et seq.

             462.   Plaintiff realleges and incorporates by reference the allegations contained in

   paragraphs 1 through 259 above, as if fully set forth herein.

             463.   Plaintiff A.T. (for the purposes of this section, “Plaintiff”) brings this claim on behalf

   of himself/herself and the Kansas Subclass.

             464.   K.S.A. §§ 50-623 et seq. is to be liberally construed to protect consumers from suppliers

   who commit deceptive and unconscionable practices.

             465.   Plaintiff and Kansas Subclass Members are “consumers” as defined by K.S.A. § 50-

   624(b).



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          466.      The acts and practices alleged herein are “consumer transactions,” as defined by K.S.A.

   § 50-624(c).

          467.      NationsBenefits is a “supplier” as defined by K.S.A. § 50-624(l).

          468.      NationsBenefits advertised, offered, or sold goods or services in Kansas and engaged

   in trade or commerce directly or indirectly affecting the people of Kansas.

          469.      NationsBenefits engaged in deceptive and unfair acts or practices, including:

                    a.     Failing to implement and maintain reasonable security and privacy measures

          to protect Plaintiff’s and Kansas Subclass Members’ Private Information, which was a direct

          and proximate cause of the Data Breach;

                    b.     Failing to identify and remediate foreseeable security and privacy risks and

          sufficiently improve security and privacy measures despite knowing the risk of cybersecurity

          incidents, which was a direct and proximate cause of the Data Breach;

                    c.     Failing to comply with common law and statutory duties pertaining to the

          security and privacy of Plaintiff’s and Kansas Subclass Members’ Private Information,

          including duties imposed by the FTC Act, 15 U.S.C. § 45, and Kansas’ identity fraud statute,

          the Wayne Owen Act, K.S.A. § 50-6,139b, which was a direct and proximate cause of the Data

          Breach;

                    d.     Misrepresenting that it would protect the privacy and confidentiality of

          Plaintiff’s and Kansas Subclass Members’ Private Information, including by implementing and

          maintaining reasonable security measures;

                    e.     Misrepresenting that it would comply with common law and statutory duties

          pertaining to the security and privacy of Plaintiff’s and Kansas Subclass Members’ Private

          Information, including duties imposed by the FTC Act, 15 U.S.C. § 45, Kansas’ identity fraud

          statute, the Wayne Owen Act, K.S.A. § 50-6,139b;


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                  f.      Omitting, suppressing, and concealing the material fact that it did not properly

          secure Plaintiff’s and Kansas Subclass Members’ Private Information; and

                  g.      Omitting, suppressing, and concealing the material fact that it did not comply

          with common law and statutory duties pertaining to the security and privacy of Plaintiff’s and

          Kansas Subclass Members’ Private Information, including duties imposed by the FTC Act, 15

          U.S.C. § 45, and Kansas’ identity fraud statute, the Wayne Owen Act, K.S.A. § 50-6,139b; and

                  h.      Omitting, suppressing, and concealing the material fact that it did not

          implement and maintain reasonable security and privacy measures to protect Plaintiff’s and

          Kansas Subclass Members’ Private Information, which was a direct and proximate cause of

          the Data Breach.

          470.    NationsBenefits’ representations and omissions were material because they were likely

   to deceive reasonable consumers about the adequacy of NationsBenefits’ data security and ability to

   protect the confidentiality of consumers’ Private Information.

          471.    NationsBenefits intended to mislead Plaintiff and Kansas Subclass Members and

   induce them to rely on its misrepresentations and omissions.

          472.    Had NationsBenefits disclosed to Plaintiff and Kansas Subclass Members that its data

   systems were not secure and, thus, vulnerable to attack, NationsBenefits would have been unable to

   continue in business and it would have been forced to adopt reasonable data security measures and

   comply with the law. NationsBenefits was trusted with sensitive and valuable Private Information

   regarding millions of consumers, including Plaintiff and Kansas Subclass Members. NationsBenefits

   accepted the responsibility of protecting the data while keeping the inadequate state of its security

   controls secret from the public. Accordingly, Plaintiff and Kansas Subclass Members acted reasonably

   in relying on NationsBenefits’ misrepresentations and omissions, the truth of which they could not

   have discovered.


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          473.    NationsBenefits also engaged in unconscionable acts and practices in connection with

   a consumer transaction, in violation of K.S.A. § 50-627, including:

                  a.        Knowingly taking advantage of the inability of Plaintiff and the Kansas

          Subclass to reasonably protect their interests, due to their lack of knowledge (see K.S.A. § 50-

          627(b)(1)); and

                  b.        Requiring Plaintiff and the Kansas Subclass to enter into a consumer

          transaction on terms that NationsBenefits knew were substantially one-sided in favor of

          NationsBenefits (see K.S.A. § 50- 627(b)(5)).

          474.    Plaintiff and the Kansas Subclass had unequal bargaining power with respect to their

   ability to control the security and confidentiality of their Private Information in NationsBenefits’

   possession.

          475.    The above unfair, deceptive, and unconscionable practices and acts by

   NationsBenefits were immoral, unethical, oppressive, and unscrupulous. These acts caused substantial

   injury to Plaintiff and Kansas Subclass Members that they could not reasonably avoid; this substantial

   injury outweighed any benefits to consumers or to competition.

          476.    NationsBenefits acted intentionally, knowingly, and maliciously to violate Kansas’

   Consumer Protection Act, and recklessly disregarded Plaintiff’s and Kansas Subclass Members’ rights.

          477.    As a direct and proximate result of NationsBenefits’ unfair, deceptive, and

   unconscionable trade practices, Plaintiff and Kansas Subclass Members have suffered and will

   continue to suffer injury, ascertainable losses of money or property, and monetary and non-monetary

   damages, as alleged herein, including but not limited to fraud and identity theft; time and expenses

   related to monitoring their financial accounts for fraudulent activity; an increased, imminent risk of

   fraud and identity theft; loss of value of their Private Information; overpayment for NationsBenefits’




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   services; loss of the value of access to their Private Information; and the value of identity protection

   services made necessary by the Data Breach.

           478.    Plaintiffs will provide notice of this action to the Attorney General of Kansas.

           479.    Plaintiff and Kansas Subclass Members seek all monetary and non-monetary relief

   allowed by law, including civil penalties or actual damages (whichever is greater), under K.S.A. §§ 50-

   634 and 50-636; injunctive relief; and reasonable attorneys’ fees and costs.

                        CLAIMS ON BEHALF OF THE MICHIGAN SUBCLASS

                                        COUNT XVIII
                           MICHIGAN CONSUMER PROTECTION ACT
                             Mich. Comp. Laws Ann. §§ 445.903 et seq.

           480.    Plaintiffs reallege and incorporate by reference the allegations contained in paragraphs

   1 through 259 above, as if fully set forth herein.

           481.    Plaintiffs Teresa Hassan, Catherine Radtke and Martin Radtke (for the purposes of

   this section, “Plaintiffs”) bring this claim on behalf of themselves and the Michigan Subclass.

           482.    NationsBenefits, Plaintiffs and Michigan Subclass Members are “persons” as defined

   by Mich. Comp. Laws Ann. § 445.902(d).

           483.    NationsBenefits advertised, offered, or sold goods or services in Michigan and

   engaged in trade or commerce directly or indirectly affecting the people of Michigan, as defined by

   Mich. Comp. Laws Ann. § 445.902(g).

           484.    NationsBenefits engaged in unfair, unconscionable, and deceptive practices in the

   conduct of trade and commerce, in violation of Mich. Comp. Laws Ann. § 445.903(1), including:

                   a.      Representing that its goods and services have characteristics, uses, and benefits

           that they do not have;

                   b.      Representing that its goods and services are of a particular standard or quality

           if they are of another;


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                  c.       Failing to reveal a material fact, the omission of which tends to mislead or

         deceive the consumer, and which fact could not reasonably be known by the consumer;

                  d.       Making a representation or statement of fact material to the transaction such

         that a person reasonably believes the represented or suggested state of affairs to be other than

         it actually is;

                  e.       Failing to reveal facts that are material to the transaction in light of

         representations of fact made in a positive matter.

         485.     NationsBenefits’ unfair, unconscionable, and deceptive practices include:

                  a.       Failing to implement and maintain reasonable security and privacy measures

         to protect Plaintiffs’ and Michigan Subclass Members’ Private Information, which was a direct

         and proximate cause of the Data Breach;

                  b.       Failing to identify and remediate foreseeable security and privacy risks and

         sufficiently improve security and privacy measures despite knowing the risk of cybersecurity

         incidents, which was a direct and proximate cause of the Data Breach;

                  c.       Failing to comply with common law and statutory duties pertaining to the

         security and privacy of Plaintiffs’ and Michigan Subclass Members’ Private Information,

         including duties imposed by the FTC Act, 15 U.S.C. § 45, and the Michigan Identity Theft

         Protection Act, Mich. Comp. Laws Ann. §§ 445.72 et seq., which was a direct and proximate

         cause of the Data Breach;

                  d.       Misrepresenting that it would protect the privacy and confidentiality of

         Plaintiffs’ and Michigan Subclass Members’ Private Information, including by implementing

         and maintaining reasonable security measures;

                  e.       Misrepresenting that it would comply with common law and statutory duties

         pertaining to the security and privacy of Plaintiffs’ and Michigan Subclass Members’ Private


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             Information, including duties imposed by the FTC Act, 15 U.S.C. § 45, and the Michigan

             Identity Theft Protection Act, Mich. Comp. Laws Ann. §§ 445.72 et seq.;

                     f.       Omitting, suppressing, and concealing the material fact that it did not properly

             secure Plaintiffs’ and Michigan Subclass Members’ Private Information; and

                     g.       Omitting, suppressing, and concealing the material fact that it did not comply

             with common law and statutory duties pertaining to the security and privacy of Plaintiffs’ and

             Michigan Subclass Members’ Private Information, including duties imposed by the FTC Act,

             15 U.S.C. § 45, and the Michigan Identity Theft Protection Act, Mich. Comp. Laws Ann. §§

             445.72 et seq.

             486.    NationsBenefits’ representations and omissions were material because they were likely

   to deceive reasonable consumers about the adequacy of NationsBenefits’ data security and ability to

   protect the confidentiality of consumers’ Private Information.

             487.    NationsBenefits intended to mislead Plaintiffs and Michigan Subclass Members and

   induce them to rely on its misrepresentations and omissions.

             488.    NationsBenefits acted intentionally, knowingly, and maliciously to violate Michigan’s

   Consumer Protection Act, and recklessly disregarded Plaintiffs’ and Michigan Subclass Members’

   rights.

             489.    As a direct and proximate result of NationsBenefits’ unfair, unconscionable, and

   deceptive practices, Plaintiffs and Michigan Subclass Members have suffered and will continue to

   suffer injury, ascertainable losses of money or property, and monetary and non-monetary damages, as

   alleged herein, including but not limited to fraud and identity theft; time and expenses related to

   monitoring their financial accounts for fraudulent activity; an increased, imminent risk of fraud and

   identity theft; loss of value of their Private Information; overpayment for NationsBenefits’ services;




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   loss of the value of access to their Private Information; and the value of identity protection services

   made necessary by the Data Breach.

           490.    Plaintiffs and Michigan Subclass Members seek all monetary and non-monetary relief

   allowed by law, including the greater of actual damages or $250, injunctive relief, and any other relief

   that is just and proper.

                        CLAIMS ON BEHALF OF THE MISSOURI SUBCLASS

                                            COUNT XIX
                              MISSOURI MERCHANDISE PRACTICES ACT
                                    Mo. Rev. Stat. §§ 407.010 et seq.

           491.    Plaintiff realleges and incorporates by reference the allegations contained in

   paragraphs 1 through 259 above, as if fully set forth herein.

           492.    Plaintiff Sara Jean Williams (for the purposes of this section, “Plaintiff”) brings this

   claim on behalf of herself and the Missouri Subclass.

           493.    NationsBenefits is a “person” as defined by Mo. Rev. Stat. § 407.010(5).

           494.    NationsBenefits engaged in “sales” of and “advertisements” for “merchandise” in

   Missouri and engaged in trade or commerce directly or indirectly affecting the people of Missouri, as

   defined by Mo. Rev. Stat. § 407.010(1), (4), (6) and (7).

           495.    Plaintiff and Missouri Subclass Members purchased or leased goods or services

   primarily for personal, family, or household purposes.

           496.    NationsBenefits engaged in unlawful, unfair, and deceptive acts and practices, in

   connection with the sale or advertisement of merchandise in trade or commerce, in violation of Mo.

   Rev. Stat. § 407.020(1), including:

                   a.         Failing to implement and maintain reasonable security and privacy measures

           to protect Plaintiff and Missouri Subclass Members’ Private Information, which was a direct

           and proximate cause of the Data Breach;



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                  b.        Failing to identify and remediate foreseeable security and privacy risks and

          properly improve security and privacy measures despite knowing the risk of cybersecurity

          incidents, which was a direct and proximate cause of the Data Breach;

                  c.        Failing to comply with common law and statutory duties pertaining to the

          security and privacy of Plaintiff and Missouri Subclass Members’ Private Information,

          including duties imposed by the FTC Act, 15 U.S.C. § 45, which was a direct and proximate

          cause of the Data Breach;

                  d.        Misrepresenting that it would protect the privacy and confidentiality of

          Plaintiff and Missouri Subclass Members’ Private Information, including by implementing and

          maintaining reasonable security measures;

                  e.        Misrepresenting that it would comply with common law and statutory duties

          pertaining to the security and privacy of Plaintiff and Missouri Subclass Members’ Private

          Information, including duties imposed by the FTC Act, 15 U.S.C. § 45;

                  f.        Omitting, suppressing, and concealing the material fact that it did not properly

          secure Plaintiff and Missouri Subclass Members’ Private Information; and

                  g.        Omitting, suppressing, and concealing the material fact that it did not comply

          with common law and statutory duties pertaining to the security and privacy of Plaintiff and

          Missouri Subclass Members’ Private Information, including duties imposed by the FTC Act,

          15 U.S.C. § 45.

          497.    NationsBenefits’ representations and omissions were material because they were likely

   to deceive reasonable consumers about the adequacy of NationsBenefits’ data security and ability to

   protect the confidentiality of consumers’ Private Information.

          498.    NationsBenefits intended to mislead Plaintiff and Missouri Subclass Members and

   induce them to rely on its misrepresentations and omissions.


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           499.    NationsBenefits acted intentionally, knowingly, and maliciously to violate Missouri’s

   Merchandise Practices Act, and recklessly disregarded Plaintiff and Missouri Subclass Members’ rights.

           500.    As a direct and proximate result of NationsBenefits’ unlawful, unfair, and deceptive

   acts and practices, Plaintiff and Missouri Subclass Members have suffered and will continue to suffer

   injury, ascertainable losses of money or property, and monetary and non-monetary damages, as alleged

   herein, including but not limited to fraud and identity theft; time and expenses related to monitoring

   their financial accounts for fraudulent activity; an increased, imminent risk of fraud and identity theft;

   loss of value of their Private Information; overpayment for NationsBenefits’ services; loss of the value

   of access to their Private Information; and the value of identity protection services made necessary by

   the Data Breach.

           501.    Plaintiff, on behalf of Missouri Subclass Members, seeks all monetary and non-

   monetary relief allowed by law, including actual damages, punitive damages, attorneys’ fees and costs,

   injunctive relief, and any other appropriate relief.

                    CLAIMS ON BEHALF OF THE NEW JERSEY SUBCLASS

                                           COUNT XX
                               NEW JERSEY CONSUMER FRAUD ACT
                                     N.J. S.A. §§ 56:8-1 et seq.

           502.    Plaintiff realleges and incorporates by reference the allegations contained in

   paragraphs 1 through 259 above, as if fully set forth herein.

           503.    Plaintiff Edward Wilczynski (for the purposes of this section, “Plaintiff”) brings this

   claim on behalf of himself and the New Jersey Subclass.

           504.    NationsBenefits is a “person,” as defined by N.J.S.A. § 56:8-1(d).

           505.    NationsBenefits sells “merchandise,” as defined by N.J.S.A. § 56:8-1(c) & (e).

           506.    The New Jersey Consumer Fraud Act (“CFA”), N.J.S.A. §§ 56:8-2 prohibits

   unconscionable     commercial     practices,   deception,    fraud,   false   pretense,   false   promise,



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   misrepresentation, as well as the knowing concealment, suppression, or omission of any material fact

   with the intent that others rely on the concealment, omission, or fact, in connection with the sale or

   advertisement of any merchandise.

           507.    New Jersey CFA claims for unconscionable commercial practice need not allege any

   fraudulent statement, representation, or omission by the defendant. See Dewey v. Volkswagen AG, 558

   F. Supp. 2d 505, 525 (D.N.J. 2008); see also Cox v. Sears Roebuck & Co., 138 N.J. 2, 19 (1994).

           508.    “The standard of conduct that the term ‘unconscionable’ implies is lack of ‘good faith,

   honesty in fact and observance of fair dealing.’” Cox, 138 N.J. 2 at 18 (quoting Kugler v. Romain, 58 N.J.

   522, 544 (1971)). “In addition, ‘[i]ntent is not an essential element’ for allegations related to

   unconscionable commercial practices to succeed.” Fenwick v. Kay Am. Jeep, Inc., 72 N.J. 372, 379 (1977).

           509.    NationsBenefits’ handling and treatment of Plaintiff’’ and New Jersey Subclass

   Members’ Private Information was unconscionable because:

                   a.      Plaintiff and New Jersey Subclass Members had no choice but to provide their

           Private Information to NationsBenefits in order to use their NationsBenefits products;

                   b.      To the extent that written contracts exist between Plaintiff and New Jersey

           Subclass Members on the one hand and NationsBenefits on the other hand, those written

           contracts were written by NationsBenefits and were not negotiable;

                   c.      Once Plaintiff and New Jersey Subclass Members provided their Private

           Information to NationsBenefits, protection of that Private Information was solely in

           NationsBenefits’ control. There is no way for Plaintiff and New Jersey Subclass Members to

           take any reasonable steps on their own to protect the Private Information in NationsBenefits’

           hands, nor is there any way that Plaintiff and New Jersey Subclass Members would have any

           knowledge that it would be necessary for them to take steps on their own to protect their

           Private Information;


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                 d.      NationsBenefits had had prior data security breaches and, thus, knew or

          should have known that its data security was inadequate and needed to take additional security

          measures to protect Plaintiff’s and New Jersey Subclass Members’ Private Information, but

          failed to do so, even though NationsBenefits was the only entity in a position to protect

          Plaintiff’s and New Jersey Subclass Members Private Information from wrongdoers;

                 e.      Once NationsBenefits became aware of the security breach, it failed to notify

          Plaintiff and New Jersey Subclass Members of the breach, thus depriving them the opportunity

          to take measures to protect themselves from the effects of NationsBenefits’ failure to protect

          their Private Information; and

                 f.      NationsBenefits’ practices for handing and protecting Plaintiff’s and New

          Jersey Subclass Members’ Private Information was contrary to public policy in that

          NationsBenefits failed to follow FTC guidelines with respect to the protection of Private

          Information and otherwise failed to follow industry standards for providing reasonable

          security and privacy measures to protect Plaintiff’s and New Jersey Subclass Members’ Private

          Information, which was a direct and proximate cause of the Data Breach.

          510.   NationsBenefits’ handling and treatment of Plaintiff’s and New Jersey Subclass

   Members’ Private Information was deceptive because NationsBenefits:

                 a.      Misrepresented that it would protect the privacy and confidentiality of

          Plaintiff’s and New Jersey Subclass Members’ Private Information, including by implementing

          and maintaining reasonable security measures;

                 b.      Misrepresented that it would comply with common law and statutory duties

          pertaining to the security and privacy of Plaintiff’s and New Jersey Subclass Members’ Private

          Information, including duties imposed by the FTC Act, 15 U.S.C. § 45, and the New Jersey

          Customer Security Breach Disclosure Act, N.J.S.A. §§ 56:8-163 et seq.;


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                   c.      Omitted, suppressed, and concealed the material fact that it did not properly

           secure Plaintiff’s and New Jersey Subclass Members’ Private Information; and

                   d.      Omitted, suppressed, and concealed the material fact that it did not comply

           with common law and statutory duties pertaining to the security and privacy of Plaintiff’s and

           New Jersey Subclass Members’ Private Information, including duties imposed by the FTC Act,

           15 U.S.C. § 45, and the New Jersey Customer Security Breach Disclosure Act, N.J.S.A. §§ 56:8-

           163 et seq.

           511.    NationsBenefits’ representations and omissions were material because they were likely

   to deceive reasonable consumers about the adequacy of NationsBenefits’ data security and ability to

   protect the confidentiality of consumers’ Private Information.

           512.    NationsBenefits intended to mislead Plaintiff and New Jersey Subclass Members and

   induce them to rely on its omissions of material fact.

           513.    NationsBenefits acted intentionally, knowingly, and maliciously to violate New Jersey’s

   Consumer Fraud Act, and recklessly disregarded Plaintiff’s and New Jersey Subclass Members’ rights.

           514.    As a direct and proximate result of NationsBenefits’ unconscionable and deceptive

   practices, Plaintiff and New Jersey Subclass Members have suffered and will continue to suffer injury,

   ascertainable losses of money or property, and monetary and non-monetary damages, as alleged

   herein, including but not limited to fraud and identity theft; time and expenses related to monitoring

   their financial accounts for fraudulent activity; an increased, imminent risk of fraud and identity theft;

   loss of value of their Private Information; overpayment for NationsBenefits’ services; loss of the value

   of access to their Private Information; and the value of identity protection services made necessary by

   the Data Breach.




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           515.     Plaintiff and New Jersey Subclass Members seek all monetary and non-monetary relief

   allowed by law, including injunctive relief, other equitable relief, actual damages, treble damages,

   restitution, and attorneys’ fees, filing fees, and costs.

                         CLAIMS ON BEHALF OF THE NEW YORK SUBCLASS

                                        COUNT XXI
                            NEW YORK GENERAL BUSINESS LAW § 349
                                   N.Y. Gen. Bus. Law § 349

           516.     Plaintiffs reallege and incorporate by reference the allegations contained in paragraphs

   1 through 259 above, as if fully set forth herein.

           517.     Plaintiffs Michael Wanser and Mary Ann Landries (for the purposes of this section,

   “Plaintiffs”) bring this claim on behalf of themselves and the New York Subclass.

           518.     NationsBenefits engaged in deceptive acts or practices in the conduct of its business,

   trade, and commerce or furnishing of services, in violation of N.Y. Gen. Bus. Law § 349, including:

                    a.      Failing to implement and maintain reasonable security and privacy measures

           to protect Plaintiffs’ and New York Subclass Members’ Private Information, which was a

           direct and proximate cause of the Data Breach;

                    b.      Failing to identify and remediate foreseeable security and privacy risks and

           sufficiently improve security and privacy measures despite knowing the risk of cybersecurity

           incidents, which was a direct and proximate cause of the Data Breach;

                    c.      Failing to comply with common law and statutory duties pertaining to the

           security and privacy of Plaintiffs’ and New York Subclass Members’ Private Information,

           including duties imposed by the FTC Act, 15 U.S.C. § 45, which was a direct and proximate

           cause of the Data Breach;




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                   d.        Misrepresenting that it would protect the privacy and confidentiality of

           Plaintiffs’ and New York Subclass Members’ Private Information, including by implementing

           and maintaining reasonable security measures;

                   e.        Misrepresenting that it would comply with common law and statutory duties

           pertaining to the security and privacy of Plaintiffs’ and New York Subclass Members’ Private

           Information, including duties imposed by the FTC Act, 15 U.S.C. § 45;

                   f.        Omitting, suppressing, and concealing the material fact that it did not properly

           secure Plaintiffs’ and New York Subclass Members’ Private Information; and

                   g.        Omitting, suppressing, and concealing the material fact that it did not comply

           with common law and statutory duties pertaining to the security and privacy of Plaintiffs’ and

           New York Subclass Members’ Private Information, including duties imposed by the FTC Act,

           15 U.S.C. § 45.

           519.    NationsBenefits’ representations and omissions were material because they were likely

   to deceive reasonable consumers about the adequacy of NationsBenefits’ data security and ability to

   protect the confidentiality of consumers’ Private Information.

           520.    NationsBenefits acted intentionally, knowingly, and maliciously to violate New York’s

   General Business Law, and recklessly disregarded Plaintiffs and New York Subclass Members’ rights.

           521.    As a direct and proximate result of NationsBenefits’ deceptive and unlawful acts and

   practices, Plaintiffs and New York Subclass Members have suffered and will continue to suffer injury,

   ascertainable losses of money or property, and monetary and non-monetary damages, as alleged

   herein, including but not limited to fraud and identity theft; time and expenses related to monitoring

   their financial accounts for fraudulent activity; an increased, imminent risk of fraud and identity theft;

   loss of value of their Private Information; overpayment for NationsBenefits’ services; loss of the value




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   of access to their Private Information; and the value of identity protection services made necessary by

   the Data Breach.

           522.     NationsBenefits’ deceptive and unlawful acts and practices complained of herein

   affected the public interest and consumers at large, including the many New Yorkers affected by the

   Data Breach.

           523.     The above deceptive and unlawful practices and acts by NationsBenefits caused

   substantial injury to Plaintiffs and New York Subclass Members that they could not reasonably avoid.

           524.     Plaintiffs and New York Subclass Members seek all monetary and non-monetary relief

   allowed by law, including actual damages or statutory damages of $50 (whichever is greater), treble

   damages, injunctive relief, and attorneys’ fees and costs.

                  CLAIMS ON BEHALF OF THE NORTH CAROLINA SUBCLASS

                                    COUNT XXII
                  NORTH CAROLINA IDENTITY THEFT PROTECTION ACT
                             N.C. Gen. Stat. §§ 75-60 et seq.

           525.     Plaintiff realleges and incorporates by reference the allegations contained in

   paragraphs 1 through 259 above, as if fully set forth herein.

           526.     Plaintiff T.E. (for the purposes of this section, “Plaintiff”) brings this claim on behalf

   of herself and the North Carolina Subclass.

           527.     NationsBenefits is a business that owns or licenses computerized data that includes

   Private Information (for the purpose of this count, “Private Information”), as defined by N.C. Gen.

   Stat. § 75- 61(1).

           528.     Plaintiff and North Carolina Subclass Members are “consumers” as defined by N.C.

   Gen. Stat. § 75-61(2).

           529.     NationsBenefits is required to accurately notify Plaintiff and North Carolina Subclass

   Members if it discovers a security breach or receives notice of a security breach (where unencrypted



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   and unredacted Private Information was accessed or acquired by unauthorized persons), without

   unreasonable delay under N.C. Gen. Stat. § 75-65.

           530.    Plaintiff’s and North Carolina Subclass Members’ Private Information includes

   information as covered under N.C. Gen. Stat. § 75-61(10).

           531.    Because NationsBenefits discovered a security breach and had notice of a security

   breach (where unencrypted and unredacted Private Information was accessed or acquired by

   unauthorized persons), NationsBenefits had an obligation to disclose the Data Breach in a timely and

   accurate fashion as mandated by N.C. Gen. Stat. § 75-65.

           532.    By failing to disclose the Data Breach in a timely and accurate manner, NationsBenefits

   violated N.C. Gen. Stat. § 75-65.

           533.    A violation of N.C. Gen. Stat. § 75-65 is an unlawful trade practice under N.C. Gen.

   Stat. Art. 2A § 75-1.1.

           534.    As a direct and proximate result of NationsBenefits’ violations of N.C. Gen. Stat. §

   75-65, Plaintiff and North Carolina Subclass Members suffered damages, as alleged above.

           535.    Plaintiff and North Carolina Subclass Members seek relief under N.C. Gen. Stat. §§

   75-16 and 16.1, including treble damages and attorneys’ fees.

                                      COUNT XXIII
                     NORTH CAROLINA UNFAIR TRADE PRACTICES ACT
                            N.C. Gen. Stat. Ann. §§ 75-1.1. et seq.

           536.    Plaintiff realleges and incorporates by reference the allegations contained in

   paragraphs 1 through 259 above, as if fully set forth herein.

           537.    T.E. (for the purposes of this section, “Plaintiff”) brings this claim on behalf of herself

   and the North Carolina Subclass.




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          538.    NationsBenefits advertised, offered, or sold goods or services in North Carolina and

   engaged in commerce directly or indirectly affecting the people of North Carolina, as defined by N.C.

   Gen. Stat. Ann. § 75-1.1(b).

                  539.    NationsBenefits engaged in unfair and deceptive acts and practices in or

   affecting commerce, in violation of N.C. Gen. Stat. Ann. § 75-1.1, including:

                  a.      Failing to implement and maintain reasonable security and privacy measures

          to protect Plaintiff’s and North Carolina Subclass Members’ Private Information, which was

          a direct and proximate cause of the Data Breach;

                  b.      Failing to identify and remediate foreseeable security and privacy risks and

          sufficiently improve security and privacy measures despite knowing the risk of cybersecurity

          incidents, which was a direct and proximate cause of the Data Breach;

                  c.      Failing to comply with common law and statutory duties pertaining to the

          security and privacy of Plaintiff’s and North Carolina Subclass Members’ Private Information,

          including duties imposed by the FTC Act, 15 U.S.C. § 45, which was a direct and proximate

          cause of the Data Breach;

                  d.      Misrepresenting that it would protect the privacy and confidentiality of

          Plaintiff’s and North Carolina Subclass Members’ Private Information, including by

          implementing and maintaining reasonable security measures;

                  e.      Misrepresenting that it would comply with common law and statutory duties

          pertaining to the security and privacy of Plaintiff’s and North Carolina Subclass Members’

          Private Information, including duties imposed by the FTC Act, 15 U.S.C. § 45;

                  f.      Omitting, suppressing, and concealing the material fact that it did not

          reasonably or properly secure Plaintiff’s and North Carolina Subclass Members’ Private

          Information; and



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                  g.      Omitting, suppressing, and concealing the material fact that it did not comply

          with common law and statutory duties pertaining to the security and privacy of Plaintiff’s and

          North Carolina Subclass Members’ Private Information, including duties imposed by the FTC

          Act, 15 U.S.C. § 45.

          540.    NationsBenefits’ representations and omissions were material because they were likely

   to deceive reasonable consumers about the adequacy of NationsBenefits’ data security and ability to

   protect the confidentiality of consumers’ Private Information.

          541.    NationsBenefits intended to mislead Plaintiff and North Carolina Subclass Members

   and induce them to rely on its misrepresentations and omissions.

          542.    Had NationsBenefits disclosed to Plaintiff and North Carolina Subclass Members that

   its data systems were not secure and, thus, vulnerable to attack, NationsBenefits would have been

   unable to continue in business and it would have been forced to adopt reasonable data security

   measures and comply with the law. NationsBenefits was trusted with sensitive and valuable Private

   Information regarding millions of consumers, including Plaintiff and North Carolina Subclass

   Members. NationsBenefits accepted the responsibility of protecting the data while keeping the

   inadequate state of its security controls secret from the public. Accordingly, Plaintiff and North

   Carolina Subclass Members acted reasonably in relying on NationsBenefits’ misrepresentations and

   omissions, the truth of which they could not have discovered.

          543.    NationsBenefits acted intentionally, knowingly, and maliciously to violate North

   Carolina’s Unfair Trade Practices Act, and recklessly disregarded Plaintiff and North Carolina Subclass

   Members’ rights.

          544.    As a direct and proximate result of NationsBenefits’ unfair and deceptive acts and

   practices, Plaintiff and North Carolina Subclass Members have suffered and will continue to suffer

   injury, ascertainable losses of money or property, and monetary and non-monetary damages, as alleged



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   herein, including but not limited to fraud and identity theft; time and expenses related to monitoring

   their financial accounts for fraudulent activity; an increased, imminent risk of fraud and identity theft;

   loss of value of their Private Information; overpayment for NationsBenefits’ services; loss of the value

   of access to their Private Information; and the value of identity protection services made necessary by

   the Data Breach.

           545.    NationsBenefits’ conduct as alleged herein was continuous, such that after the first

   violations of the provisions pled herein, each week that the violations continued constitute separate

   offenses pursuant to N.C. Gen. Stat. Ann. § 75-8.

           546.    Plaintiff and North Carolina Subclass Members seek all monetary and non- monetary

   relief allowed by law, including actual damages, treble damages, and attorneys’ fees and costs.

                         CLAIMS ON BEHALF OF THE OHIO SUBCLASS

                                         COUNT XXIV
                            OHIO CONSUMER SALES PRACTICES ACT
                                 Ohio Rev. Code §§ 1345.01 et seq.

           547.    Plaintiffs reallege and incorporate by reference the allegations contained in paragraphs

   1 through 259 above, as if fully set forth herein.

           548.    Plaintiffs Jeffery King, Barbara Kosbab and Lawrence Kosbab (for the purposes of

   this section, “Plaintiffs”) bring this claim on behalf of themselves and the Ohio Subclass.

           549.    Plaintiffs are “persons,” as defined by Ohio Rev. Code § 1345.01(B).

           550.    NationsBenefits was a “supplier” engaged in “consumer transactions,” as defined by

   Ohio Rev. Code §§ 1345.01(A) & (C).

           551.    NationsBenefits advertised, offered, or sold goods or services in Ohio and engaged in

   trade or commerce directly or indirectly affecting the people of Ohio.

           552.    NationsBenefits engaged in unfair and deceptive acts and practices in connection with

   a consumer transaction, in violation of Ohio Rev. Code § 1345.02, including:



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                    a.     Representing that the subject of a transaction had approval, performance

          characteristics, uses, and benefits that it did not have;

                    b.     Representing that the subject of a transaction was of a particular standard or

          quality when they were not.

          553.      NationsBenefits engaged in unconscionable acts and practices in connection with a

   consumer transaction, in violation of Ohio Rev. Code § 1345.03, including:

                    a.     Knowingly taking advantage of the inability of Plaintiffs to reasonably protect

          their interest because of their ignorance of the issues discussed herein;

                    b.     Knowing at the time the consumer transaction was entered into of the inability

          of the consumer to receive a substantial benefit from the subject of the consumer transaction;

                    c.     Requiring the consumer to enter into a consumer transaction on terms the

          supplier knew were substantially one-sided in favor of the supplier; and

                    d.     Knowingly making a misleading statement of opinion on which the consumer

          was likely to rely to the consumer’s detriment.

          554.      NationsBenefits’ unfair, deceptive, and unconscionable acts and practices include:

                    a.     Failing to implement and maintain reasonable security and privacy measures

          to protect Plaintiffs’ Private Information, which was a direct and proximate cause of the Data

          Breach;

                    b.     Failing to identify and remediate foreseeable security and privacy risks and

          sufficiently improve security and privacy measures despite knowing the risk of cybersecurity

          incidents, which was a direct and proximate cause of the Data Breach;

                    c.     Failing to comply with common law and statutory duties pertaining to the

          security and privacy of Plaintiffs’ Private Information, including duties imposed by the FTC

          Act, 15 U.S.C. § 45, which was a direct and proximate cause of the Data Breach;


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                  d.      Misrepresenting that it would protect the privacy and confidentiality of

          Plaintiffs Private Information, including by implementing and maintaining reasonable security

          measures;

                  e.      Misrepresenting that it would comply with common law and statutory duties

          pertaining to the security and privacy of Plaintiffs’ Private Information, including duties

          imposed by the FTC Act, 15 U.S.C. § 45;

                  f.      Omitting, suppressing, and concealing the material fact that it did not properly

          secure Plaintiffs’ Private Information; and

                  g.      Omitting, suppressing, and concealing the material fact that it did not comply

          with common law and statutory duties pertaining to the security and privacy of Plaintiffs’

          Private Information, including duties imposed by the FTC Act, 15 U.S.C. § 45.

          555.    NationsBenefits’ representations and omissions were material because they deceived

   Plaintiffs, and were likely to deceive other reasonable consumers, about the adequacy of

   NationsBenefits’ data security and ability to protect the confidentiality of consumers’ Private

   Information.

          556.    NationsBenefits intended to mislead Plaintiffs and induce them to rely on its

   misrepresentations and omissions.

          557.    NationsBenefits acted intentionally, knowingly, and maliciously to violate Ohio’s

   Consumer Sales Practices Act, and recklessly disregarded Plaintiffs’ rights.

          558.    NationsBenefits’ unfair, deceptive, and unconscionable acts and practices complained

   of herein affected the public interest, including the many Ohioans affected by the Data Breach.

          559.    As a direct and proximate result of NationsBenefits’ unfair, deceptive, and

   unconscionable acts and practices, Plaintiffs have suffered and will continue to suffer injury,

   ascertainable losses of money or property, and monetary and non- monetary damages, as alleged


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   herein, including but not limited to fraud and identity theft; time and expenses related to monitoring

   their financial accounts for fraudulent activity; an increased, imminent risk of fraud and identity theft;

   loss of value of their Private Information; overpayment for NationsBenefits’ services; loss of the value

   of access to their Private Information; and the value of identity protection services made necessary by

   the Data Breach.

             560.     Pursuant to Ohio Rev. Code § 1345.09(A), each Plaintiff, individually, seeks actual

   economic damages and non-economic damages of up to five thousand dollars.

             561.     Pursuant to § Ohio Rev. Code 1345.09(D), Plaintiffs seek declaratory and injunctive

   relief.

             562.     Pursuant to Ohio Rev. Code § 1345.09(F), Plaintiffs seek an award of reasonable

   attorneys’ fees.

                                           COUNT XXV
                              OHIO DECEPTIVE TRADE PRACTICES ACT
                                   Ohio Rev. Code §§ 4165.01 et seq.

             563.     Plaintiffs reallege and incorporate by reference the allegations contained in paragraphs

   1 through 259 above, as if fully set forth herein.

             564.     Plaintiffs Jeffery King, Barbara Kosbab and Lawrence Kosbab (for the purposes of

   this section, “Plaintiffs”) bring this claim on behalf of themselves and the Ohio Subclass.

             565.     NationsBenefits, Plaintiffs, and Ohio Subclass Members are “persons” as defined by

   Ohio Rev. Code § 4165.01(D).

             566.     NationsBenefits advertised, offered, or sold goods or services in Ohio and engaged in

   trade or commerce directly or indirectly affecting the people of Ohio.

             567.     NationsBenefits engaged in deceptive trade practices in the course of its business and

   vocation, in violation of Ohio Rev. Code § 4165.02, including:




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                a.      Representing that its goods and services have approval, characteristics, uses,

         or benefits that they do not have;

                b.      Representing that its goods and services are of a particular standard or quality

         when they are of another; and

                c.      Advertising its goods and services with intent not to sell them as advertised.

         568.   NationsBenefits’ deceptive trade practices include:

                a.      Failing to implement and maintain reasonable security and privacy measures

         to protect Plaintiffs’ and Ohio Subclass Members’ Private Information, which was a direct and

         proximate cause of the Data Breach;

                b.      Failing to identify and remediate foreseeable security and privacy risks and

         sufficiently improve security and privacy measures despite knowing the risk of cybersecurity

         incidents, which was a direct and proximate cause of the Data Breach;

                c.      Failing to comply with common law and statutory duties pertaining to the

         security and privacy of Plaintiffs’ and Ohio Subclass Members’ Private Information, including

         duties imposed by the FTC Act, 15 U.S.C. § 45, which was a direct and proximate cause of the

         Data Breach;

                d.      Misrepresenting that it would protect the privacy and confidentiality of

         Plaintiffs’ and Ohio Subclass Members’ Private Information, including by implementing and

         maintaining reasonable security measures;

                e.      Misrepresenting that it would comply with common law and statutory duties

         pertaining to the security and privacy of Plaintiffs’ and Ohio Subclass Members’ Private

         Information, including duties imposed by the FTC Act, 15 U.S.C. § 45;

                f.      Omitting, suppressing, and concealing the material fact that it did not properly

         secure Plaintiffs’ and Ohio Subclass Members’ Private Information; and


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                    g.      Omitting, suppressing, and concealing the material fact that it did not comply

             with common law and statutory duties pertaining to the security and privacy of Plaintiffs’ and

             Ohio Subclass Members’ Private Information, including duties imposed by the FTC Act, 15

             U.S.C. § 45.

             569.   NationsBenefits’ representations and omissions were material because they were likely

   to deceive reasonable consumers about the adequacy of NationsBenefits’ data security and ability to

   protect the confidentiality of consumers’ Private Information.

             570.   NationsBenefits intended to mislead Plaintiffs and Ohio Subclass Members and

   induce them to rely on its misrepresentations and omissions.

             571.   NationsBenefits acted intentionally, knowingly, and maliciously to violate Ohio’s

   Deceptive Trade Practices Act, and recklessly disregarded Plaintiffs’ and Ohio Subclass Members’

   rights.

             572.   As a direct and proximate result of NationsBenefits’ deceptive trade practices,

   Plaintiffs and Ohio Subclass Members have suffered and will continue to suffer injury, ascertainable

   losses of money or property, and monetary and non-monetary damages, as alleged herein, including

   but not limited to fraud and identity theft; time and expenses related to monitoring their financial

   accounts for fraudulent activity; an increased, imminent risk of fraud and identity theft; loss of value

   of their Private Information; overpayment for NationsBenefits’ services; loss of the value of access to

   their Private Information; and the value of identity protection services made necessary by the Data

   Breach.

             573.   Plaintiffs and Ohio Subclass Members seek all monetary and non-monetary relief

   allowed by law, including injunctive relief, actual damages, attorneys’ fees, and any other relief that is

   just and proper.




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                  CLAIMS ON BEHALF OF THE PENNSYLVANIA SUBCLASS

                                       COUNT XXVI
                         PENNSYLVANIA UNFAIR TRADE PRACTICES
                            AND CONSUMER PROTECTION LAW
                               73 Pa. Cons. Stat. §§ 201-1 et seq.

          574.    Plaintiff realleges and incorporates by reference the allegations contained in

   paragraphs 1 through 259 above, as if fully set forth herein.

          575.    Plaintiff Leroy Fuss (for the purposes of this section, “Plaintiff”) brings this claim on

   behalf of himself and the Pennsylvania Subclass.

          576.    NationsBenefits is a “person,” as meant by 73 Pa. Cons. Stat. § 201-2(2).

          577.    Plaintiff and Pennsylvania Subclass Members purchased goods and services in “trade”

   and “commerce,” as meant by 73 Pa. Cons. Stat. § 201-2(3), primarily for personal, family, and/or

   household purposes.

          578.    NationsBenefits engaged in unfair methods of competition and unfair or deceptive

   acts or practices in the conduct of its trade and commerce in violation of 73 Pa. Cons. Stat. Ann. §

   201-3, including the following:

                  a.      Representing that its goods and services have approval, characteristics, uses,

          or benefits that they do not have (73 Pa. Stat. Ann. § 201-2(4)(v));

                  b.      Representing that its goods and services are of a particular standard or quality

          if they are another (73 Pa. Stat. Ann. § 201- 2(4)(vii)); and

                  c.      Advertising its goods and services with intent not to sell them as advertised

          (73 Pa. Stat. Ann. § 201-2(4)(ix)).

          579.    NationsBenefits’ unfair or deceptive acts and practices include:




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                a.      Failing to implement and maintain reasonable security and privacy measures

         to protect Plaintiff’s and Pennsylvania Subclass Members’ Private Information, which was a

         direct and proximate cause of the Data Breach;

                b.      Failing to identify and remediate foreseeable security and privacy risks and

         sufficiently improve security and privacy measures despite knowing the risk of cybersecurity

         incidents, which was a direct and proximate cause of the Data Breach;

                c.      Failing to comply with common law and statutory duties pertaining to the

         security and privacy of Plaintiff’s and Pennsylvania Subclass Members’ Private Information,

         including duties imposed by the FTC Act, 15 U.S.C. § 45, which was a direct and proximate

         cause of the Data Breach;

                d.      Misrepresenting that it would protect the privacy and confidentiality of

         Plaintiff’s and Pennsylvania Subclass Members’ Private Information, including by

         implementing and maintaining reasonable security measures;

                e.      Misrepresenting that it would comply with common law and statutory duties

         pertaining to the security and privacy of Plaintiff’s and Pennsylvania Subclass Members’

         Private Information, including duties imposed by the FTC Act, 15 U.S.C. § 45;

                f.      Omitting, suppressing, and concealing the material fact that it did not properly

         secure Plaintiffs’ and Pennsylvania Subclass Members’ Private Information; and

                g.      Omitting, suppressing, and concealing the material fact that it did not comply

         with common law and statutory duties pertaining to the security and privacy of Plaintiff’s and

         Pennsylvania Subclass Members’ Private Information, including duties imposed by the FTC

         Act, 15 U.S.C. § 45.




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          580.    NationsBenefits’ representations and omissions were material because they were likely

   to deceive reasonable consumers about the adequacy of NationsBenefits’ data security and ability to

   protect the confidentiality of consumers’ Private Information.

          581.    NationsBenefits intended to mislead Plaintiff and Pennsylvania Subclass Members and

   induce them to rely on its misrepresentations and omissions.

          582.    Had NationsBenefits disclosed to Plaintiff and Pennsylvania Subclass Members that

   its data systems were not secure and, thus, vulnerable to attack, NationsBenefits would have been

   unable to continue in business and it would have been forced to adopt reasonable data security

   measures and comply with the law. NationsBenefits was trusted with sensitive and valuable Private

   Information regarding millions of consumers, including Plaintiff and Pennsylvania Subclass Members.

   NationsBenefits accepted the responsibility of protecting the data while keeping the inadequate state

   of its security controls secret from the public. Accordingly, Plaintiff and Pennsylvania Subclass

   Members acted reasonably in relying on NationsBenefits’ misrepresentations and omissions, the truth

   of which they could not have discovered.

          583.    NationsBenefits acted intentionally, knowingly, and maliciously to violate

   Pennsylvania Unfair Trade Practices and Consumer Protection Law, and recklessly disregarded

   Plaintiffs and Pennsylvania Subclass Members’ rights.

          584.    As a direct and proximate result of NationsBenefits’ unfair methods of competition

   and unfair or deceptive acts or practices and Plaintiff’s and the Pennsylvania Subclass Members’

   reliance on them, Plaintiff and Pennsylvania Subclass Members have suffered and will continue to

   suffer injury, ascertainable losses of money or property, and monetary and non-monetary damages, as

   alleged herein, including but not limited to fraud and identity theft; time and expenses related to

   monitoring their financial accounts for fraudulent activity; an increased, imminent risk of fraud and

   identity theft; loss of value of their Private Information; overpayment for NationsBenefits’ services;



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   loss of the value of access to their Private Information; and the value of identity protection services

   made necessary by the Data Breach.

           585.    Plaintiff and Pennsylvania Subclass Members seek all monetary and non-monetary

   relief allowed by law, including, pursuant to 73 Pa. Stat. Ann. § 201-9.2, actual damages or statutory

   damages of $100 (whichever is greater), treble damages, attorneys’ fees and costs, and any additional

   relief the Court deems necessary or proper.

                        CLAIMS ON BEHALF OF THE TEXAS SUBCLASS

                                   COUNT XXVII
             DECEPTIVE TRADE PRACTICES-CONSUMER PROTECTION ACT
                        Texas Bus. & Com. Code §§ 17.41 et seq.

           586.    Plaintiffs reallege and incorporate by reference the allegations contained in paragraphs

   1 through 259 above, as if fully set forth herein.

           587.    Plaintiffs Kimberly Dekenipp, Wanda Wilson and Dezarae Sanders (for the purposes

   of this section, “Plaintiffs”) bring this claim on behalf of themselves and the Texas Subclass.

           588.    NationsBenefits is a “person,” as defined by the Texas Trade Practices-Consumer

   Protection Act (“DTPA”), Tex. Bus. & Com. Code § 17.45(3).

           589.    Plaintiffs and the Texas Subclass Members are “consumers,” as defined by Tex. Bus.

   & Com. Code § 17.45(4).

           590.    NationsBenefits advertised, offered, or sold goods or services in Texas and engaged

   in trade or commerce directly or indirectly affecting the people of Texas, as defined by Tex. Bus. &

   Com. Code § 17.45(6).

           591.    NationsBenefits engaged in false, misleading, or deceptive acts and practices, in

   violation of Tex. Bus. & Com. Code § 17.46(b), including:

                   a.      Representing that goods or services have approval, characteristics, uses, or

           benefits that they do not have;



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                 b.      Representing that goods or services are of a particular standard, quality or

         grade, if they are of another; and

                 c.      Advertising goods or services with intent not to sell them as advertised;

                 d.      Failing to disclose information concerning goods or services which was known

         at the time of the transaction if such failure to disclose such information was intended to

         induce the consumer into a transaction into which the consumer would not have entered had

         the information been disclosed.

         592.    NationsBenefits’ false, misleading, and deceptive acts and practices include:

                 a.      Failing to implement and maintain reasonable security and privacy measures

         to protect Plaintiffs’ and Texas Subclass Members’ Private Information, which was a direct

         and proximate cause of the Data Breach;

                 b.      Failing to identify and remediate foreseeable security and privacy risks and

         sufficiently improve security and privacy measures despite knowing the risk of cybersecurity

         incidents, which was a direct and proximate cause of the Data Breach;

                 c.      Failing to comply with common law and statutory duties pertaining to the

         security and privacy of Plaintiffs’ and Texas Subclass Members’ Private Information, including

         duties imposed by the FTC Act, 15 U.S.C. § 45, and Texas’ data security statute, Tex. Bus. &

         Com. Code § 521.052, which was a direct and proximate cause of the Data Breach;

                 d.      Misrepresenting that it would protect the privacy and confidentiality of

         Plaintiffs’ and Texas Subclass Members’ Private Information, including by implementing and

         maintaining reasonable security measures;

                 e.      Misrepresenting that it would comply with common law and statutory duties

         pertaining to the security and privacy of Plaintiffs’ and Texas Subclass Members’ Private




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           Information, including duties imposed by the FTC Act, 15 U.S.C. § 45, and Texas’ data security

           statute, Tex. Bus. & Com. Code § 521.052;

                   f.      Omitting, suppressing, and concealing the material fact that it did not properly

           secure Plaintiffs’ and Texas Subclass Members’ Private Information; and

                   g.      Omitting, suppressing, and concealing the material fact that it did not comply

           with common law and statutory duties pertaining to the security and privacy of Plaintiffs’ and

           Texas Subclass Members’ Private Information, including duties imposed by the FTC Act, 15

           U.S.C. § 45, and Texas’ data security statute, Tex. Bus. & Com. Code § 521.052.

           593.    NationsBenefits intended to mislead Plaintiffs and Texas Subclass Members and

   induce them to rely on its misrepresentations and omissions.

           594.    NationsBenefits’ representations and omissions were material because they were likely

   to deceive reasonable consumers about the adequacy of NationsBenefits’ data security and ability to

   protect the confidentiality of consumers’ Private Information.

           595.    Had NationsBenefits disclosed to Plaintiffs and Texas Subclass Members that its data

   systems were not secure and, thus, vulnerable to attack, NationsBenefits would have been unable to

   continue in business and it would have been forced to adopt reasonable data security measures and

   comply with the law. NationsBenefits was trusted with sensitive and valuable Private Information

   regarding millions of consumers, including Plaintiffs and Texas Subclass Members. NationsBenefits

   accepted the responsibility of protecting the data while keeping the inadequate state of its security

   controls secret from the public. Accordingly, Plaintiffs and Texas Subclass Members acted reasonably

   in relying on NationsBenefits’ misrepresentations and omissions, the truth of which they could not

   have discovered.

           596.    NationsBenefits had a duty to disclose the above facts due to the circumstances of this

   case, the sensitivity and extent of the Private Information in its possession, and the generally accepted


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   professional standards. Such a duty is implied by law due to the nature of the relationship between

   consumers, including Plaintiffs and Texas Subclass Members, and NationsBenefits because consumers

   are unable to fully protect their interests with regard to their data, and placed trust and confidence in

   NationsBenefits. NationsBenefits’ duty to disclose also arose from its:

                   a.      Possession of exclusive knowledge regarding the security of the data in its

           systems;

                   b.      Active concealment of the state of its security; and/or

                   c.      Incomplete representations about the security and integrity of its computer

           and data systems, while purposefully withholding material facts from Plaintiffs and Texas

           Subclass Members that contradicted these representations.

           597.    NationsBenefits engaged in unconscionable actions or courses of conduct, in violation

   of Tex. Bus. & Com. Code Ann. § 17.50(a)(3). NationsBenefits engaged in acts or practices which, to

   consumers’ detriment, took advantage of consumers’ lack of knowledge, ability, experience, or

   capacity to a grossly unfair degree.

           598.    Consumers, including Plaintiffs and Texas Subclass Members, lacked knowledge about

   deficiencies in NationsBenefits’ data security because this information was known exclusively by

   NationsBenefits. Consumers also lacked the ability, experience, or capacity to secure the Private

   Information in NationsBenefits’ possession or to fully protect their interests with regard to their data.

   Plaintiffs and Texas Subclass Members lack expertise in information security matters and do not have

   access to NationsBenefits’ systems in order to evaluate its security controls. NationsBenefits took

   advantage of its special skill and access to Private Information to hide its inability to protect the

   security and confidentiality of Plaintiffs’ and Texas Subclass Members’ Private Information.

           599.    NationsBenefits intended to take advantage of consumers’ lack of knowledge, ability,

   experience, or capacity to a grossly unfair degree, with reckless disregard of the unfairness that would


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   result. The unfairness resulting from NationsBenefits’ conduct is glaringly noticeable, flagrant,

   complete, and unmitigated. The Data Breach, which resulted from NationsBenefits’ unconscionable

   business acts and practices, exposed Plaintiffs and Texas Subclass Members to a wholly unwarranted

   risk to the safety of their Private Information and the security of their identity or credit, and worked

   a substantial hardship on a significant and unprecedented number of consumers. Plaintiffs and Texas

   Subclass Members cannot mitigate this unfairness because they cannot undo the Data Breach.

           600.    NationsBenefits acted intentionally, knowingly, and maliciously to violate Texas’

   Deceptive Trade Practices-Consumer Protection Act, and recklessly disregarded Plaintiffs and Texas

   Subclass Members’ rights.

           601.    As a direct and proximate result of NationsBenefits’ unconscionable and deceptive

   acts or practices, Plaintiffs and Texas Subclass Members have suffered and will continue to suffer

   injury, ascertainable losses of money or property, non-monetary damages, as alleged herein, including

   but not limited to fraud and identity theft; time and expenses related to monitoring their financial

   accounts for fraudulent activity; an increased, imminent risk of fraud and identity theft; loss of value

   of their Private Information; overpayment for NationsBenefits’ services; loss of the value of access to

   their Private Information; and the value of identity protection services made necessary by the Data

   Breach. NationsBenefits’ unconscionable and deceptive acts or practices were a producing cause of

   Plaintiffs’ and Texas Subclass Members’ injuries, ascertainable losses, economic damages, and non-

   economic damages, including their mental anguish.

           602.    NationsBenefits’ violations present a continuing risk to Plaintiffs and Texas Subclass

   Members, as well as to the general public.

           603.    Contemporaneous with the filing of this Consolidated Complaint, pursuant to Tex.

   Bus. & Com. Code Ann. § 17.501, Plaintiffs’ counsel will send to the Consumer Protection Division

   a copy of the written notice sent to NationsBenefits.



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           604.    On August 17, 2023, counsel for Plaintiffs Kimberly Dekenipp, Wanda Wilson and

   Dezarae Sanders provided written notice via certified mail to NationsBenefits at its principal place of

   business of the intent to pursue claims under the DTPA and an opportunity for NationsBenefits to

   cure. Plaintiffs’ written notice set forth the violations of NationsBenefits’ duty to implement and

   maintain reasonable security procedures and practices alleged in this Consolidated Complaint.

           605.    If, within sixty days after the date of such notification, NationsBenefits fails to provide

   appropriate relief for their violations of the DTPA, Plaintiffs will amend this Consolidated Complaint

   to seek damages, including economic damages, damages for mental anguish, statutory damages in the

   amount of three times the economic and mental anguish damages, as NationsBenefits’ acts were

   committed intentionally or knowingly.

           606.    Plaintiffs and Texas Subclass Members seek damages, including economic damages,

   damages for mental anguish, statutory damages in the amount of three times the economic and mental

   anguish damages, as NationsBenefits’ acts were committed intentionally or knowingly, injunctive

   relief, other equitable relief the Court deems proper, costs, and reasonable and necessary attorneys’

   fees.

                                      VI.     PRAYER FOR RELIEF

           WHEREFORE Plaintiffs, individually and on behalf of all others similarly situated, request

   the following relief:

           A.      An Order certifying this action as a class action and appointing Plaintiffs as Class

   representatives and the undersigned as Class Counsel;

           B.      A declaration that NationsBenefits breached its duties to Plaintiffs and Class Members;

           C.      A mandatory injunction directing NationsBenefits to adequately safeguard the Private

   Information of Plaintiffs and the Class hereinafter by implementing improved security procedures and

   measures;



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           D.       A mandatory injunction requiring that NationsBenefits provide notice to each member

   of the Class relating to the full nature and extent of the Data Breach and the disclosure of Private

   Information to unauthorized persons;

           E.       Enjoining NationsBenefits from further deceptive practices and making untrue

   statements about the Data Breach and the stolen Private Information;

           F.       An award of damages, including actual, nominal, consequential damages, statutory,

   and/or punitive, as allowed by law in an amount to be determined;

           G.       An award of pre- and post-judgment interest, costs, attorneys’ fees, expenses, and

   interest as permitted by law;

           H.       For all other Orders, findings, and determinations identified and sought in this

   Complaint; and

           I.       Such other and further relief as this court may deem just and proper.

                                   VII.    JURY TRIAL DEMANDED

           Under Federal Rule of Civil Procedure 38(b), Plaintiffs demand a trial by jury for all issues so

   triable as of right.



   Dated: March 25, 2024.                          Respectfully Submitted,

                                                   By: Jeff Ostrow__________________
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                                     Plaintiffs’ Track 1 Leads




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